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UNITED BTATES DISTRICT COT.TRT
DISTRIC‘T DF MASSACHUSETTS

U'NITED STATES OF AMERIC'A
v. CR.IMINAL NO. 58-30044#MAP
KRISTEN GILBER.T,
Qefengant.
GOVERNMENT'S BRIEF FOR UPCOMING DAUBERT HEARING
REGARDING THE ADMISSION OF THE` TESTIMONY OF DR. FREDRIC RIEDERE'.~_
The United States of Amorica, by Donald K. Stern, United

States Attorney for the District of Massachusetts, respectfully
submits the following hearing brief in anticipation of the
Daubert hearing regarding the admission of the testimony and the
analytical results of Dr. Fredric Rieders, the Government's
toxicologist* The purpose of this brief is to provide the court

with a preliminary understanding of the scientific termsr

methods, and analysis that will be presented on March §§F`andg
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I. Legal Discussion gym N> \dB
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As articulated in its previous Daubert filing, D§Hbert U ¢:CD
m:‘:"."l` *':-:
requires a district court to undertake a two»part analysisg; §§
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-l;.' ` l
first, the district court must determine "whether the proffered

testimony is reliable, requiring an assessment of whether the
reasoning or methodology underlying the testimony is
scientifically valid"; and second, the district court "must
determine whether that reasoning or methodology can be properly

applied to the facts in issue; that is, whether it is relevant."

curtis v. M a s Patraieum, Iae., 174 F.aa 661, 663 (5th cir.

 

 

 

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1999)(citing Daubert, 509 U.S. at 592~93}. §g§ also Ruiz-Troche
gp saaai cola of Puarta sica settling ca., 151 F.3a ?7, va (1Ht
Cir. 1990}. "Thus, an expert's testimony is admissible under
Rule 702 if it `rests on a reliable foundation and is relevant '"
wastberrv v. sialavaa onmmi ssL 173 F.ad 257, 260 149 cir. 1999)
(guoting Kumho Tire Co. v. Carmichael, 119 S.Ct. 1167, 1171
(1999)}.

In assessing reliability, the standard for determining
reliability "is not that high." In re Paoli R.R¢ Yard PCB
Litigation, 35 F.3d 717, 744 (Bd Cir. 1994). "On the one hand,
the court should be mindful that Rule 702 was intended to
liberalize the introduction of relevant expert evidence."
Westberry, 178 F.Bd at 261 (citing_Cavallo v. Star Enterprise,
100 F.Bd 1150, 1158-59 (éth. C."Lr. 1995)) . "Daubert does not
require that a party who proffers expert testimony carry the
burden of proving to the judge that the expert's assessment of
the situation is correct." Ruis-Troche, 161 F.Bd at 85. “As long
as an expert's scientific testimony rests upon `good grounds,
based on what is known,’ it should be tested by the adversary
process -- competing expert testimony and active cross-examina~
ion r- rather than excluded from jurorst scrutiny for fear that
they will not grasp its complexities or satisfactorily weigh its
inadequacies." Ruiz-Troche, 161 F.Bd at 05 (guoting Daubert, 509
U.S. at 590, 596) . S_E§ §§ Westberry, l'?B ]E-‘.Bd at 26l.

"In short, Daubert neither requires nor empowers trial

courts to determine which of several competing scientific

 

 

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theories has the best provenance." Ruiz-Troche, 161 F.Bd at 85.
Daubert "demands only that the proponent of the evidence show
that the-expert's conclusion has been arrived at in a scienti~
fically sound and methodologically reliable fashion." Bgi;;
Troche, 161 F.Bd at 85 (citing Kannankeril v. Terminix Int‘l,
lL, 128 F.Bd 802, 806 (Bd Cir. 1997); 111 re Pao\l:i_, 35 F.Bd at
744)). In other words, "the evidentiary requirement for
reliability is lower than the merits standard for correctness."
Ld.

“[T]he court has broad latitude to consider whatever factors
bearing on validity that the court finds to be useful; the
particular factors will depend upon the unique circumstances of
the expert testimony involved.“ Westber;y, 178 F.Bd at 261
(citing §gmbg, 119 S.Ct. at 1175»76}. While the Daubert Court
articulated four factors that a district court may consider in
the determination of the reliability prong, these four factors
"do not function as a `definitive checklist or test,' but form
the basis for a flexible inquiry into the overall reliability of
a proffered expert's methodology.“ Ruiz-Troche, 161 F.Bd at 81.

ee also United States v. Hankey, 2000 WL 192964 *6 (9th Cir.

 

2000)(application of Daubert factors in context of gang expert
testimony). "[N]o single factor disposes of a reliability
inquiry." Ruis-Trocher 161 F.Bd at 85 (citing Daubert, 509 U.S.
at 592-95).

For example, "[p]ublication (which is but one element of

peer review) is not a sine qua non of admissibility; it does not

 

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necessary correlate with reliability." Daubert, 509 0.8. at 593.
sss slso srvsst v. city of chicsoo, 200 F.2a 1092, 1092 (7th cir.
2000)(affirming admission of expert's testimony under Daubert
even though general scientific literature consisted of single,
unpublished study given expert's substantial academic and
practical expertise). Well~grounded but innovative theories may
not have been published, while "some propositions, moreover, are
too particular, too new, or of too limited interest to be
published." Daubert, 509 U.S. at 592. For example, some medical
or scientific issues simply may not lend themselves to peer
review or publication. Kennedy v. Collagen Corp., 161 F.Bd 1226,
1229 (9Lh cir. 1995)(rsvsrsing district court exclusion of
expert's testimony under Daubert based in part upon the lack of
epidemiological or animal studies); Ambrosini v. LaBarrague, 101
F.Bd 129, 139 (D.C. Cir. 1996)(reversing district court exclusion
of expert's testimony under Daubert where no epidemiological or
animal studies showing causation). Therefore, "[t]he fact of
publication (or lack thereof) in a peer reviewed journal thus
will be a relevant, though not dispositive, consideration in
assessing the scientific validity of a particular technique or
methodology on which an opinion is premised." Daubert, 509 U.S.
at 594.

Similarly, while general acceptance within the scientific
community is a factor to consider, "[t]he lesson of the Supreme

Court's rejection of `general acceptance' as the sole standard

for expert testimony, in favor of the Daubert-Kumbo reliability

 

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standard is that `widespread use' or `general acceptance‘ is an
imperfect proxy for reliability." Libas, Ltd. v. United 8tates,
193 F.Bd 1361, 1360 (Fed. Cir. 1999) . "'l`l“le prevailing scientific
wisdom is not always right, and moreover, a requirement of
`general' or `widespread' acceptance, by itself, may exclude
reliable but novel or controversial methodologies." ;d. at 1368.
The second part of the analysis, the special relevancy
prong, requires not only that an expert's testimony be relevant
under Rule 403, l‘but also in the incremental sense that the
expert's proposed opinion, if admitted, likely would assist the
trier of fact to understand or determine a fact in issue." gui;;
Trocber 161 F.Bd at 81 (citing Daubert, 509 U.S. at 591-92}. "In
other words, Rule 702, as visualised through the Daubert prism,

`requires a valid scientific connection to the pertinent inquiry

as a precondition to admissibility.'" Ruiz-Troche, 161 F.Bd at 81
(Citing Daubert, 509 U.S. at 592). "This connection has been
appropriately denominated as `fit.‘" AllisonI 184 F.Bd at 1312.

In other words, "the evidentiary requirement for of reliability

is lower than the merits standard for correctness." ld.

II. Scientific Reliability
A. Expertise

Dr. Fredric Rieders, the Government's toxicologist, is'a
nationally recognized forensic toxicologist and founder of
National Medical Services, Inc., {"NMS") the largest private

toxicological laboratory in the United States. NMS is a

licensed, certified toxicology laboratory. NMS performs forensic

 

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toxicology for a number of law enforcement agencies both
nationally and internationally.

The Government previously attached Dr. Rieders' curriculum
vitae as Exhibit A in its initial response to Gilbert's Daubert
motion. Dr.\Rieders has been admitted as an expert witness in
forensic toxicology in state and federal court hundreds of times.
Dr. Rieders' expertise and experience includes work in
approximately fifty cases involving embalmed and exhumed tissue
specimens. The toxicological analysis of embalmed and exhumed
tissues is a very unique, specialized area within the field of
forensic toxicology. Dr. Rieders' experience makes him and NM8
one of the nation's foremost experts in the analysis of embalmed
and exhumed tissues.

William Vickery is a group leader and scientist who has
worked for NMS for over twenty years. Mr. Vickery has extensive
experience in the testing of embalmed and exhumed tissues by
virtue of his working relationship with Dr. Rieders. Mr. Vickery
also has extensive knowledge in the use of HPLC-MS/MS and
performed many of the tests in this case.

E. Background Information on Norepinephrine and Epinephrine

The human body naturally produces two types of
catecholamines: norepinephrine and epinephrine. Norepinephrine
is a neurotransmitter for the sympathetic nervous system; in
Other words, it helps transmit nerve impulses to nerve endings.
Norepinephrine transmits nerve impulses or nervous activity that

regulates the performance of various physiological functions.

 

 

 

 

 

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Norepinephrine, for example, plays a role in transmitting nerve
activity that adjusts and maintains the human body's blood
pressure at normal levels.

Ncrepinephrine breaks down very quickly in the human body.
As reflected at Tab A, norepinephrine breaks down mainly into its
metabolite, normetanephrine. A much smaller amount of norepine~
phrine breaks down into epinephrine, which in turn breaks down
very quickly into its main metabolite, metanephrine. Eoth
normetanephrine and metanephrine then degrade into vanillyman-
delic acid, or VMA. Ample medical literature has shown that the
basal or normal levels of norepinephrine and normetanephrine
exceed the normal levels of epinephrine and metanephrine in
plasma and urine of living individuals. gee Tab E.

The human body, however, also secretes epinephrine directly
from the adrenal glands in "flight or fight" circumstances. The
secretion of epinephrine causes an immediate rise in a person's
normal blood pressure and normal heart rate and provides a person
with a heightened awareness and energy to react instantaneously
in such situations. Consistent with the diagram at Tab A,
epinephrine secreted in these situations breaks down very quickly
into metanephrine. Even in normal, stressful situations, the
level of normetanephrine also rises, and, therefore, the level of
normetanephrine still exceeds or equals the level of metanephrine
in plasma and urine of normal, living individuals.

An injection of epinephrine markedly reverses the normal

ratio between normetanephrine and metanephrine levels. The

 

 

 

 

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metabolites of normetanephrine and metanephrine do not cross
over; in other words, norepinephrine does not break down into
metanephrine, and epinephrine does not break down into
normetanephrine. gee Tab A. Therefore, an injection of
epinephrine only will increase the level of metanephrine in the
human body, but will not affect the normal level of
normetanephrine.

Consequently, and most importantly to this case, an
injection of epinephrine causes a marked increase in a person's
metanephrine levsl. This marked increase in a person's
metanephrine level will far exceed a person's normal
normetanephrine level.\ This marked flip or reversal in a
person's normetanephrine to metanephrine ratio constitutes a
reliable way of determining whether or not an injection of
exogenous epinephrine has been administered.

An injection of epinephrine into a person not in cardiac
arrest can produce a life threatening arrhythmia and cause an
individual to die. There is no particular dose of epinephrine
that constitutes a lethal overdose of epinephrine. A single
injection of a small dose of epinephrine can produce a life
threatening arrhythmia in`a normal healthy individual and cause
death; conversely, there have been reported cases of individuals
who have survived large doses of epinephrine. The lethal effect

of epinephrine is its propensity to induce life threatening

cardiac arrhythmias.

 

 

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c. Methods

Dr. Rieders and NMS developed a method to test for
normetanephrine and metanephrine levels in exhumedI embalmed
post-mortem blood and tissue samples. Dr. Rieders used High
Pressure Liquid Chromatography with a tandem Mass Spectrometry
detection system (hereinafter referred to as "HPLc-MS/MS").
HPLC-MS/MS is "widely used and generally accepted in the fields
of analytical and forensic chemistry." United Btates v. Vitek
su l cor ., 144 F.aa 473, 434 (7th cir. leaa).

HPLC-MS/MS has been used extensively for the separation and
detection of normetanephrine and metanephrine levels in tissuel
blood, and urine samples of living individuals for many years.
HPLC-MS/MS has been generally accepted within the scientific
community as an accurate and reliable detection system for
normetanephrine and metanephrine levels. Dr. Rieders and NMS
simply applied these proven, generally accepted detection methods
to measure the presence of normetanephrine and metanephrine
levels in post-mortem blood and tissue.

Since HPLc-MS/MS measures molecular weight, as discussed in
more detail below, the application of HPLC-MS/Ms to measure
normetanephrine and metanephrine levels in post-mortem blood and
tissue as opposed to living blood and tissue does not make this
detection system less reliable or accurate. The molecular

weights of normetanephrine and metanephrine remain the same in

living blood and tissue and in post-mortem blood and tissue.

 

 

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LM

HPLc is a separation system by which a machine forces
the constant infusion of a known liquid, known as the mobile
. phase, under high pressure through a long tube and then into and
out of a column packed densely with fine particles. To test for
the presence of a particular substance in a blood or tissue
sample, the sample is injected into the mobile phase, which
carries the sample through the tube and into the densely packed
column. §§§ Tab c. Since most compounds have different molecular
weights, the densely packed column causes compounds to move
through the column at different speeds and effectively separates
the compounds contained within the sample from one another. As
the various different compounds emerge out of the end of the
column, HPLC measures with high sensitivity and accuracy the
exact amount of time that it took each compound to travel through
the column. This measurement of time, known as the retention
time, is a unique characteristic for each compound. By comparing
the retention time of an unknown sample to known retention times,
one can accurately determine the identity of the compounds in the
sample.

For example, the molecular weight of metanephrine is greater
than the molecular weight of normetanephrine. If normetanephrine
was compound A and metanephrine was compound 8 in the diagram at
Tab C, the mobile phase would infuse the sample under high
pressure through the column. Since normetanephrine weighs less

than metanephrine, it would emerge first from the end of the

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column as depicted in the diagram. The HPLC detector would
determine the retention times of normetanephrine and metanephrine
respectively, and then plot their retention times as reflected in
the schematic et Tab C.

An apt, albeit crude, analogy to HPLC is a marathon. People
run marathons at different speeds and cross the finish line at
different times. If everyone ran a marathon the exact same way
every time, one could identify unknown runners by recording their
precise finish times and then comparing those finish times to the
known population. HPLC essentially works in the same manner.

HPLC has been generally accepted within the scientific
community for many years as an accurate, reliable method of
distinguishing and identifying normetanephrine and metanephrine
from other, similarly structured compounds and measuring the
levels of normetanephrine and metanephrine in urine and blood.
_§e Tab D. As reflected by the_summaries contained at Tab D,
these journal articles, which have been published in well
respected, peer-reviewed journals, attest to the accuracy,
reliability, reproducibilityy and low error rate of HPLC¢

The use of HPLC in diagnosing pheochromocytomas further
confirms the accuracy, reliability, and general acceptance of
HPLC* _ee Tab E. Pheochromocytoma is a tumor within the adrenal
gland that usually causes the overproduction of epinephrine. In
essence, pheochromocytoma is a form of natural, epinephrine

poisoning. As reflected by the summaries contained at Tab E,

these jpurnal articles, which have been published in well

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respected, peer-reviewed journals, reflect that clinicians
diagnose and surgically remove pheochromocytomas based upon the
accuracy, reliability, and low error rate of HPLc.

2. MS MS

As previously indicated, Dr. Rieders and NMS used a
tandem MS/MS detection system in conjunction with HPLC.
Different types of detection systems can be used in conjunction
with HPLC, but MS/MS is one of the most sensitive, accurate
detection systems currently available.

MS/MS works in the following manner. After the mobile phase
carries the sample containing normetanephrine and metanephrine
out the end of the HPLC column, the mobile phase carries the
sample into the MS/MS detection system. gee Tab F. MS/MS
electrically charges the mobile phase and sample and converts
them into their ions. The ionized mobile phase and sample pass
through MS/MS's filter. MS/MS can be_programmed to filter off
all of the ions or molecules that do ppg have the molecular
weight of normetanephrine and metanephrine. Therefore, the MB/MS
gply will allow molecules having the molecular weight of
normetanephrine and metanephrine to pass to the first MS
detector. These molecules allowed to pass to the first MS
detector are called the “parent ions."

The MS/MS system then allows only the molecules having the
mclecular weight of normetanephrine and metanephrine tc pass to
the second MS detector. As the molecules travel to the second MS

detector, the MS!MS system emits a gas that collides with these

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molecules. All molecules break at their weakest links. The
collision gas carefully breaks the molecules into several
different fragments called "daughter ions." Since all molecules
break into different fragments,`these fragments become the
fingerprint of the parent ions, or normetanephrine and
metanephrine in this case. The second Ms detector weighs and
measures the fragments, or daughter ions, and further confirms
the identity of normetanephrine and metanephrine in the sample.

The M8 detection system has been generally accepted within
the scientific community as an accurate, reliable method of
detecting and measuring normetanephrine and metanephrine levels
and excluding those substances from other similar compounds. The
M8 system has been used to measure the levels of normetanephrine
and metanephrine in bodily fluid and blood for many years. dee
Tab G. As reflected by the summaries contained at Tab G, these
journal articles, which have been published in well respectedI
peer-reviewed journals, attest to the accuracy, reliability, and
low error rate of the MS detection system. The tandem ME/MS
detection system, which Dr. Rieders and NMS used in this caseI is
more sensitive than the single MS system cited in the journal
articles because the tandem MS/MS detection system uses two MS
detectors rather than just one.

D. Testing in this case

As previously indicated, Dr. Rieders tested the blood and

tissue samples from the following victims:

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l. liean Hudon

Dr. Rieders tested certain blood samples taken from
Henry Hudon at the time of his-admission at the VAMC, and more
importantly, before Gilbert came on duty, on December 8m, 1995.
These blood samples served as controls because one would expect
these blood samples to have normal levels of and a normal ratio
between normetanephrine and metanephrine. consistent with the
medical literaturer Dr. Rieders found normal levels of and a
normal ratio between normetanephrine and metanephrine.

Dr. Rieders also tested blood samples taken during Hudon's
several codes at the VAMC when he received a number of doses of
epinephrine as part of the resuscitative efforts to revive Hudon
from cardiac arrest. These blood samples served in part as
controls because, given the authorized administration of
resuscitative epinephrine, one would expect these blood samples
tc have a marked reversal in the ratio between normetanephrine
and metanephrine, i.e. very low levels of normetanephrine and
very high levels of metanephrine. As expected, Dr. Rieders found
very high levels of metanephrine and virtually undetectable
levels of normetanephrine.

Finally, Dr. Rieders also analyzed blood samples taken at
the time of Hudon's autopsy on December, 10, 1995, approximately
thirty-six hours after his death on December 8, 1995. Again,
these blood samples served in part as controls because one would
expect these blood samples to have retained the marked reversal

in the ratio between normetanephrine and metanephrine. As

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expected, Hudon's post-code autopsy blood samples showed a very
significant reversal in his normetanephrine to metanephrine
ratio_

These findings are significant for several reasons. First,
the results were consistent with the body of medical literature
regarding the effect of epinephrine injections upon a person's
metanephrine level. 8econd, the results served as controls for
victims skwira and Cutting, who did not receive epinephrine at
the time of their codes. ThirdI the results do not exclude an
unauthorized, pre-code injection of epinephrine as a competent
cause of death. ns a result, the results are supportive of and
lcorroborative of other evidence that, taken as a wholer will
prove that Hudon died of epinephrine poisoning.

2. Stanlev Jagodowski

Dr. Rieders also tested blood and tissue samples
Stanley Jagodowski. These blood and tissue samples had been
taken after exhumation and autopsy in July, 1998, thirty~five
months after his death in August, 1995. Jagodowski received
epinephrine as part of the resuscitative efforts to revive him
from cardiac arrest. As with the Hudon blood samples, these
blood samples served in part as controls for victims Skwira and
Cutting because one would expect the authorized administration of
resuscitative epinephrine to reverse significantly the normal
ratio between normetanephrine and metanephrine. As expected, Dr.
Rieders found very high levels of metanephrine and virtually

undetectable levels of normetanephrine.

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The Jagodowski findings are significant because the results
were consistent with the body of medical literature regarding the
effect of epinephrine injections upon a person's metanephrine
level. 8econd, the results evidence the stability cf
metanephrine in embalmed, exhumed tissue. Third, the results
served as controls for victims Skwira and Cutting, who did not
receive epinephrine at the time of their codes. Finally, the
results do not exclude an unauthorized, pre-code injection of
epinephrine as a competent cause of death. As a result, the
results are supportive of and corroborative of other evidence
that, taken as a whole, will prove that Jagodowski died of
epinephrine poisoning.

3. Edward Ekwira

Dr. Rieders tested blood and tissue samples from Edward
Skwira that had been taken after his exhumation and autopsy in
November, 1996, approximately nine months after his death.
Skwira had not received any resuscitative epinephrine as part of
his code cn February 15, 1996. Therefore, one would expect his
blood and tissue samples to have had a normal normetanephrine tc
imetanephrine ratio. However, Dr. Rieders found very high levels
of metanephrine and virtually undetectable levels of
normetanephrine in skwira's blood and tissue samples. The
presence of very high levels of metanephrine and the very
significant reversal in Skwira's normetanephrine to metanephrine
ratio proves that Skwira received an unauthorized, exogenous

administration of metanephrine.

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4. xsnnstny cutting

Dr. Rieders tested blood and tissue samples from
Kenneth Cutting that had been taken after his exhumation and
autopsy in April, 1997, approximately twenty-six months after his
death. cutting had DNR status, which meant that he should not
have received any resuscitative epinephrine when his heart
arrested on February 2r 1996. The medical records revealed that
Cutting did not receive any epinephrine. Therefore, one would
expect his blood and tissue samples to have had a normal
normetanephrine to metanephrine ratio.

However, Dr. Rieders found very high levels of metanephrine
and virtually undetectable levels of normetanephrine in Cutting's
blood and tissue samples. The presence of very high levels of
metanephrine and the very significant reversal in Cutting's
normetanephrine to metanephrine ratio proves that cutting
received an unauthorized, exogenous administration of
metanephrine.

E. confirmation of Results

The testimony presented will show that Dr. Riedersr re-
ltested various blood and tissue samples of Hudon, 8kwira, Cutting
and Jagodowski and re-produced his results. In addition, Dr.
Rieders' tested other post-mortem tissue and blood samples from
other individuals and achieved results consistent with his
findings in the present case.

Dr. Rieders and NMS also presented a study that NMS

performed to examine the stability of normetanephrine and

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metanephrine under post-mortem conditions at the American Academy
of Forensic sciences annual conference in February, 2000. see Tab
H. In this study, embalmed and unembalmed tissue samples
initially were tested to rule out the presence of normetanephrine
and metanephrine. The embalmed and unembalmed tissue samples
were then mixed with normetanephrine and metanephrine. These
tissue samples were then stored at varying degrees to study the
stability of normetanephrine and metanephrine over time.

The study showed that both normetanephrine and metanephrine
achieved the k' of their degradation reaction within
approximately a week. The k' is that point at which the
degradation rate of a compound slows to almost zero. The
degradation of a compound continues, but at a very slow, almost
flat rate thereafter. Dr. Rieders and NMS have continued to
monitor the degradation of these tissues. This study confirmed
that levels of normetanephrine and metanephrine remain stable for
a long period of time, and can be detected post-mortem given
sufficiently high, initial levels of normetanephrine andfor
metanephrine, such as in the case of epinephrine poisoning.

Finally, Dr. Rieders-and NMS presented his analytical
methods at the American academy of Forensic Sciences annual
conference in February, 2000. §gg Tab I. Dr. Rieders and NMB'
written and oral presentation described the same analytical

method employed in this case.

F. Conclusion

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III. conclusion
Based upon the foregoing, and the evidence to be presented
at the upcoming Daubert hearing, the covernment will request that
this court deny cilbert's motion to exclude the testimony of Dr.
Rieders.
Respectfully submitted,

DONALD K. STERN
United States Attorney -)

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William M. Welch II$
Assistant U.S. Attorney

 

Ariane D. Vuono
Assistant.U.B. Attorney

Dated: March 27, 2000.

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CERTIFICATE OF SERVICE

Hampden, ss. springfieldI Massachusetts
March 27, 2000

I, William M. Welch II, Assistant U.S. Attorney, do hereby
certify that l have served a copy of the foregoing by mail on
Harry L. Miles, Esq., 77 Pleasant Street, Northampton, MA 01060
and David P. Hoose, Esq., 1145 Main Street, Springfield, MA
01103. “"P

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William M. Welch 11 LM_FWM…~~-~
Assistant U.s. Attorney

 

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In sum, the scientific literature clearly shows that HPLc-
MS/MS has been accepted as a highly accurate, sensitive, and
reliable method for the detection of normetanephrine and
metanephrine levels. Dr. Rieders and NMS simply applied HPLc-
MS/MS to the testing of normetanephrine and metanephrine in post-
mortem tissue. "[W]hen tests involve the application of well-
known instruments `to a particular and not-out-of-the-ordinary
application,' some of the Daubert factors may be worthy of less
emphasis." Vitek cupplv corp., 144 F.Bd at 485 (citing cummins v.
Lyls lnaustriss, 92 F.aa 932, 237 n.2 (2“ cir. 1993)).

Therefore, there can be no dispute as to the validity and
reliability of HPLc-MS/Ms in its application to post-mortem
analysis.

8ince the filing of the covernment's initial Daubert
pleading in January, 1999, Dr. Rieders and NMS have presented the
analytical methods used in this case orally and in writing at the
52nci annual meeting of the American Academy of Forensic Sciences
on February 233"Lll and February 24th, 2000. Tbeir public
presentation of their analytical methods can be considered an
initial step in the peer review process. _ee United States v.
nge, 954 F.Supp. 401, 412, 414 (D.Mass. 1996); Ambrosini, 101
F.Bd at 139. Dr. Rieders' presentation, therefore, answers many
of Dr. Mozayani's criticisms or renders them moot.

Finally, the evidence at the Daubert hearing will
demonstrate that Dr. Mozayani is simply incorrect in many of her

assumptions, statementsr and conclusions.

19

 

Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 22 of 91

£>…))”§\T A

 

 

Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 23 of 91

EPINEPHRINE --A-p
MEmNz~:P
HFuNE ---+ vANrLLYLMAmJa:c Acln
(vMA;

 

 

.'z.'.~:-`~\--'~»\--\.-""
. h ....-.-

 

 

 

Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 24 of 91

s><…\'§l'“\' 75

 

 

1
` O Page 25 of 9
30044 I\/|AP Document 262 Fl|ed 03/27/0

Case 3:98-cr- -

l

TABLE 2. ial/ala of urinary camcholamrhea 1
g and resembles ;`
Upper l

limit cl Range

normal [ngfmg l
Calecho|amln e/mstabo|lle (mgf24h) creallnine) :
Epinephrl'ns“ 0.02 --
l‘\lc:~re;:u'naphrim=.\‘l 0.08 _-

Dopamfns 0.20

Tolal catscholamines - 0.08»-0.23
Melanaphrins 0.4 -
Normeranephrlna 0.9 -
Vanilly|'manclelic acid 6.5 -
Hornovanllllc acid 3.0 -_ a

'Tha mean plasma concentration of epinephrine and nore-
pinephrine is 950 pg/ml (5.62 nmolle. j

 

Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 26 of 91

/~:XHl/’§)l'._ g

 

- 1

»

Sclivqm

Samplg

   
   

Pall:keil
C:o|umn

Detettor

Signai

Tlme, r

FiGUHE25-2 Schcmatic diagram showing thc stpa-
ration of components A and 8 ot`a mixture b

column tiution chromatography. Thtl lower lig-
urt shows the output of the signal detector at thc g
various stages of`elur_ion shown in timl upper part 1
of the ngre.

 

Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 28 of 91

EX…%\T j>

 

 

HPLc for Urinary catecholamines and Metanephrines with
Alpha-Methlydopa (1982)

In this peer-reviewed article published in the Journal of
Surgical Research, the authors study the accuracy and
reliability of the HPLc with an electro-chemical detection
system 3 in measuring norepinephrine, epinephrine,

 

 

dopamine and alpha-methyldopa, a metabolite of dopamine.

The authors conclude that the HPLc with electro-chemical
detection system validly and accurately measures
norepinephrine, epinephrine, normetanephrine, and
metanephrine levels in urine and effectively precludes false
positives from other similar substances.

3The electro-chemical detection system is one type of detector
that can be used at the end of the HPLc column. MS-MS is another
type of detector, but MS-MS is much more sensitive and accurate
than the electro-chemical detector.

` m

 

D. 6, DECEMBER |'983

 

.l.. and R.a,jarna‘ki, A. Cl:llular it
these ol'hr:a_ling wounds in chian
lamont .S`t¢rg; 10: Ejl, 1976‘

l., animal .4., ernst s., ssa ass
negation centsrs_lnitiai strength cl
.wnund hcaling. J. .Surg_ Re.r. 29: 414 g `
-a. ou commissions a ins sm,g_
physiologith cord pathologisr:!rc ceni¢{§
lint leschwa.ld, lS'H, ".‘1‘ .
..:'l L. Staining of tissue sections l`or actual rio ‘
ry with heavy metals J. Bio h s_ blm `
175, 1955. p y al
st s. .4., Fris, c. c., nelson it sit =
_* and Sawyer. P'h.N. Porcsity: anaij"ll'§,.‘i ‘-
of ultimate fate oi` synthetic vascular
ll: 9l. 1951.

   
   
  
  
   
 
    
 
 
  

gNAL oF sumtc.tt, REsi-:.»\xcri 35, 507-514 (1983)

   

-l-lPLc for l_Irinary Cateoholamlncs and Metanephrines
With Alpha-Methy|dopa

GAiL _L. MUNioN, B.S., M.D., Joi-iN i-”. SsA'roN, B.Sc.,
AND TiMoTi-iv S. HARlusoN, M.D.'

newman sfstrgsy and rhyiioiogy, rla trains s_ rotary Msdirsi cain rio Psnmyimis sims
Universt'ry college ofMedicine, Herrhey. Psnnsyivum’a i7033

Submil.l.ed for publication Dcccmbcr 20, 1932

in live healthy selected voluntech with normal blood pressure and one pheochromocytoma patient
high performance liquid chromatograohy lHFl..)C) has bccu cvaluatcd. with cloctrochcmical detection
l`cr quantitation of` urinary catt:cholaminca and mctaru:phrlrics during administration ol` thc autiby-
pcrtonsiv=, alpha-mothyldooa- Th= clinical uacl`uloa$$ of HP'LC i.s compared with that ofthc conventional
assay method-_thc trihydroityindolc {Tl~Il)-fluoromctric procedure The TH[ l]uoromeu-ic method is
known to suffer from true false-positive interference as a result ot' its inability to differentiate between
alpha-methyldopa its primary metabolic derivatives and the structurally similar cndoge`nous catc-
cholamirtcc. lt is shown th`at thc HPI.C separation methodology yields accurate. rcproduciblc results
devoid ofint=rl`l:rcuco from thc presence ol`alpha»mcthyldopa. Froc urinary execution rates ofepinephn'ne
ncrcoincphrinc, and dopamine wore elevated by alpha-medtyldopa,. P sr 0.001, for epinephrine. uor-
cpi.naohrinc, and dopamine when mca$urcd by the trihydroxyindolo technique but not _with high per-
formance liquid chmmalogaphy_ Wil.h alpha-mclhyldopa treatman urinary normetanephrine mention
rates were slightly increascd, P c 0.0_5. by fluoroructric analysis and slightly decreased P -c 0_05, when
measured by HPLC. Dfaddcd interest the formation of`thc normetanephrine analog cl`alpha-i:ned'iyldnps,
previously undoicctcd, is suggested Slight.ly`elcvatod metanephrine levels arc seen by the THI-fluorcinetric
method in the prescocc ol` alpha-methyl metanephrincc. Establisbiug that the HP]'_.C assay procedure
is suitable l`or clinical diagnosis ol' phi:o»¢:hrom~:icytorua1 despite thc presence ol`alpha-tuethyldopa, makes
il unnocpssary to discontinue usc ol` this antihypmcnsivc in screening for pheochromocytoma

lNTHODUCTION

     

R.cccutly considerable research has evalu-
ated high performance liquid chromatography
: (HPLC] as a separation technique for thc dc-
` `;` termination of` catecholamlue and metaneph-
n'. c levels in thc blood and urine ['i, ll]. Iu
g r1 part our interest has been stimulated by the

""nced for a clinical tool to replace the trihy-
'-' droxyiudolc (THI]-l`luoromctric method l`or
` catccholaminc and metanephrine assay, when

by certain drugs This is especially true i`or

 

 

_ arc taking alpha-mcthyldopa (Aldomct) {7],
- _\_ Aldornet interferes with the diagnosis ol`phco-
cl':romocytoma by rl`HI fluorometry by fonn-
t ing a i"ali-".i.':-positivell alpha-methylatcd trihy-

   
    
 

' To whom reprint requisite should he addressed

 

 

'_ the THI technique suffers from interference ‘

Paticuts suspected of pheochromocytoma who

 

 

portion of catocholamines and mctauophrines
secreted by individual pheochromocytoma
patients may vary greatly from day to day [9].
Alpha-uicthyldopa, thc structure ol` which is
shown ill Fig. 1,` dill`crs from dihydroxyphc-
uyla_laniric (DOPA) only by thc additional
methyl group on the alpha carbon Biuce rcc-
ognit_lou that the TI_'II-fluoromctric assay
method cannot diE`ercati`atc bowden A.ldomot,
its primary mctabolic dcrivativcs, and thc
structurally similar cat¢oholamiucs, thc iden-
tilicatiou of pheochromocytoma in hyportcn-

.sive patients taking Aldomct has been im-

possible with the THI technique

A criterion preferred by some for pheo-
chromocytoma diagnosis is elevated urinary
metanephrine exci~ctiou [9]. Furthcr, it has
been shown that alpha-mcthyldopa most often

' docs nut alter significantly the levels of urinary

metanephriues [6]. Iu a small percentage cf

0022-4304{$3 $1.50
C`opyrilht 0 ll|l} by Mldcn'il¢ FN!:I. [M.
rul rights cr reproduction in any form rem¢d.

   
  

   
  

   

_go Pao_e 31 of 91

Suceessful separation could establish `
as a valuable clinical tool for nicasurem¢
catecholamincs and

FtG. l. The structural liomtula for Aldornet (n-mcth“ '
yldnpa) is altown.

withdrawal reaction with Aldomet it has helm

MATEHIALS AND METHC|DS

. Po£iortr preparation Five test subjects
verihcd normal blood
no hi `

collec-

stcp, relatich hr overnight urine wasn

technique is

'11£9=0'<=‘.¢?»?.’“

':.'>.‘h-T;:.~

postoperatively_ _ _
Trt`hydroxyt`odole ("THI)_-jlooromet.'y Th¢"" ? _
analysis we used for uncon_iugated NE and E " '
has been described [14]. The volume and PH_`
curacy without the ' ` ' t urine specimen are recorded and a samth
with Aldomet i of the urine is boiled and-lilteren. Oue*ha_lr;
method. grant ethylenediaminetetraacetate (EDTA) 15

os:~r-"'n:'.'

f..‘

 

 

JOURNAL OF SURGICAL RESEARCH: VOL. JS, NO. 6. DECEMBER 1983

TABLE l

FREE CATEcr-toLAMtNE mo To'rAr. Ms'rANEPttatNr-; UatNAltv Excaerlow RATES t-\ott Ftva SualEc-rs

 

Pre- vs post- Subjeets
Aldomet

comparison 3

 

Menn :l: SD

 

Norepinephrine
Pre-Aldornct l TH I" 23
Pre-Aldcmet HPLC 21 32
Post-Aldomet TH|'
Fmt-Aldomct HPLC 20 30

313 s 10.3
24.11 z 7.0
llJB.a a 534,4
29.6 z 12.11

Eoinephrine
Pre-Aldome|, TI-Il' |_5
Pre-Aldomet HPI_C , . 8.7 9.0
Post-Aldomet THI* 194£|
Fosl-:'\idomet HPLC` 2.1`1 \S_i] 1 .l]

Metanephrihe
` Pra-Ardnrnet Tt-tr 49 33 55
- Pr=-Mdomet HFLC so 51 124
Po!.t-Aldomet Tl-Il ' 112 57 203
rost-Atnornet trt=t.t: ss st rs

2.6 t t.?
5.9 t 3.8
t:d,ti z 99.0
3.2 1- l.B

413 1 12.6
'.»'1.15 :1: 32.|
runs x 455_7
61_6 r 12.9

Normetanephrine
Prew\ldol:net THIT 101 65 50
Fr.-.-Atdomet states 270 256 393
- eartanan ' THrr 351 331 ms
-Pnst-Aldoni¢t nPr.CT t 212- tss ` . 223

310 I 22_8
284_0 z 79.1
225,0 z 110.7
131.8 :l: 333

Dupamine
Fm-Aldomet n THI* 219 219 242 255
Fl\:-Mdl;ll'l‘l¢\ ' HFLC _204 138 232 139
PDSl-Aldomet THI“' 17230 46ng ` 1315 l 2 7276
F'ost-Aldr)met HPLC' ZUB_ ' 132 253 134

241‘3 1 22.8
177.4 :1: 43.7
10704.8 2 4989.9
187.1} :l: 552

 

Nate.t, Valur.a are in mierograrns per 24 hr as determined by liuorometn'e assay ('1'1'11) and by high performance liquid ehrotnatograpiry
(HPLC]. before and after or-methyldopa. P values denote comparison between means carrying similar symbols for'ute individe
eateeho|amine or metanephrine studied -- `

* P -= e_ool_ `

t-¢-§ P a o.os.

,

derive from variance analysis ot` these means dcrnet NE, E, and MET. ln the case of NMET

and ranges The agreement between the quan-
titative results for each metabolite yielded by
the THI-ilttoromc`tric and HPLC procedures
is measured by comparing the pre-Aldomet
group mean and range given by each method
on identical urine samples. This veriftes that
the THI and I-II’LC analytical techniques cor-
relate well in the absence ot` interfering sub-
stances. For each of the two test methods an
examination of pre-Aldomet versus post»Al-
domet excretion rates for a given cateehol~
amine or metabclite reveals the presence or
absence of an influence by the drug

In Table l we see that similar results were
obtained by both assay methods for pre-Al-

and DA, the range ol` HPLC values was found "F
to be quite different from the range given by
THI-fluorometry. The statistical significance
of the correlation between THI-fluoromettic
and H-FLC Dr_e-Aldornet excretion rates WHS _;‘;
evaluated using the pooled Student t test;.th¢
results are shown in Table l. \,.'
Using the criterion that P < 0.05 denotes

a signilicant difference between the two sets

ol` data compared it is observed that for NE..
E, and MET, there is no statistically significant-s

dm`¢r'=ns‘= l?¢fw¢¢=n monroeth Tr-rr and§s - ""

HPLC results indicating reasonably clos¢‘»f
agreement between the two assay_methods l`o `
these three compounds However, for DA, the

rsermat

 

JOURNAL OF SURGICAL RESEARCH:

PEAKs 1. NoRMEtAN£PHmNg

rtsoaMrTANEPHamr u., 3-“CH3NORMETANEFQR.`
'2.METANEPHRtm-: § J.METANEPHRINE _ ‘».~

l 10 Nanoarnperas

lN.tECTlUH

FIG. 4. T)‘pica.l HPLC chromatogmph ol` a urine ,
showing post-Aidorrret urinary metanephrines. San-reesq.ty
ditions and standardization as described in Fig_ 2

metanephrine derivatives ol" Aldornet in uri

this provides an explanation for the apparent`l'
for numbered speaks increase in metanephrine excretion rates del
termined by THI assay. Post-Aldomet there
is no correspondence between the degree oi'

in Fi . 4, was identitied usin authentic al ha- , _
g g p elevation of THI catecholamr

t methyl normetanephrine as an internal rel`-
erence standard. Implying the presence oi` the

PEAK$ ions test subjects Typicai HPLC chromatc-T\'j`:,\
l-NOREPlNEPHFHNE ' graphs for pre~Aldomet metanephrines am
§_' ETHEEE§B€NEPHMNE . In_Fig. 3 post~Aldornet peaks-§ l
4. ecHaEPlNEFHle-; urinary E, NE, and DA art:_.F
5- WPAM'NE seen to separate from each other and from _

CH,-NE and cr-CH,-E. fn Fig. 4 it is apparen

that post»Aldomet urinary ot

a
°‘t'
\n

' CATE~.

-____

Date
domet and its derivatives are seen as a distinct "'_'_
_pealc behind the catecholamines and mete-__.` _ 22;':;;':

- nephrines and present no direct interference j
The consistency ol` pre- and post-Aldornei ~- 3113/¥
HPLC` results for each metabolite, with 1115 _ 1 :H:;':

missouri sTsHT.
EscsFF_ SmP

,J 1 'sh.
cussed. Stat_isticat con ' . nfbott
correlation between pre- and post-Aldom¢¢ ‘ * Ai

 

     
     

s. occasions 1933

til*LC results was obtained by performing a
'udent t test analysisol` the data1 The results,
.' ong with the values given by a similar anal-
' `s sl` pre- and post-Aldomet THI data, are
rn in Tablc l. P values for all mctabolites
eterrnined by I-IPLC, except NME'I`, were
enter than 0.05, supporting the conviction
' at the HPLC procedure was not interfered
, h by Aldomet treatment
` A 38 year-old male conservationist was re-
rrcd to us with 8 months of sustained hy-
` rtension on which episodes ol` greater higher
tlood pressure were superimposed. His med»
lnations did not control his hypertension and
' ing them was Aldomet 500 mg l`our times
day by mouth which was continued until
ebr'uary 12, 1932. Two days later an over-
'ght urinary collection showed, on TI-II anal-
sis, massive-elevation of catecholatnines and
metanephrines (Table 3). On February 18,
932, a repeat overnight urine collection was
nalyzed by HLPC. There was a striking de-
_ erease in the excretion rates ofnorepinephrine,
fepinephrine, normetanephrine, and metane-
"Dh' int (Table 3). ln spite ofthe great decrease,
`i' the excrction rates of norepinephrine and
normetanephrine remained in a range diag-
_:nostic for pheochromocytoma,'while meta-
\_ nephr'ine excretion was normal and epineph-
i_ rine excretion only slightly elevated.

An B-cm diameter tumor was localized in
. the left adrenal by computerized tomography
; §-j and regional vencus sampling and on March

  

PEAKS

t NoRMErANEPHRmE-
2. afCH3NClFlM|;'T»¢t|\'t§|:=H

R ~ ~'
3 armstronth -~ §§

  

  
   

5.?5

    
 
 
  
 
  
 
 
 
  
 
 
 
  
 
 
 
  
    
    

  
 

met urinary metanephrinea. Sameoon~
tardization as described' in Fig. 2_ " "

   
 
  
  
   
 
 

   
  

derivatives of Aldomct in urrn
n explanation for the apparen
tanephrine excretion rates de--‘
I assay. Post-Aldomet there-~ '
ndence between the degree dt'"
H,l catecbolamines and the de`-
n ot`TI-II metanephrines arnong ,
. This might indicate variability-'-
ism ofaldomet among the var-.
. Typt¢st HPLc ehretnttn-"“
-Aldomet metanephrines are
'»‘ .In Fig 3 post-Aldomet peaks

urinary E NE, and DA arc"'§;

from each other and front c-"

,-E. Irt Fig. 4 it is apparent
met urinary ot~CI-IJ-NE sepa-1

' y from NMET and MET. 1111

  
   
  
    
  

 

  
 
 
  
   
 
   

  

MUN[ON. SEATON, AND HARRISON:

 

HPLc wmt ALPHA-METHYLooPA 513
13, 1982, a SB‘g tumor was removed from the
left adrcnai_

Postoperatively, the patient's course was
complicated by transient aspiration pneu-
monitis. Six days postoperatively on March
24, 1931 catccholarnine and metanephrine
excretion rates showed, by THI analysis mild
elevation of norepinephrine and normeta-
nephrine which subsided to normal when ex»
cretion rates.were repeated 3 months post-
opcratively. The patient continues to do well_
Mild hypertension still is present but is now
easily controlled by medications which were
ineffective bci`ore.

This study demonstrates the enormously
elevated post-Aldornet urinary catecholamine
levels assayed by the THI procedure This is
a true false-positive reaction; Aldomet differs
in chemical structure from DOPA only by the
addition ol`an extra methyl group on the alpha
carbon. Aldomet is derivatized to a trihy-
droxyindole ring which is indistinguishable
lluorcmetrica.lly from the THI rings derived

_l`rorn catecbolamines_

False positives do not occur when cate-
cholarnincs are assayed by HPLC with elec-
trochemical detection Each metabolite is sepa
arated and accurately quantitated by l-IPLC_
int ante show nn sigmon-tnt statistical dir-
ference in NE, E, MET,` and DA measured
by HPLC before and alter`taldng Aldomet_
NMET eiteretion1 however, was significantly
decreased post-Aldomet when determined by

TAHI.E 3

 

e identified peaks are well sep--. "

  

_ €ATECHC|LAM|NE AND METANEFHR.|NE EXCRETION tN lt F'HI:`.OCl-LROMOC'YTUMA PAT[ENT R.ECE[VI'NG ltatLl.`»'Cllle'I` "

 

 

v ` _ . Nortnal range NE E NME ME
for accurate quantitatron. Al- v rim oig/24 bd U B_ao) (4_4_| 3m (104_2703 (60_220)

1 envatrves are seen as a distinct
he catecholamines and meta» 2114/82 rHr 1056* 50* steer 433*
present no direct interference 2113/32 ` HPLC 430* _ 21* 3340* 123
:y or pre' and pDSlL-Aldt'_'tm¢f 3/13/32 Rerrtova.l ol' pheochromocytoma
for each metabolit`e, with the 1 lot/112 carry patton int 113* rs tss* 217
MET¢ CHII be observed in Tablc - 51' ' 3/32 Latc norton THI 27 1.5 lls 54

 

N`MET has already been dis- __
cal confirmation of thestrcn§ ` -
ween pre- and post-Aldomet

;1-1.`1¢.»_.\,..__.'¢ 1_ 1

* Abnormnlly high values1

 

‘ Showing a false positive Tl~ll elevation cfeatccbolamine and metanephrines resolved by HPLC and finally return
01 both G_le¢ho|nminta and mctan¢pht'inca to normal poston-cretide by THl analysis.

    
 

 

 

 

514 JOURNAL OF SURG|CAL RESEARCH: VOI_.. 35, ND. 6, DECEMBER. 1933

HPLC. This decrease in NME`.T could be due
to a pharmacologic action of Aldomet. Al`ter
Aldomet there are no false-positive elevations
ofcatecholarnines or metaholites with HPLC.
We conclude that HPLC is a valuable clin-
ical tool her nteasurentent of urinary cated
cholamines and metanephrines in the presence
of Aldomet. T his makes it unnecessary to re»
move patients from )‘tldotnet prior to sereen~
ing l`or eatecholamine-producing tumors.

ACKNOWLEDGMENTS

We gintei~`ully acknowledge Lhe synthesis and availability
oi` ot-CHJ normetanephrine by Stevcn Ross, P'h.D_, and
Carl Perehenock, l='h_D.4 Researeh and Developn:tent,
Sniith Kl.ine tit French I_,aboratories, Philadelphla. Fenn-
sylvania This work was conducted by Dr. Munion as n
medical student problem-solving project at The Miltcn
S, Hershey Medical Center.

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The bineht:mic.al techniques for detecting and m
timing the presence ot'a pheochromocytoma A mvi="
often years‘ experience Amer. .l. Cordro!. 25; m .
1970. ?"

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. marina 1». T., sites R. M.. mont rt t.,‘?i'ii'ti

l,t:l'r-Daw, Rau. E.stimalion of t`.:llecltolan'rinc$ in m"-h`=
by high performance liquid chromatography high
electreehernieal detection Br`oc)‘rem Mt'd. 13: 299
19‘.'$.

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amines and their metabclites by adsorption, ion.
and soap ehromatography. .F. Chromotogr. 115
l976_ '

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chance liquid ebromatography. C`h`n. C`ht-m_ 2.4- _
l‘.il"lS1

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urinary nonnetanephriue, metanephrine andq '-
m¢thn:tytyramine by liquid chromatography with
amperiornetric detection Clr'n. Chem. 23,’7: l
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. von Euler, U. S.. and Lishajko, F. 'l`he estimation

eatecholamines ia urinc. Aera Physr'ol. St:wrtz'. 45: lEJ¢
lg$§|. ' '

 

Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 36 of 91

Determination of Free and Conjugated Normetanephrine and
Metanephrine in Human Plasma by HPLC with Electrochemical
Detection - Padliari, et al. {1990)

In this peer-reviewed article published in the Journal of
Chromatography, the authors study the accuracy and
reliability of the HPLC with an electro#chemical detection

 

system in measuring normetanephrine and metanephrine levels-l

in human plasma. The authors focused upon the ability of
the HPLC system to identify and exclude other similar
compounds. The authors concluded that the HPLC with
electro»chemical detection system validly and accurately
measured normetanephrine and metanephrine levels in human
plasma and effectively excluded the measurement of false
positives from other similar compounds.

 

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i-¢'-_.!q.-v,*¢@e<ut.~\..; -.'_.'. . =;

i.'r.t;.

 

 

 

Jt.iurnai of Cliromritngnt;ilty, 563 { l991) 23-36
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E|sevit:t' Science Publishers B.V., r\msterdam

CHH(JMBIO_ 559|.)

Determination of free and conjugated normetanephrine and
metanephrine in human plasma by high-performance liquid
chromatography with electrochemical detection

R. PAGLIA EU". J. M. (:fOTTl".`T-EMARD and L_ Pl_-'.YRlN

Univcr.tt`!é C!uudn Bernnru', Laht'irrrrot`rt- de Piiit'sit.\fngt`t-, Fnr.'u{ie" de ilrIt-"ri'¢’r'ine, 5 ¢-frr-nt.»e Rnt')l.'e_fi'l'!'e)'. 6937.1"
L_t=ou Ceri'e,t' 08 [ Frtmcit) '

(First received April 2Eit'h7 1990; revised manuscript received August let` i9‘.tOl

 

 

ABSTRACT

A simple method t'or the simultaneous assay oi` normetanephrine and metanephrine [hoth free and
eonjugatcd) in human plasma by high-perfon'nanoe liquid chromatography with eieetrochemical detection
has been developed The hydrolysed plasma is puriiied on a Doweit 50 H' column. and the ntethoxylated
ainines are e[uteel with anttnonia-methano|. The methoxyamines are assayed using a dual-series electrode
arrangement with differential current measurement This system greatly improves cite assay specilieity
toward cndogenous or exogenous ntetabolites and drugs The high sensitivity ot' the ntethnc| enables the
determination itt normal subjects ol` levels ot'normetancphrine and metanephrine.

 

INTaoDUC'i'loN
lt has long been recognized that urinary measurements of normetanephrine

(`NMN) and metanephrine (MN), the direct B-O-methylated metabolites ot` nor-
epinephrine (NE) and epinephrine (E), respectively, contribute important infor-
mation on adrenosympathetic activity in humans [ l,.?.]. I-Iowe.vcr, measurement ot`
these substances in plasma may be more useful in estimating sympathetic tone not
only to eliminate the confusing potential effect of renal handling on metho)ty~
amine exct‘ction, but also for more convenient use in ambulatory patients

_ in fact, the development of assays for metanephrines in plasma has been limit-
ed by technical problemsl including poor sensitivity and specificity A radioen-
zymic method for plasma NMN assay involving the conversion of this amine into
labelled MN by phenylethanolamine N-mcthyltransf`erase (PNMT) with tritium-
labelled S~adcnosylmethionine as methyl donor, was developed [3,4]. Despite its
high sensitivity, this technique has the disadvantages inherent to radioenzymic
assays (cost, complexity1 previous preparation ol`puriiicd enzymc) and it does not
include the estimation of l`le in plasma._ On the other hand, the radioimntunoas-
say described by linurna et nl. [5] is too complicated for routine analysis (gener-
ation ot` specific antibodies, use o`t` 125I-lal:ielled synephrine) and is limited to free
MN. - _\ '

ons~»on;snsos.so to 1991 eca-insane Pnbiiih¢r.», a.v.

 

 

R. l*r\(_iL.lAR[ er tzi',

This paper describes a high-performance liquid chromatog.traphic (Ill’i,t_'.“)
method l`or the determination oi`l`ree and conjugated NMN and MN in plasrna_
HPLC with electrocheniical detection (ED) combines high sensitivity, specificity
an_d rapidin l`or routine use.

EXPER [M ENTAL

Apporcrnrs
The chromatographic system consisted
rich, Switzerland),

tively, for the two electrodes Th
substracted f`rom the output oft

Mtttert`ttfs

Analytical-reagent-grade chemicals were used without further purification All
solutions were prepared from deionized and glass-bidistilled water (GBW). Un-
lcss indicated otherwise, t c compounds listed in in Table l were purchased l`rom
Sigma (St. Louis, MG, U.S.A.).

Sodium octanesulphonate, Dowex 50 W X.?, I-I* (100-200 mesh), Amberlite
CG 50, i-I+ (200-400 mesh):l were obtained from Flulta (Basel, Switzerland).
AGMP 50, i-[`i (lOOw-BOO mesh), was from Bio-R_ad (R_ichrnond, CA, U.S.A.).
Sephadex G-lt] (Pharrnacia, Lippsala1 Sweden), was prepared before use accord-
ing to Wcsterinlc and Mulder [6].

All other chemicals were From Carlo Erba (Milan, ltaly).

Stock solutions

~ ZU°C. Working
ng stock solutions with GBW.

 

 

 

 

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chromatographic (HPLC)
NMN and MN in plasma.
high scnsitivity, specificity

'Jn Model 414 pump (Zii-
lalve (Cotati, CA, U.S.A.)`
iran (lOO mm >< 4.6 turn
;rm). A guard column (20
3 nm particle size (What-
used was a double glassy
'J 201 electrochemical de-

nosodiuin phosphate, 50
, 2 mM disodium EDTA
to 3.5 with 5 MHCI. The
)ugh a 045-nm cellulose
ing potentials versus an
+ 230 mV (V2), respec-
rlcing electrode (Vl) was
trode (V2).

further purification All-' n
illed water {G_BW). Un-
:I were purchased from

l-200 mesh), Ambcrlite
a (Basel, Switzerland).
chmond, CA, U.S.A.).
:tred before use accord-

|y).

4-hydroxybenzylamine

compound in 0.01- M\ _
:d at - 20'C. Worldng
with GBW.

 

. ... .-...r-.._ . ....._._...

 

 

( l.,,,.. .. ..n r-A_».. M..,.. ,»_. ..

HF[~C-HD OF NORMETANEPHRINE AND METANEP'RINE

`['ABLE I

25

EVALUAT|('_)N OF` lNTERFERl-ZNCE B‘r’ SELEC`I'ED DRUGS AN|`J MET.*"\BOL[TES

l‘vlobile phase adjusted to pl-l 5.5 or 3.5 and the potential set at + 7X0 m‘v’ (sing|e working clectrode) or -l- 550 and

+780 mV (rlouble working electrode). The retention time fur NMN was 6.75 min. The peak height for 2 parol rif '
NMN was 115 mm. N.D_ = not detected

 

 

 

 

Contpound pH 5,5 pH 3.5
Retentinn time Pealc height Retentinn time Pealr height relative in NMN
relative to NMN relative to NMN relative tn N\iN " ~-_ _-
[+ 780 mV} at +'1'80 rnV at + 550 rnV (Vl)
'Brld + 7801:1V (VZ)
Ami`ne_t'
NMN l 100 1 100 100
MN 1.55 40 1.46 42 42
MHBA 2.49 21 2.29 23 23
J-M'l` 4.04 22 3.57 22 t 22
4-MT 5.92 13 5.23 13 13
Norepinephrinc 0.51 346 0_4| 252 N.D_
Epinephrine 0r65 3 lJ 0.56 173 N.D.
Octopamine 0.81 86 0.73 l.20 1.20
DHBA 0.96 150 0.83 134 N.D.
Synephrittc 1.10 54 t-,05 0.53 0,53
Dopamine 1.48 115 1.34 1215 N.D_
Epinine 1.82 47 1.32 47 2
Isoprenalinc 2.39 53 2.39 53 . N.D.
Tyraminc 2.59 21 2.59 16 16
Serulonllt 4,31 49 4.31 49 _
Ah'll"no ctci¢'t'.t.'
L-DOFA 0.31 951 0.26 688 N.D.
e-MethleDPA 0.35 390 0.56 72 N.Dr
J-O-McthleOPA 0.39 339 0,60 224 . -
t.-Tyrosine 0.43 105 0.41 45 45
a-Methyiparatyrosine - - 5.00 21 y -
Aicohu!.t and uld'eirydes‘
DHPG 0.3'7 - 597 0.37 597 257
Vanillin 039 194 0.50 194 190
isovauillin 0.39 291r 0.50 297 290
e-Vanillin 0.39 289 0.50. 382 380
Ml-lPG 0.45 272 ¢).4_5 272 l50
Ml'IPE 1.96 67 1.96` 67 67
Acid's t
VMA <0.20 N.D. 0.]7 1170 1100
IsoVMA et0.20 N.D. 0.43 614 _ 590
Vanillie 0.33 339 1.`.53 _` 159 42

 

(Continued on p_ 26)

26

TH\BI.E l (eartt'tl'mert’)

Aleohols and aldehyd

es pfl 5.5 pH 3.5
_______ __ ______._t. _____-________ _._t.__"_._ _
Rctention time l"enlc height Retcnrion time F'ealr height relative to NMN
relative to NM`N relative to l\'l'le relative to NMN “____'_‘__'-"__ __'-----
(-t- 780 mV) at -1-730 ntV at + 550 ntV{‘H)
.ttnd 'I- 780 tn V(Vl‘_]
p-Hydroxyphenylacetic 0.33 ljs _ _ N_l_d_ N_l`)_
rn-l-lydruxyphenylaeetic 0.35 55 N.D. i‘~.'.D.
S~Hl:'-\A 0.38 215 186 3
Hontovanillic 0.39 424 177
Hytlt'ccali'eic 0.4? t 306 165
0-1-1 ydroxyphcnylacetic 0.51 183 99
C.‘ati'et'c 0.51 431 193
DOPAC 0.58 426 54
l"'ertrlt'c 0_35 102 52
lsof`eruh'c 1.25 1 13 . . N.D.

Drtrg.t

' Accbutolol N.D. c0.005
Atenolol N.D. -¢:0.005
Labetalol N_D. ~:0.005
Metoprolol N.D. 1e'l§l'.005
Proprauolol N.D. '-':(l.flO$
Sotalol N.D. '¢: 0.005
Captopril N.D. -c:0.005
Cloniditte ` N.D.
Acetylsalicylie acid
Paracetat'nol

Freparatr`on oj`r‘.r’zs resins
Dowex 50 W X2, H +, was

 

 
 

  

ll. PAGLM Rl er al.

 
 
  

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Peak height relative
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N.l).

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c tl,ttt)§ j
d 0.0115
-c n.r)ns'

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` n "W“-" Puritled

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edltttt.~|y1'1000`,§_.,ml 1

  

o NMN

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l'll`-'lr.C-ED OF N(`JRME'I`ANEPHRINE ANlJ' ME"l'ANEl-'RINH 21

mirr). The inliuencc ol`dictary components was tested in blood samples collected
at 10 a.m. and 3;30 p.m. (bel`ore and after a meal).

.S'rrrnpie preparation

extraction of free incrhoxyiated anrr`nes. A Z-ml volume ot` pl
32 pmol ol` the internal standard MHBA
chloric acid in an ice~eold tttbe and centrifuged at 8800 g l`or 10 min, The super-
natant was adjusted to ptl 7 with 5 Mammonia and made up to 6 ml with GBW.
Thc mixture was applied to a Dowex 50 W XZ. l-l+, column (_50 mm )< 5 mm-
l.D.). The column was then washed with 2 ml GBW, and the amines were eluted
with 2 M ammonia containing 200 ml/l methanol. The hrst 0.5~ml portion was
discardedT and the arnines were collected in the subsequent 1.5 ml. The Dowex
eluate was evaporated to dryuess under vacuum at 40"(;`. The residue, redissolved
in 100 pl of 0.01 M I"ICl, was used for HPLC.
Assrty offered (ji~ee + conjugrttsd) NMN and MN.
out as t`ollows. The supernatant ot" 1 ml deproteini
cluding the internal standard ( 10 pmol ol` MHBA)
containing 5 ml ot` 0.1 M perchloric acid:l previou
bath. The hydrolysis ol` conjugated methoxylate
and was then immediately stopped in an ice-bath. The hydrolysed sample was
adjusted to pI~l ? with 200 pt ol` 5 M NH¢OH, and the deconjugated methorrylated
arnines were extracted as described above l`or l`ree amines.
Addirr`onul purr`jican'on of the Dowe
observed in the HPLC chrornatogram

asme mixed with
were poured into 400 _nl ol` 2 M per-

Acid hydrolysis was carried
zed plasma (see above) in-. ‘.
was poured into a glass tube `
ely heated to 95°C in a dry hot

d amines lasted 10 min at 95“C

x eluate. thcasionally1 interferences were

ot` the plasma from drug-treated patients.
The evaporated Dowex eluate, redissolved in HCI as above. was made up to 1 mt

with GBW and further purihed on an Arnberlite CG 50 column (70 mm >< 5 mm
t.D.). The column was washed with 10 ml olGBW and 0.3 ml of 0.2 M NH,,,OH_.
and elution was performed with 1.2 ml 010.2 M NH¢OH. The ammonia
was evaporated to dryness under vacuum at 40°C di

HCl, and used for HPLC`assay.-

ca1 eluate

HPLC analysis

s A 411-pl volume ol` the Dowex eluate was usually injected into the chrornah
tograph. The working potentials were + 550 rnV (Vl) and + 780 m‘vr (VZ) l`or the
two electrodesl The recorded signal given by the lirst working electrode was
substractcd from the signal ot` the second working electrode. The sensitivity was
set at 0.5 nA t`or both electrodes, and the How-rate was 1.0 mllmin. The retention
times for Nl\r“ll\l1 MN and ‘MI‘IBA were 6.75, 9.60 and 15.6 min, respectively. A

typical chromatogram ot` the plasma from a healthy human subject is shown in
Frg. t. l

   
     
     
      
    
        
       
      
        
       
 
      
   
       
      
    
   
   
    
   
     
     
   
      
      
 
  
  
 
   
  
   
  
   
  
  
    
 

   

 

 

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jj _ t hill le
rv- ‘ ' n
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Fig. l. Ty'pieal chrornatograms ol`{A`_| authentic methoxyurnines NMN and MN (2 pmol) and MHHA (4

pmol), and (B) hydrolysed plasma from a healthy human subject. Doweit eluate was evaporated and
reconstituted with 100 al ol` 0.01 M HCl, and 40 itt were injected Original plasma concentrations were 7.2
pmol,lml for NMN and 3.? pmol,"ml for MN. Column. l-Iypersil ODS ill13 5 um. 100 rn x 4.6 mm I.D.;
eluent. 50 mildf monosodiurn phosphate, 50 niM trisodium citrate, 2 rnM sodium octanesulphonate, 2 mM

disodium EDTA and 100 mill methanol, final pH, 3,5 with 5 M HCl; how-rate. 1.0 ml/min; working
potential, +550 and +‘780 mV; scnsitivity. 0_5 nA.

hesutrs

Development of the method

Hydrolysr's of conjrrgnted methoxylated arninss. A 1-m1 volume of human plas-
ma was deproteinized and mixed with 5 ml of hot perchlon`c acid (95°€) at differ-
ent molarities to produce pH values ranging from 0.3 to 2.0. The mixtures were

§ , or 30 min. The highest levels of methoxylated amines
were obtained when the hydrolysis was conducted at pH I for 10 min (Fig. 2). In
agreement with Foti et al. [3] we observed that the hydrolysis was less efficient at
pI-I values higher than 1.4. Dn the other hand, pH values less than 1.0 or heating
times longer than 10 min resulted in amine loss, especially for MN. The stability
of the internal standard MHBA to the hydrolysis conditions was evaluated by
processing deproteinizcd plasma samples spiked with 3.2 pmol of authentic
MI-IBA throughout the whole procedure (hydrolysis + Dowex procedure).
When heated for 10-30 min, MIIBA was stable in the pI-l range 1.0-2.0 but, like
NMN and MN, it was affected at pH values below 1.0.

Dowex 50 procedure To investigate the features of the Dowex extraction, 1 ml
of saline sample containing 3.2 pmol of the three authentic amines (NMN, MN

 

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rs (2 pmon and MHHA (4
uatc was evaporated and
a concentrations were 7.2

",100m >=-' 4_15 mm'I.D.;
toctancsulphonate, 2 mM
atc, t.t] r-nl/min: working

c of human plas-
cid (95°€) at differ-
Thc mixtures were
thoxylated amincs

10 mrs (Fig. 2). in
was less chicient at
than 1.0 or heating

MN. The stability

was evaluated by
mci ol` authentic
owes procedure).
c 1.0-2.0 but, like

x extraction, 1 ml
iacs (NMN, MN

R. FAGLIARI et oi'.

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---\»-a .r..-.. .-,..¢.r 14

 

____ .r...-..-..

    

HP[.C-ED OF NORMETANEPHRINE AND METANEI’R]NE 29

 

 

pmolfml pmulfml
s rr/D\ s
` 5 "`~s NMN
4 4
3 3
2 NMN 2 “"-
1 /\_ 1
-¢_¢_» MN

0 0 l'*‘lN

r 1 r r l 1 l t . , 1 r r
O.t§ 05 110 12 l.-il 115 15 210 pH 0 10_ 20 30 min

l`~'ig. .`»1. Eh`cct ol`pl-l and time on the dcconjugation ol` plasma-conjugatcd NMN and Ml\| submitted to acid
hydrolysis at 95'(3,

and MHBA) were processed throughout the Dowex procedure in various condi-`
tions (Fig. 3). `

The optimal pH value for metanephrine exchange on Dowex 50 W X2 (ob-
tained with 5 rid NH.¢,OH [9]) was pH 7. The recoveries were greater than 90% f`or
NMN, and near 80% for MN and MHBA.

Frcm literature data [3,3], ammoniacal methanol was chosen to clute the
metanephrines from Dowex 50 W XE, I-I+_ We obtained the greatest recoveries
with Z‘M NH.¢DH in 20% methanol. ln routine analysis, the first 0.5-m1 portion

“'-‘=°""Y z rat-ton neTHANut.
icc

leo

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Fig. 3. Main features of the Dowcit 50 procedure. [Upper panels) effect of pH, NH_¢OH molarity in
ammonia-methanol (80:20. vlv). and methanol concentration in 2 M NH*OH eluent. (I_.owcr panels)
clution diagrams ol` authentic NMN. MN and MHBA from Dowcit under the final oonditions, pH adjusted
lo' 7, elut.ion wilh 2 M NH‘OH-methanol (BD:IO, v/v)_ ` ' ' l

 

00 Pa°e 44 Of 91

30 ` a. Pr\or.matsrrrr.
was discarded and tl

. ` ' ries of
authentic ex ' ‘\ - , . - .6 and 31.£1 :L~ 3.6%

A, respectivelyl
s.r etrrars. A l-ml saline sam
MN and `

Wc used a Sephadex G-10 column (70 rnrn
tnetanephrines as described by Wcsterinl< and Ten
ditions, the mean recoveries (:t; S.l.`)_,

in .S'cttnpie preparation Under the li '
‘- 8) through the whole procedu
were 80.0 se 7.9, 74.2 :& 4.0 an
respectively

metanephrines are strongly retained with the
utinely used in catccholamine assays, several authors have in-

octane sulphonate '
ephrine on t

The assumed NMN
identified on the basis
coachromatography `
achieved by varying t

A_._u___ .i», M-a.-.-\p-r.r-- '-;

i-rr‘**-'l‘

 

 

 

   

 

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::d. The recoveries ol`
i.€i and 81.9 :l: 3.0%
tively.

mple containing 3.2
d on the Dowex 50
11 M I-lCl, was then
1-10 or an t\.mberlite

    
   
 
 
 

).) to puril`y urinary
Under the Ftnal con-
\ cthoxylated amines
dex G-ll)) were 77.7
IHBA, respectively
tract metanephrines
suitable for elution.
of interfering com-
xylated amines. For
s, rcdissolved in 100
tion was applied to
ocessed as described
ecoveries (:t: S.D., n
t Amberlite CG 50)
. M'N and Ml-IBA,

  
  
 
 
   
 
   
   
 
  
  
  
  
 
 
  
   

y retained with the
al authors have in-
cctonitrile, trichlo-
ighly corrosive l`or
raining octane sul~_
reasing citrate con-t
, MN and MHBA
minor effect on the
ts, either by sharp»
n (pH). Adequate
lysis time, was ob-
i phosphate, 2 mM
`nterl`erence of syn-
rtdjusted to 3.5 (see

ts were tentatively
mobile phases and
identification was
tor for the plasma

 

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1 . -...ua-L \,..t¢._-.ra¢;“ l-¢#¢¢-:mlil '.

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l-`lPLt'_`,`-F.D DF NURMETANEPHR|NE AN[) METANEI'RINE 31
itt min _
40 t
2a _ pH eitrnte
15 ' w_§__l___,_._I---._,_“'\____`_\-.l 35
12 ' 20
e._-_""_" _"_"'-e .
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a_:r-_n_..q_,,___,§_ 10 \\b`_q
4 ' .

   

10 20 30 40 50 mbt

 

 

 

methanol
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4
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a 1 2 3 - 4 m 5 10 15 it

Fig_ 4d Et’l`ect of the mobile phase composition and pH on the retention times ot' mcthoxylated amines. :l"he
mobile phase consisted ot' 50 mM monosodium phosphate, 1 mM disodiurn EDTA mixed with tnsodium
citratc, octanesulphonate and methanol at various concentrations `

- extract and reference compounds In both methods, the assumed NMN and MN

peale from plasma behaved as the authentic amines iFig. 5).

Evoluan`on of thefnal method _ _
Ltneerr'ty and sensitivity The detection limits calculated from the peak herght

equivalent to 2% of full scale were 0.10, 0.-12 and 0.12 pmol for-NMN,_lvtN and
MI-IBA, respectively. The detection was linear up to 60 pmol (amount injected).

§

_n_¢- ---_l

E
o

peat height tmm!t
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o' ssa ven rsc sec esa invl
Fig. 5. Relationahip between peak heights and the oxidizing potential (vottarnmogram) for (El) authentic
NMN and [+) the assumed NMN peak in the plasma of a healthy adult.

   
    
   

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`TABLE II
PRECISION OF THE METHOD (MEAN :l: SiD.)

 

t_`.ornpounti lnti'a-ussay(rr = 30} later-assaytn = |5)

 

 

 

 

pmm/mi c..v_ (%) pmol/mi c.v, ran
NMN tree 2.33 a 0_33 14.2 3.41 a 0_3\ 12.9
NMN rural 7.12 a 1.04 14_6 sss s ass ts.rt
MN tree use a- c.rs rev csc s 0.31 32.3

2.48 :l_ 0.35 l4.[

MN total

249 t 0.33 15.3

Precisiort. Day-to-day precision was determined from analysis of a plasma
pool from hypertensive patients, over a period of fifteen days. Within-batch pre-
cision was evaluated by assaying thc plasma pool thirty consecutive times. The
data in Table II show variations of less than 15% for intra-assay precision; thc'
between-run precision was ce. l$% for all compounds except free MN, whose
values were veryr low. `

Recoveries in piosmo. Known concentrations of each c
aliquots of plasma pools from healthy subjects The
extract sample of each supplemented sample, minus

ompound were added to
amount measured in the hnal
the value of the compound in

thus obtained were 97.'." i 2.3 and 831 d: 2.9%
NMN and MN, respectively

Spec;'ficity. Table I compares the relativ

e retention times and peak heights of
the two metanephrincs with those of several possible interfering compounds

(mean t S.D., rr = 1_4) for

TABLE Il'l

FREE AND TOTAL METH

OXYLATED AMINES lN PLASMA OF ADULT HEAL'I`HY SUB»
.]'ECTS AT .RES'I`

Values are pmcl/ml, mean :l: S.IJ.; rio sex~related differences in statistical test

 

 

[Ll-Mann and Whitney).
Men Women Both sexes
(n '~ 6) th = 3) itt " 14)
NMN
Free 0_57 :l_' 0.34 0,28 t 0.13r 0.41 s: 0.30
_Conjugatctl 4.20 :l: 0.69 4.43 :l: |.54 4_33 :l: [_27
Cenjugated (%) 35.0 :e lD.S 93.0 -_t= 5,09 8‘].5 :l: S_Gl
M'N
Free 0_l4 ;L- 0.07 0.|6 i 0_08 0_|5 a 0.07
Conjugated 2.20 :l: 0.66 120 :t 0.43 2.2| :l: 0.52
cenjugared (%) 92.-9 s 4.41 st.r .a 5.37 92.2 a ass

 

     
     

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nalysis of a plasma
s. Within-batch pre-
nsecutive times. The
-assay precision; the
cpt free MN, whose

ound were added to
measured in the final
of the compound in
-¢ded. The recoveries
S.D., rt = 14) for

and peak heights of
.rfering compounds

DULT HEA L.THY SUB-

(Ll-Mann and Whirriey),

    

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Hri,c-Er> or NonMa'i‘ai`~iErHaiNa ANo METANEFRINE in

En_uimolar amounts of each compound were injected using the mobile phase
described in Chrornotogrnphic r:oridi'tiorrs, adjusted to pl-I 3.5 or 5.5 with 5 M l-lCl.
The interference study was conducted under two sets of conditions: (i) mobile
phase pI-l 5.5 or 3.5 with a single working electrode at +?80 mV', (ii) mobile
phase pI~I 3.5 with the double working electrode system + 550 mV (V l} and + 780
inV (VZ). * '

With thc mobile phase pI-l 5.5 and a single potential (+730 mV) the following
compounds exhibited measurable peaks with relative retention times itt the range
of nietauephrincs (0.9~-1,7]: DHBA, synephrine, dopamine and isol`crulic acid
(Tablc l). ()f these, only synephrine, an endogenous sympathomimetic aniinc,
was quantitatively extracted by the Dowex 50 procedure and could interfere with
the plasma Nl’vlt~l assay. This interference was greatly reduced by using a mobile
phase at pI-I 3.5. On the other hand, using the double electrode working system
further improved the assay specificity by reducing the peaks of most compounds,
some of which (r`.e. catecholamines) could interfere if present in large amounts
(patients with pheochromocytomas). ` `

'l`yramine, which is extracted by the Dowex 50 column, exhibited a significant
peak under all conditions at a relative retention time far enough from that of the
internal standard MHBA to allow efficient separation If necessary for samples
with large amounts of tyrarnine, the relative interference of the tyramine peak can
be reduced to 0.5% of NMN by lowering the potential (VB) to + 750 mV.

No detectable peak was found under any of the above conditions with a num-
ber of antihypertensive drugs (T able I) and the following endogenous or exo-
genous compounds: homogentisic acid, m- or p-hydroxymandelic acid1 m- or
p-methoxypheriylacetic acid, o- or m-methoxymand_elic acid1 homovcratric acid
and homoveratrylamine. Acetylsalicylic acid and paracetamol (acctaminophen)
exhibited very low relative retention times and did not interfere in the meta-

' nephrine assay ('l`able l).

_ Normnl' values in healthy adults ' t

NMN and Mt‘~l concentrations in plasma collected from fourteen healthy sub-
jects in the supine position are shown in Table IIl‘. The major part (85-93%) of
plasma methoxyamines was in the conjugated form. No sex-related differences
werc observed for free and total NMN and MN, No interfering effect of dietary
components was observed in plasma samples taken after a meal.

DlElCUSSlON

We have developed a method for the assay of free and conjugated nietaneph1
rines in plasma. Only two authors have previously studied free and conjugated
plasma NMN [3,14],_ but rio data are available for conjugated MN. C)ur data
show that, like NMN, 90% of circulating MN is conjugated in human plasma
treble nn opiimai deceajugarien er eartjugaiea NMN was achieved in 10 min

 

  
  
  
 

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at pl-I l.0. i-iowever, we found perchloi'ic acid to bc more convenient than triclilo-
roacetic acid for plasma deproteinization and acidilication prior to hydrolysis
The finding that conjugated metanephrincs are readily hydrolysccl at acid pl-I,
confirms that the major conjugates of plasma hitle and MN are sulphates [3,14].
From the available literature on metanephrine assay in urine [9,|2,|5,]6`] or
plasma [l'l], Dowex 50 W X?., H", was chosen to extract metanephrines from
plasma. AGMP 501 previously used for urine samples [8}, was also examined as
an alternative to l_)owex 50 W XZ to purity the plasma sample. The details (fixa-
tion pl-l.'1 composition of ammoniaeal methanol as eluting agent and clution dia~
grani) of the extraction of 3-O-iiicthylatcd aniines using AGMP 50 were very
similar to those using Dowex 50 W. We chose Dowex 50 for metanephrine assay
because of its current availability in laboratories and lower cost than AGMP 50.
[n our hands1 extrapolation to plasma of the organic solvent procedure de~
scribcd by Buu et ui. [13] to extract metanephrines from urine led to unsatis-
factory HPLC profiles and poor recovery of amines. In agreement with previous
findings [9,16] one essential condition for quantitative recovery of the B-O-rne~
thoxylated aniines through Dowex 50 W XQ was a low Na+ content in the sarn-
ple. Therefore prior to the Dowex extraction, the pl~l was adjusted with ammoni-
um hydroxide, and the sample was diluted six-fold. In line with Foti ct at [3] we
found that ammoniacal methanol is more suitable than aqueous ammonia for
elution of 3-O~niethoxylated amines from Dowex 50. lndecd, adding methanol to
the ammoniacal cluent allowed a reduction of the elution volume and decreased
the risk of interfering compounds1 while shortening the evaporation time. Just 2
ml of 2 M NH40H in 20% methanol were sufficient to elute 30-95% of the
methoxylated amines fixed on the Dowex 50. Like previous authors [13,13,19} we
used MHBA as an internal standard: it has chemical features very similar to those
of NMN and MN and was stable to thc hydrolysis procedure.

The Dowex 50 eluate can be used for direct HPLC analysis of plasiiia_me-
thoxylated amines. However, interferences were noted with plasma samples from
some drug~treated hypertensch patients. Two additional purifying systems were
developed: Sephadex G-lO and Amberlite CG 50. Similar recoveries were ob-
tained with both procedures Each of these systems has advantages and disad-
vantages Sephadex G-lO columns are easy to prepare and can be reused several
times, but the sample filtration takes ca. l h. The preparation time for the Amber-
lite CG 50 resin in the Nl-l4+ fomi is quite long, and the columns must be
discarded after a single assay. Howcver, the extraction step is simple and rapid.
C)ccasionally1 when interferences were present in the ilPLC protile, the double-
step purification was highly convenient for l-lPLC assay; however_. this was not
usually necessary

In previous methods for NMN assay in urine, electrocheniical detection of
NMN has been generally perfoni_ied at a working potential ranging from +300
to + 1000 mV {13,15,16,19,20]. However, such high potentials favour oxidation
of several compounds, including monophenols, and increase the number of pos-

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ivenient than trichlo-
prior to hydrolysis.
irclysed at acid piI-I,
.are sulphate-s [3,14].
urine [9,]2,|5,16] or
metanephrines from
as also examined as
Jle. The details (tixa-
rent and elution dia-
GMP 50 were very
metanephrine assay
ost than AGMP 50,
ivent procedure de-
rine led to unsatis-
ment with previous
'ery of the B-O~rne*
content in the sani-
sted with ammoni-
th _Foti et nf. `[3] we
leous ammonia for
dding methanol to
nine and decreased
ration time. J ust 2
te 30~95% of the
thors [13,18,19] we
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sis of plasma me~
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'ying systems were
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r.-vp=¢

 

HPLC-Ei`.\ OF- NORM ETANEPHR!NH -AND METANEFRINE 35

  

sible interferences Since NMN is conveniently oxidized ata potential in the range
+ 250 to ‘l- 730 mV, we used a potential of + 1780 mV to minimize the interference
of synephrine fFig. 6). Furthermore, as shown in Table l. the dual~series electrode
arrangement greatly improves the assay speeif'icity.

lnterferences of antihypertensive agents (/?- or a‘blockers, er-cnethyldopa) on
urinary methoxyamines were reported when these amines were assayed by fluori-
metric or spectrophotornetric methods [21-'-24]. No similar data are available for
plasma methoxyamines. ln our HPLC method1 no interferences were observed
With nine antihyperteusive agents (Tahie I), either because they gave no peak
(adrenergic blockers, captopril1 clonidine) or because the peak was not in the
range of NMN or was totally eliminated by the double working electrode system
(a-methyldopa) (Table l). An interference of acetylsalicylic acid was previously
reported [25,26] in the urinary methoxyamiue assay with the colorimetrie method
ofPisano. In our HP]_,C method, this compound exhibited a very small peak at a
relative retention time of 0.43 versus NMN (Table l). Paraeetamol (aeetami-
nophen), whose interference in the HPI_.C assay of urinary metanephrine has
been previously reported [27], did give a peak in our system but its interference
was not crucial because of the low relative retention time (Table l).

In addition to metanephrines, substantial amounts of the sympathornimetic
amines (synephrine, octopamine and tyramine) are present in human plasma and
urine. Synephrine and octoparnine are thought to be stored in the syrnpathic
nerve endings and are released with nerve discharge and compete with`norepi-
nephrine for postsynaptie‘reecptot‘s [17,26]. Tyramine has both endogenous and
exogenous origins, as a metabolite of_tyrosine or/and as a component_of several
foods (cheese, white wine, bananas, oranges, avocados) [28]. As previously re-
ported [8,29], these three amines are extracted through the Dowex 50 column and
give peaks with electrochemieal detection. In our HPLC method, the retention
times of octoparnine and tyramine are sufficiently different from those of NMN
and MHBA, respectively, to avoid interference The presence of synephrine is
more inconvenient since its peak is very near to that of NM‘N and its amount in
normal subjects is similar to that of NMN. ln our study, great care was taken to
reduce the interference of this amine by using an acid mobile phase (Table l) and

  

 

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Fig_ 6. Voltammegram for (El) authentic NMN, f*) aulh¢n\i'-" SY“¢Phl‘i“'-*- and (.) Pla-'*ma spik‘:d wilh` ` 'i'
e number of` pos-

t synephrine. ' _i:

 

 

 

   

 

is readily oxidized at higher potentials (Fig. 6)_
CC'NCLUSION

We have developed an HP[,C method for the assay of free and total me-
thoxylated amines in plasma. The principal advantages of the method stem from
the high sensitivity and specificity for the substances of interest Plas_ma NMN
and MN assay will be useful for diagnosis in patients with hypertensive patholo-
BY- ‘

ACKNOWLEDGI"‘LM l:`NT

We acknowledge the amiable and skillful assistance of Rose Marie Cottet-
Emard.

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setting the working potential VZ at no more than -1-730 m‘v'1 because synephrine

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Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 51 of 91

EXHIBIT E

 

 

 

Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 52 of 91

Plaama Matanephrinoe in the Diagnoaia of Phoochromocytoma -
Lendora, ot. al 11995}

In this poor-reviewed article published in the Annala of
Intornal Modioine, the authors examined the use of the HPLC
with an olectrodchomical detection system to measure the
normetanephrine and metanephrine metaholite levels in human
plasma to diagnose phaochromocytoma. The authors compared
the normetanephrine and metanephrine levels in patients with
pheochromocytoma to the normetanephrine and metanephrine
levels in groups of patients Who may have higher than normal
stress-induced metanephrine levela, such as patients with
heart failuro, chest pain from angina, and hypertension.

The authors concluded that the HPLC accurately measured
normetanephrine and metanephrine motaholito levels in human
plasma and excluded false positives due to other illnesses
to allow for an accurate, prodicativo diagnosis of
pheochromocytoma loo% of the time.

 

 

 

 

 

Plasrna Metanephrines in the Diagttosis of

Pheochromoeytoma
lacqucs W.M. lenders MD, Phl'_l; Harry R. Keiscr, MD; David S. Goldstein, MD, ltlit);
iacc[ues .l. Willemscn, BS; l"eter l~`ril)erg, MD, FbD; Marie-Cécilc Jacobs. MD;

l’eter W.(_`.. Kloppcnhnt'g, Ml), PhD', Thco Thien, Ml_`), l’ltl_'); and Graeme Hisetthofer, Pitl')

 

 

l Objectr`ve: To examine whether tests for plasma
metanephrines, the o-mothy|ated metabo|ites of cat-
echo|amines, offer advantages for diagnosis of a pheo-
chromocytoma over standard tests for plasma cat-
eeholarnines or urinar~i,,r motanephrines.

l Desr'grn: Cross-sectiona| study.

l .Settr'ng: 3 clinical specialist conters.

l Patr'ents: 52 patients with a pheochromocytoma; 67
normotensive persons and 51 patients with essential
hypertension who provided reference values; and 23
patients with secondary hypertension and 50 patients
with either heart failure or angina pectoris who served
as comparison groups

l Measurements: Plasma concentrations of cat-
echolamlnes (norepinephrine and epinephrine] and
metanephrines (non‘netanephn'ne and metanephrine)
were measured ln all patients. The 24-hour urinary
excretion cf metanephrines was measured in 46 pav
tients with pheochromocytoma '
ll Results: Pheoehromocytomas were associated with
increases in plasma concentrations of metanephrines
that were greater and more consistent than those in
plasma catechclarnine concentrations No patient with

a pheochromocytoma had normal plasma concentra- `

tions of both normetanephrine and metanephrine. The
sensitivity of these tests was 100% (52 of 52 patients
[95% Cl, 94% to 100%]), and the negative predictive
value cf normal plasma concentrations of metaneph-
rlnes was 100% (162 of 152_ patients}. Tests for plasma
catecholamines yielded eight false-negative results
and a sensitivity of 55% (44 of 52 patients [Cl, 72% to
93%]}. The negative predictive value of normal plasma
concentrations of catecho|amines was 95% {156 of 164
patients}. Tests_for urinary metanephrines yielded five

false-negative results anda sensitivity ol‘ 89% (41 of 4E_ -

patients [Gl, 76% to 96%]). Because no statistical
difference was noted in the number of false-positive
results between tests for plasma metanephrines {15%)
and tests for plasma catechclamlnos (15%). the spec-
ificities of the two tests did not differ.

ll Conclusions: Nonna| plasma concentrations of meta-
nephn‘nes exclude the diagnosis of pheochromocytoma,
whereas normal plasma concentrations ct catecho|-

l amines and normal urinary excretion of metanephrines

do not. Tests for plasma metanephrines are more sensi-
tive than tests for plasma catecholamines` or urinary
metanephrines'for the diagnosis of pheochromocytoma
Artrt Inrem Med. 1995;12.3:101-109.

From the National lastitutcs. of Hea|th, Bcthcsda. Maryland; St.
Radboud Univcrsity Hospita|, Nijmegen. the thhcr|ands; and
the University cf Gt'ttcborg. Gt‘.‘»teborg, Swedcn. For current au-
tltor addresses see end of text.

15 .luly 1995 -

 

Pheochromocytoma is a tumor ol` eltrumafl"m cells that
usually presents as hypertensionl The tumorl has potcn»
tially life-threatening consequences if it is not promptly
diagnosed located and removed Evidcnce of excessive
production of catecholamines is essential for diagnosis of
the tumor. Ttaditional tests have relied on measurements
ol" thc 24-hout` urinary exerction ol` catccl'tolamines (rtor-
epinephrine and epinephrine) or of thc products of cate-
c|iolamine metabolism (1-4).

Bccause ot` the common problems of incompleteness
and inconvenience associated with 251-hour urine collec-
tions, clinicians have long sought a diagnostic test based
on sampling of antccubital various blood Measurements
of plasma catecholamines are useful in this respect (4, 5).
triowever, patients with a pheochromocytoma can have
plasma concentrations of catecholamincs that tall within
the range ot` those in patients with essential hypertension
(4, 6) lthat ls, false-negative results). ln addition, emo-
tional distress or pathologic conditions other than priceF
chromocytoma (such as heart failurc) can produce abnor-
mally high catecholamine concentrations ('l, 8) (that is,
false-positive results). Glueagon stimulation and clonidirie
suppression testing can enhance the accuracy of plasma
catecholamine determinations in the diagnosis of pheo-
chromocytoma (9, 10). These tests, however, can still yield
false-negative or false-positive results (9-11); theyr also
require considerable time and effort 'l`ltc search has cort-
tinucd for a single simple, highlyr sensitive and specific
blood test with which to confirm the presence of the
tumor in patients with pheor:hrcmocytomal Ws studied
the diagnostic accuracy of tests for specilic catccholaminc
metabolitcs for this purpose, notably the metanephrincs--
normetanephrine and metanephrine-

An understanding ot why plasma metanephrines may '

be particularly useful for diagnosis of pheochromocytoma
requires an understanding of catccholanu‘ne mctabolism.
Norcpincphrine and epinephrine arc lirst metabolized itt-
trancurcnally by deamination to dihydrorryphenylglycol or
extt'aneuronally by o-methylaticn to the metanephrines
(l?.). Bccausc most dihydrorcyphenylglycol is formed from
norepinephrine leaking from neuronal stores and little is
formed from circulating catecholamines (13, 14), plasma
levels of this metabolite are relatively insensitive to the
release cf catecholamincs into the circulation from a
pheochromocytoma (6, li)..The formation of most me-
tlicxyhydroxyphenylglycol from dihydrorryphenylglycol (14)
and the formation of_ most vanlllylmandelic acid from
methoxyhydroxyphenylglyeol within the liver (16) explains

 

Scc editorial comment nn pp 150_1,

 

 

 

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Variablc 'S_t_tl_cly C`rroup _ _
Norrnotension E`.ssential Secondary Hcart Failure or PheochromoeytonE
llypertr:nsion llypertension Angina Fectoris
i’atients, rr 07 tit 23 50 52
Mcan age t 'SD (range),_y 39 t 12 {21'!-72) 43 1' 13(115-6‘]) 48 '.'.' 14 (20-6‘]) 57 t 11 (34-81) 39 t 13 (11-7-'1)
Male,¢'femali:` rr.in 40/2,7 24/27 14,"9 112/ti ZB;'Z4
Sttldy center (NIl-l/SR/SH). nih/tr 316/film 1/50."0 11'7/15 13,"7!30 411'11)'0

 

* NlH _ N»'\lionai institutes of Hcalllr; SFI = Sahigrens Hospital: Sl't - tit Radboud lJrriversrty Hospital_

why a lest for vanlllylrnandelic acid is also a poorer
marker for pheochromocytoma than other tests (17). In
contrast. preferential metabolisn\ oi' circulating eatechol-
amines compared with ncnronal eatccholanilnes by extra-
neuronal pachways (14) suggests that the metaneph-
rines_as estraneurnnal rrietaboiites_may provide good
markers for release o[ catceholamines front a plieoehrod
mocytor'na. ii`urtherrnore, substantial production of meta-
nephrines within adrenal tissue (18) suggests that meta-
nephrines may he produced within the tumor itselt'.

In humans, metanephrines are extensively sulfate»con~
jugated (18. 19). Assays of metanephrines in urine depend
on measurements after deconjugation to free metaneph-
rines (19) so that measurements represent the sum of free
and conjugated metabolites (total metanephrines). In con-
trast, good sensitivity of the assay for plasma metaneph-
rincs (20) enables measurements of both free and total
metanepltrincs. l

We compared the sensitivity, speeitieity, and positive
and negative predictive values of tests for plasma free and
total metanephrines with those of tests for plasma cat-
eeholamines and urinary total metanephrines. Study par-
ticipants included a relatively large sample of patients
with pheochromocyton'ra, patients Witlt essential hyperten-
sion or secondary hypertension from causes other than
pheochromocytorna, and patients with either heart failure

or angina pectoris in whom .syrnpathetically mediared car- -

eeholamine release would be expected to be increased

.-

afternan

Parients `

Fi.t'ty-two patients with a histologically proven pheochromocy-
toma were studied. Thirty .patients were studied retrospectively,
and 22 were studied before the final diagnosis was made. The
pheochromocytoma was benign in 39 patients and malignant in
13. Sixty-seven healthy, norrnotensive persons and 51 patients
with essential hypertension served as airel'erence group. Blood
samples were obtained from 2_3 patients with secondary hyper-
tension (12 patients with renal` artery srenosis, 2 with kidney
disease, l with Cushirrg disease, 1 with primary hyperaldosteron-
isrrr, and 7 with cyclosporinc-induced hypertension) and from 50
patients with either heart failure cr angina peetoris. The age, ses.
and specialty center where the patients were studied for each of
the five groups are shown in Table l. E.itcept for the few patients
who were being treated with phenoxybenzamine, no patients with
pheochromocytoma had been receiving medlcation for at least 2
weeks at the time of blood sampling. No patients with essential
hypertension had been receiving medication for at least 2 weeks
at the time ol' blood sampling. Medieations taken by the other
patient groups included digoxin, calcium channel blockers, di-
ureties, accrylsalicylie acid, dipyridamo|e, and cycloaporine. Pro»
cedures used in our study were approved by the hospital ethics
committee or intramural research board of each oi` thc three
centers where patients were studied

Blood and Urine Saniples

All patients refrained from ingesting methytxaruhine-contain-
ing food products and from smoking after midnight on the day
before blood sampling. Hlood was collected frorn an indwclling
catheter in an arrtccuhita| vein after the patients had rested
sapinc for 20 minutes in 39 patients with heart failure ann 15
with secondary hypertension. arterial blood was obtained through
an indwelling arm arterial carherer, Blood samples were collected
into precoo|ed tubes containing heparin or EGTA and g|urnthi-
one and were centrifuged within 30 minutes to separate the
plasma. which was stored frozen until assayed All plasma cate-
eholamine and urinary metanephrine assays were done within 2
weeks of sample eolleetion. Seven of the 52 pheochromocytoma
samples were assayed for plasma metanephrines after being
stored at ~~SD “C for rnorc than 2 years (range, 2 to 8 years),
whereas the remaining 45 samples were assayed within 2 years of
collection (22 samples within 4 weeks). ln 46 of the 52 patienm
with pheochromocytoma. a 24-hour urine collection was ob-
tained with 30 m[. of G~M hydrochloric acid used as a preser-
VHflVG‘

Analytic Methods s

Plasma metanephrines were assayed at the National institutes
of Health (Nll-[) using liquid chromatography with clectrochern-
ical detection (2|]). Concentrations of total rnetanephn'ncs {the
suni of concentrations of free and sulfoconjugated metaneph-
rines) were measured after incubation of 0125 mL of plasma with
D.1 units of sulfatase (Sigma Clremical Company, St. Louis, Mis~
souri) at 37 °C i`or 30 minutes 'l`hc detection limits were 0.013
rrmo|f[. for normetanephrine and 0.019 nmolfL for metanephrine.
At a plasma normetanephrine concentration of 0.31 nmol!L and
a metanephrine concentration of 0.21 nmol/L, the interassay
coeiiicients of variation were 12.2% for normetanephrine and
11.2% for metanephrine. As previously reported (20), the pres-
ence of aeetaminophcn in samples of plasma can substantially
interfere with measurements ot` plasma normetanephrine eoncen'
trations. 'I'heret`ore, this analgesic must not be used by patients
for several days before blood samples are collected No analytic
interference of various other drugs with this assay has been
Shewn (20). y

Pla.sma catecholamines were assayed using liquid c|irornatog-
raphy, Electrochemical detection was used for quantiiication at
the NIH (21}, and fiuorometric detection was used at St. Rad~
hood Uuiversity l-inspital, Nijrncgen, the Netherlands (22}. At
the NTI-I, the detection limits were D.CIDE nmolfl_. t`or norepineph~
rine and 0.010 nmoUL for epinephrine. At a plasma norepineph-
rine concentration of 214 nmol!‘i. and art epinephrine concentra-
tion of 0.39 nmol!I.. the interassay coe|i'icients of variation were
tij% for norepinephrine and 11.4% for epinephrine. At St. Rad-
bond Uoiversity Hespita|, the detection limits for norepinephrine
and epinephrine were 0.002 nmo|/L and 0.003 nmol/L, rcspee~
tii'¢li'- Al Pli'$ma mn¢¢rltratiuns of 1.02 nmolf[. for norepineph-
rine and 0.15 nmo|.lL for ».-.pincphn'nel interassay coeiiicients of
variation were 8.5% lot norepinephrine and 7.2% t'or epineph-
nne.

Llrinary concentrations of metanephrines were measured ac-
cording to a previously described method (23); the upper refer-
ence limit of the normal range for the 211-hour urinary output of
mctanephrines was 6.8 p.mo|/d.

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Diiltt Attttlysis

Beeatisc plasma concentrations of catccholamines and meta-
nephrinea were not normally distributed only medians lttntl ranges
are presented for these concentrations Dili°erenccs in plasma
¢erteentrations of metanephrines and cnteeholatnines among pa-
tients Wlth pheochromocytoma and other groups were tested
using the Kruslta|-Wailis test. We assessed relations among vari-
ables using the Spearman rank correlation eoethcient,

Normal distributions of plasma concentrations of eatechol-
smincs and metanephrincs were obtained after |ogarithmic tracts-
fortnation of the data. Thus, upper reference limits. deiined as
the ‘JT..'Sth percentiie, were determined after logarithmic trans-
fot'i‘nttthrt of individual values for tire combined data |'rrirn nor-
motensive persons and those with essential hypertension {l]ii
persotts_). The 97.5tlt percenti|cs were calculated l`rom the anti-
|ogarithrn of the mean plus 2 standard deviations of the trans-
formed data. A false-negative result of a test for plasma meta-
nephrincs in a patient with pheochromocytoma was defined as
plasma concentrations of both norntetanephrines and metaneph-
rines that were below their respective upper reference limits.
.'iiintilarlyr a false~negative result of a test t'or`plasma catcchold
amines was defined as plasma concentrations of norcpinephrines
and epinephrincs that were below their respective upper refer-
ence limits. A false-positive result ot' a test For plasma metaneph-
rines in patients without pheochromocytoma was inclined as a
plasma concentration of either normetanephrine or metaneph-
rine that was equal to or above the upper reference limits.
Similarly, a false-positive result of a test for plasma catechol-
amines was defined as a plasma concentration of either norepi~
ncphrine or epinephrine that was equal to or greater than the
upper reference limits. We calculated the sensitivity and speci-

neity (witit asst cts), pretet.t and pest-test probabilities -tnti`

positive and negative predictive values for each analyte (24).
Diiferences in tumor-associated elevations in plasma eatecltol-
amine concentrations and free and total metanephrine concen-
trations were assessed from the fold-increases in plasma concen-
trations of compounds in patients with pheochromocytoma that
were greater than median values in the normotension and essen-
tial hypertension reference group. We computed mean t SE
fold-increases after logaritltmic transformation ot` individual fold-

increases We estimated differences among fold-increases by s

analysis of variance; post hoc tests were done with the Seheife
F-tcst_

Reeeiver-operating characteristic curves were constructed from
the relation between the rates of true-positive and false-positive
results (that is, sensitivity compared with I minus the specificity)
for diagnosis of pheochromocytoma that are based on diiferent
upper reference limits for each analyte (25}. These curves cn-
abled us to compare the sensitivity and specificity of tests for
plasma metanephrines for diagnosing pheochromocytoma with
those ot tests for plasma catecholarnincs. as a function of differ-
ent upper reference limits for each analyte. 'I`hc areas under the
receiver-operating characteristic curves for plasma catechol-
amines and metanephrine-a were calculated as summary measures
of the diagnostic power that were independent of upper refer-
ence limits We calculated the difference between the two areas
and tested them according to the method of I-laniey and McNeil
(26). ‘

Results

Plasma Concenti'ations of Catet:holamines and Free and
'l`otal Mctanephrincs

"'Plasma concentrations of free nomtetanephtine and
metanephrine in the nortnotcnsion and hypertension ref-
erence groups__wer_e not nunnally distributed until the
data were logarithmically transformed (Figurc 1). Ranges

of plasma concentrations of normetanephrine and meta- '

nephn`ne were wider and the values were considerably
higher (F»‘: tl.l)l)l) in patients with pheochromocytoma
than in any other patient group ('I'ahie 2).

[rt each lgroup, plasma concentrations of total meta-

 

 

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Figure 1. The distributions fur plasma concentrations of free

normetanephrine (top) and metanephrine (iio¢‘¢‘em) are logarlth-
mic transformatiuns of t|te observed data. The upper reference

|irnits, determined from the mean plus 2 standard deviations for`

the combined data from nom-intensive (NT) patients [n = 67)
and those with essential hypertension (F_.`HT) (n = $l) are shown
by the dashed horizontal lines. CARD= patients with heart
failure or angina pectoris in == 50); PI-IEG t== patients with pheo-
chromocytoma (n = 52); SHT= patients with secondary hyper-
tension (n = 23). ' -

nephrines were much higher than concentrations of free
metanephrinca; only a small proportion (-e'!%) of the
normetanephrine or metanephrine in plasma was in tbc
free form (Tahle 2). Lilte the free metanephrines, ranges
of plasma concentrations of total metanephrines were
much wider and the values much higher (P-=i 0`001) in
patients with pheochromocytoma than in any other pa-
tient group. Similatly,t ranges of plasma concentrations of
norepinephrine and epinephrine were wider in patients
with pheochromocytoma than in other groups1 but only
norepinephrine concentrations Werc consistently higher
(P=: U.Ddl) in patients with pheochromocytoma than in
other groups.

Accurar:y of Tests for l?lasrna Metanepltrines

The upper reference limits were O.titi nmoUL for plasma
normetanephrine and 0.30 nmoUL for metanephrine.
Only 1 ot' the 52 patients with pheochromocytoma had a
plasma concentration of normetanephrine within thc nor-
mal range (Figure 2,\ top). that is, a false-negative result.

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Tnh|c 2.1‘lnsnin Concentrutions of Cnteel\nl.'tntines and i'vlctnnephrines*l

 

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Vnriable _ _ Study Group :.

Norntotension Essential Seeondary Heart Failure or Pheochromocytnma `f’

1 [n = 67) Hypertension lly'pertensinn Angina Peetoris (n = 52) 5
j (a m 511 (a = 23) (n = 501 t
. 1 1 - t ‘ __-»_ 3
i N‘omietan¢phnne, mast/t 1121 (o.os-o.‘m) cas (0.111_0.73) caston-1241 n,ss (0.14 -22.47) sss (o.ts~r)z) §

Metanephrine, nmo(/I.

Total metanephrine7 rinzni/L
Norepinephrine, nnto!/L
E.pinephriner nme-UL

0.15 (0.114-0.34) 0_14 (o_os-n.ss)
Totnl normetanephrine. nmol/l, 630 (2.90-24.‘7) 955 {2.‘]0-»16.50)
3.|.|'3 (1.15-6.46] 193 (U.B¢$ -10.90}
1.15 (0.42-3.33) 133 (0.¢11»-3.53)
0.09 (0.01-0.36} 0.16 (0.02-0.55)

1122 (n.us~.o_s 1)
15.16 (4.10-332)
5_03 (2,42-126)
1.9s (0_29-4511)
csa (0.114_2.¢.1;11

u.zt (n.ns-oss)
13.?1 (s.zt_sis)
ass (n.ss~ss.s)
tsc (0.17-16.21
`0.34(11.04 _1_43)

1147 (0.04_332)
sss (14_5-1634)

7.50(1.94_.1211)
11_11' (c.st)-tssn;i

0.23 {0.03»11111

 

' Vtt|ues are expressed as the median frange}_

However, this patient (patient 42; '1"able 3) also had an
elevated plasma metanephrine coneentratiort. Thus, when
both ntelabn|ites were considered in the diagnosis rather
than plasma normetanephrine alonc, the number of false-

1000 97.5%i
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P|asma Normetanephrine
[nrriolr'L]l

 

.1 1 to too 1000 1oooo
Plasma Norepinephrine romano

Piasrna Metanephrine
in rrvo|.-"L}

 

.O`l .1 _l 10 100 1000 10000

Plasrna Epinephrine romano

li`igure 2. Relntiun between plasma concentrations ot` normeta-
nephrine and norepinephrine (rop] and between those of meta-
nephrine and epinephrine (tnmnm} in individual patients with
pheochromocytoma (G] and in patlents without pheochromocy-
toma-but_wlth false-positive normetanephrine or norepinephrine
test results (l). The dashed_lines represent the upper reference
limits for normetanephrine or metanephrine concentrations (hor-
tennth liner) and norepinephrine or epinephrine concentrations
(vern'c¢rt toies), and the gray square bounded by these lines rep-
resents the normal reference range for concentrations of meta-
nephrines and cateehnlamines.

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negative results was reduced from 1 to 0, yielding a sen-
sitivity and negative predictive value oF 100% (T able 4)."`
In 29 of the 191 patients (15%) without pheochromocy-
tnma, a test for plasma normetanephrine or metanephrine
yielded a false-positive result [Figure 2). S`ut of these 29
false-positive results were obtained in patients with renal
artery stenosis or renal iaiiure, and 16 were obtained in
patients with heart failure.

Accuracy of Tcsts for Plastna Catecltolernines

The upper reference limits were 3.00 nmol/L for ner-
epincphrine and 0.54 nntoUL for epinephrine. fn contrast
to the one patient with pheochromocytoma and a false-
negatiye result of the plasma normetanephrine test. 10
patients had false-negative plasma norepinephrine test re-
sults [Figure 21 top). Of these 10 patients, 2 bad elevated
plasma epinephrine concentrations (patients 32 and 34;
Taole 3); thus, the number of false-negative results was
reduced from 10 to 8 thrt the diagnosis was based on
plasma concentrations of both norepinephrine'and epi-
nephrine rather than on norepinephrine concentrations
alone.'This resulted in a sensitivity of BS% (Table 4).
Tests of plasma catecholemines yielded false-positive re-
sults in 35 (18%) of the 191 patients without pheochro-
mocytoma (Figure 2). ln 19 of these 35 patients, results of
tests for plasma metanephrines were also false-positivel
Seven of these 35 false-positive results were obtained in
patients with renal artery stenosis or renal failure, and 21
were obtained in patients with heart failure.

taecuracsr of Tests for Urinary Metancphrines

Twenty-four-hour urine specimens were obtained from
46 of the 52 patients with pheochromocytoma and were
not obtained from patients in anj.r other group The mc-
dian urinary excretion rate of metanephrines in these
patients was 24.?. ,u.moi/d {range, 2_1 to 242 pntoijd). Use
of an upper reference limit of 6.8 nmob'd for the urinary
excretion of metanephrines in normotensive persons (23)
yielded false-negative results in 5 of the 46 patients and a
sensitivity of 89% (95_% Cl', 76% to 96%); all 5 patients
had increased plasma concentrations of metanephrines.
but only 3 had increased plasma concentrations of cat-
echolarnines. Creatinine excretion among the 5 patients

_ with normal urinary excretion of metanephrine was within

the normal range (1 to 2.5 gfd). Use of an upper refer-
ence limit of 9.5 pmol/d in hypertensive patients (4)

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'l'nble 3. Nenror'ltcrnic:tl Cltaructcristics ol` 11 l’ulients with Fheocltromucy'tot'nn and Nnrrna| (l*`alse-Negative) Plnsma
Cnncctttt‘ntions ol' Norcpinephrine or Normetancphrine

 

 

 

 

 

Patient C.linical Syndronte C`ateeho|amines ___ Metane hrines
Epinephrine Epinephrine Nortnetanephrine Metttncphrine
t ttrrto!/L ‘_-“_-_»-_s

14 Sporadic 2130 020 1.03* l't_?_S

21 Spttratlt`c 2.90 0.36 3.39*1' 1.13"1'

27 bporadic 0.69 0.53 1.93'”[ 9.37“1'

32 Sporadie 2.93 0.93" 4133*‘1 2.31"1'

30 Spotadic 1.73 1.26* 17.1'§"1' 16.52*1'

33 Spttrttdt`c 2.42 D.l'i 9.44*1' 0.21

02 t'_ius|ting 4.21"‘ 1.61* 0.48 0,55 "

43 von Hippel-l.indau 2.1]8 0.03 1.69* D.Clti

48 Mu|tip|e cndoerine ncoplasit-t 183 0.21 -1.10*T l.ctl.l*T

49 Multiple endocrine nenplasia 1.'74 0.32 1.2£* 3_135*1“

50 Von Hippct--Littdatt 143 0.04 1.71* 1118

Upper reference limit 3.|]0 0.54 D.tit‘i 1130

 

' Dcnotes a concentration above the n ‘r reference lintits.
PP‘~

t Denott-.s a concentration more than threefold above t|nr upper reference limits.

yielded 10 false-negative results and a sensitivity of 78%
(Cl. 64% to 39%).

Accuracy of Tests for Plnsme Metanephrines Con'tpared
with Tcsts for Catccholamines

Tttrnor-associated elevations in plasma normetaneph-
rine concentrations were 153% greater than those in
plasma norepinephrine and 64% greater than those in
plasma concentrations of total normetanephrine (Figure
3, top). Tutttor-associated elevations in plasma metaneph-
rine concentrations were 70% greater than those in epi-
nephrine concentrations but did not diEer from those in
total metanephrine concentrations (Figure 3, borrom). ln-
ereases in plasma concentrations of total normetaneph-
rine were 54% greater than increases in plasma concen-
trations of norepinephrine1 whereas increases in total
metanephrine concentrations were 45% greater than in-
creases in epinephrine concentrations

Amnng the 11 patients with pheochromocytoma and
equivocal results of tests for nonnetanephtine or norepi-
nephrine (Table 3), 17 positive results were obtained for
tests for metanephrines (normetanephrine, 10 results;
metanephrine, 7 results); only 4 positive results were ob-
tained`t‘or tests for catecholamines (nnrepinephrine, 1
result; epinephrinel 3 results). ln 7 of these 11 patients,
plasma normetanephrine or metanephrine concentrations

Tab|e 4. Characteristics of Tests for P|asrtta Metanepltrines and Catecholnrnines

were elevated more than three times the upper reference
limits for metanephrines; no patients had elevations in
plasma norepinephrine or epinephrine concentrations
greater than three times the respective upper reference
limits.

Receiver-operating characteristic curves, which show
the relation between rates of true-positive and false-pos-
itive results et different decision thresholds (that is, at
different upper reference limits of plasma concentrations
of metanephrines and cateeholamines), confirmed the su-
periority of tests for plasma ntetanephrincs over tests for
plasma catecholamincs for the diagnosis ot" pheochromo-
cytoma, regardless of the reference limits used to define
an abnormal test result (Figurc 4, tnp). The area under '
the curve for plasma metanephrines (0.977 t 0.015) was
greater than`that for plasma catecholarnines (0.917 1'
0.027) (P = 0.03).

._ The relation between pretcst and post-test probabili-
ties_cstintated front the sensitivity and specificity values
listed in Table 4-_show that as the prevalence rate (that
is, the pretcst probabilities) increases, the post-test prob-
abilities similarly increase for diagnoses that are based on
plasma concentrations of metanephrines and catechol-
arnines (Figurc 4, bottom), The negative predictive value`_
of tests for plasma metanephrines for the diagnosis of
pheochromocytoma remained constant at 100% for all
prevalence rates, whereas the negative predictive value of

 

 

 

 

 

Variabie Sensitivity SpeciFtcity l-’ositive Negative
(El:t'% §Zt) (95% CI) Predictive Value I’retlictive Value
' -_ % (rrfrz) :.-
Merrn¢phrtnes* 100 (52152) (94 re 1001 35(162/191)(7910 901 64 (sz.tst) 100(162/162)
Total metaneplgines 98 (42/43) 188 to 100) 82 (1 121137) (74 too 88) _ 63'(42}67) 99 (112!113)
Cetccho|arrtines 35 (44/§2) [72 to 93] 82 (1515}191} (75 to E'f) " 56 (4-4,'79) 95 (156/154]

 

‘ “Metanephrines" refers to free normetanephrine and metanephrine. "Total metanephrines” refers to su|foeoniugttted and free normetanephrine and
metanephrine. Tlte sensitivity of (toral) metanephrine-s t`or diagnosis nt' phenchromoeytnmn was ea|wlated front patients with both 11 false.n¢gar_»jv¢ plasma
(totat} normetanephrine test result end a false-negative (tntal) metanephrine test result The sensitivity of eateeholsmines was calculated from patterns with

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Figure 3. lillf`erences among fold-increases in plasma concentra-
tions oflnorepinephrine (,ME'J, normetanephrine WMV), and rq.
tai normetanephrine (top) and diil’erences among t'o|d-lnereases
in plasma epinephrine [_EPI], metanephrine (MN), and total
metanephrine ibortom) i.n patients with pheochromocytoma
Fold-increascs were estimated from ratios of plasma concentra-

` tions of caclt compound in patients with pheochromocytoma to

the respective median'value for each compound in the reference
group. Rcsu|ts represent mean i.'SE values determined from
logarithmicaliy transformed values. "‘ = significant difference
(F <: U.DS).

tests for plasma catechoiamines decreased with increasing
prevalence rates. t

fn terms of positive and negative predictive values,
measurement of plasma concentrations of total normeta~
nephrine and metanephrine provided no advantage over
measuriment of free metanephrine concentrations (Tablc
4). However, measurements of plasma concentrations of
total mctanephn'nes provided greater sensitivity for the
diagnosis of pheochromocytoma than measurements ot'
plasma concentrations of catechoiamines

l'ntient and "l`t_nnor t_Tltaracteristics itt Reiatiori to
Nettroehetnical indices

Fonr patients with pheochromocytoma had von Hippnl._
Lindau discase, and six had multiple endocrinc ncoplasia_
Two of the patients with von Hippel-Lindatt disease had
normal plasma concentrations of catechoiamines but eie~
vated plasma normetanephrine concentrations (patientg
43 and 50,' Tahle 3). Orte of these patients was asytnp-
totnatic; initial testing was done after an adrenal mass was
noted during computed tomography for an unrelated con~
dition. In this patient__ an` elevated plasma normetaneph_
rine concentration provided the only other indication t`or
a tumor; results of all other neurochetnical tests (those
t`or plasma catechoiamines urinary mctanephrinesJ clonidine
suppression1 and glucagon stimulation) were negative Be~
cause ol` these negative results and for personal reasons;'-
tire patient did not have surgery until ll months later. At
this tinie, she becante symptomatic and had elevated
plasma concentrations of catecholaniines and urinary
metanephrines in addition to consistently elevated plasma
concentrations of mctanephrines. All patients with multi-
ple endocrinc neoplasia were symptomatic, but two had
normal plasma concentrations of catechoiamines (paticnts
48 and 49; Table 3). Both these patients ltad grossly
elevated plasma concentrations of metanephrines.

In only one patient (patient 42; Table 3) did plasma
concentrations of metanephrines provide a turner marker
that was inferior to that provided by plasma catechoi-
amine concentrations This patient was unusual, present»
ing with Cuslting disease secondary to an adrenocottico-
tropin-sccreting pheochromocytoman

Thirty-two pheochromocytomas were located in tlte ad~
renal glands, and 19 were located at extra-adrenal sites_
Patients with the adrenal tumors had higher plasma con-
centrations of metanephrine than patients with extra»acl-
renal rumors (O.til nmol/L compared with 0.27 nmol/L;
P = 0.03). dimilarly, plasma concentrations of epinephrine
were higher in patients with adrenai rumors than in those
with extra-adrenal tumors (0.34 nmol/L compared with
0_14 nmolfl.; P'= 0.01). in contrast, plasma concentra-
tions of norepinephrine were higher in patients with ex-
tra-adrenal tumors than in those with adrenal rumors
(22.3 nmol/L compared with 8.40 nmolt'L; P= 0.0(]9).
P'lasma nonnetanepbrine concentrations did not dilfer
among patients with adrcnal and extra‘adrenal tumors
(5.83 nmolf]l_. compared with 144 nmole; P = 0.30).

Wc found strong positive relations between the size of
the turner and plasma concentrations of normetanephrine
(r= 0.61; P-s: i).l]t`li.), plasma concentrations of metaneph-
rine (r= 0.45; P = 0.007), and urinary excretion of meta-
neph.rines (r = 0.64; !’ ~'S 0.001). No association was seen
between tumor size and plasma concentrations of norepi-
nephrine (r = 0.12; P = 0.48) or epinephrine (r = 0.14;
P =' 0.42).

Dis'cussion

Because a pheochromocytoma secretes catechoiamines
directly into the circulation, any of several means to de-
tect the tumor by assays of plasma or urinary cat-
echoiamines and their mctabolites should theoretically
prove adequate However, the occurrence of false-nega-

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O.Cl O.E 0.4 Cl.l3 O.B l .Cl

False positive Rate

 

Posttest probability of
a pheochromocytoma

 

 

 

 

D.O O.E 0.4 O.E D.B l .O

Pretest probability of
a pheochromocytoma

Figure 4. Rr:ceiver-operating characteristic curves (t'op) and the
relation between pretest probability {tlmt is, prevalence) and
post*test probability (ba:‘l'om). Rcceiver-operating characteristic
curves show the relative changes in rates of true-positive and
false-positive results for thc diagnosis of pheochromocytoma as s
function of different upper reference limits for plasma metaneph-
rines (C>) and catechoiamines ('I). Curves were constructed from
estimates of the tme-positive.-(sensitivity) and false-positive (1 -
specificity) rates obtained using upper reference limits deter-
mined [rom the mean plus 1, 1.5, Z.tl, 2.5, 3.0, or 3.5 SDs. The
different upper reference limits {ntnoUL) for plasma catechol»
antines and metanep|:rines are tabulated below:

t'_`ateeholamines Melunephrines

Norcpineph- .. Lipineph- ' Nurmeianeph- Metaneph-
-rme rine -rlne -nne t
[.l] SD l.‘J'_`\ 0.24 0.43 oil
l.§ Sl:l' 3.¢|1 0¢36 0.53 O.l‘i
2.|] $l'.`l 100 ll..id 0.66 0.30
25 SD 3.'.'\'5 1179 O.Bd 0.37
3.[] 30 Il-,ti|§ 1.13 1.05 U_44
35 SD

"" 'IE$ l.‘lti 131 0.54

The relation-between protest probability (that is, prevalence-j and
post-test probability shows the effect ot prevalence ot` pheochro-
mocytoma ot\ positive (_upper curve.r) and negative (ian»'er curv¢.r]
predictive values for given test results ot plasma metanepl\rines
(o) and plasma cateclto|amines (l)_

 

live results_normal values in patients Witlt the tumor_
hesets most methods l`ot diagnosing pheochromocytoma
In particularll reported sensitivities of tests for plasma
catecholamines have ranged from 67% to 94% (11). In
our study, 8 of 52 patients with pheochromocytoma had
normal ].‘)lasma concentrations of catecholarninesJ but all
had elevated concentrations of plasma metanephrines_
This finding indicates that tests for the latter are more
sensitive for diagnosis of the tumor than tests for plasma
catechoiaminesl

liecal.\se no test can be completely sensitive, one may
ask what our findings ot' l()l)% sensitivity and lt)t)% neg-
ative predictive value for tests for plasma metanephrines
actually mean and in which clinical settings they would
apply. In our study, lOO% sensitivity resulted from the
consideration of normotensive persons and those with
essential hypertension as a single reference gt'oup_ When
We considered only persons with essential hypertension as
the reference group, one false-negative result occurred,
and thc sensitivity decreased to QB% (CI, 9[`}% to ll](`l%)_
liowevet'. as shown by the receiver-operating characteris'
tie curves, thc sensitivity of tests for nietancplirines for
the diagnosis of pheochromocytoma remained higher than
that of tests for catechoiamincs, regardless of changes i.n
the upper reference linu‘ts. lior a disease such as pheo-
chromocytoma, in which a missed diagnosis could have
life-threatening consequences for a patient, the diagnostic
test should exclude false-negative results as etliciently as
possiblel The results show that measurements of plasma
concentrations of metanephrincs provide a method of
excluding thc presence of a tumor that is superior to
measurements of plasma catecho|amines_

_A]though pheochromocytoma may be excluded by nor-
mal plasma concentrations of metanephrincs; an ahnor»
mal test result does not always positively conlirtn the
presence ot' a .turrtor. Wc found elevated plasma concen-
trations of metanephrines in a few patients with second-
ary hypertension or cardiac failure Elevated concentra-
tions of total metanephrincs have also been reported in
patients with renal failure (27). When plasma concentra-
tions of metanephrines are increased in the presence of
either heart failure or kidney discase, additional diagnos-
tic techniqucs, including imaging studies, arc ner:t:ssar;,tl

Positivc and negative predictive values depend on the
prevalence or pretest probability of a disease The pre-
dictch values reported here correspond to a 21% preva-
lence rate of pheochromocytoma_a much higher rate
than that itt the overall population of patients with hy-
pertension and probably higher than the rate in the hy-
pertensive\patients referred to most specialist centers.
'l'lie negative predictive value ot normal plasma concen»
trations ol"roetanephrincs was superior to that of normal
plasma catecholamines regardless of prevalence rates
(Figure 3,\t)otrom). a disparity that increased with increas-
ing prevalencc. Even at the highest prevalence rates, nor-
mal plasma concentrations of metanephrincs almost ex-
clude diagnosis of pheochromocytoma This means that
in a general practice setting or in patients in whom pheo-
chromocytoma is strongly suspected (for cxample, patients
at a referral center who have hypertension, headache, and
adrenal mass}, normal plasma concentrations of meta-
nepht'ines may exclude the diagnosis ot pheochromocy-

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toma, whereas normal plasma concentrations ol` cat-
echoiamines may not.

The additional sensitivity that tests for plasma meta-
nepht'incs provide over tests for catechoiamines for the
detection of a pheochromocytoma may be particularly
relevant for persons at increased risk for the tumor be-
cause o[ a family historyr of multiple endocrinc neoplasia
or von Hippel-Lindau disease. This is shown by the two
patients with multiple endocrinc neoplasia and the two
patients with von liippe|-Lindau disease in whom plasma
concentrations ol` metanephrines, not catechoiamines,
provided evidence l`or a tumor. In one of the latter pa-
tients, elevated plasma concentrations of metanephrines
provided the initial diagnosis 11 months before any pre-
senting symptom. Although this finding is promising the
helpfulness ol` plasma concentrations of metanephrines in
screening asymptomatic persons with hcreditary endocrinc
syndromes remains to be established by studies with
larger samples of such patients.

A limitation ot` our study is the lack of a reference
group of patients with a panic disorder syndrome; a di-
agnosis of pheochromocytoma in these patients must
sometimes be excluded (28). Streas-induced elevations oi
plasma catechoiamines in these patients may present a
diagnostic challenge Becausc mild mental stress causes
little change in plasma concentrations of rnetanephrines
despite significant increases in plasma catechoiamine con~
centrations (JB), measurements ol` plasma concentrations
of mctancphrines may be particularly useful for excluding
pheochromocytoma in patients with a panic disorder.

Greater and more consistent tumor-associated increases
in plasma concentrations of metanephrines than in cate-
cholamine concentrations explain the better sensitivity of
the test for the t`omier for‘diagnosing pheochromocytoma
intravenous infusion of catechoiamines results in in-
creases in plasma concentrations of metanephrincs that
are less titan ti% of those of the precursor amines (lti).
Thus, ntetabolism of catechoiamines after they are re-
leased by a tumor into the circulation is not responsible
f`or the greater and niorc consistent increases in plasma
concentrations of metanephrincs compared with those in
catechoiamine concentrations in patients with a pheochro-
mocytoma. The production of 90% of plasma metaneph-
rine and as much as 40% of plasma normetanephrine
from metabolism of catechoiamines within the adrenal
glands (18, 29) suggests that metanephrines are produced
within the tumor'itselt'. This conclusion is supported by
observations of high tumor-tissue concentrations of meta-
nephrines {30, 31) and high plasma normetanephrine con-
centrations in the venous ei’liuent of pheochromocytomas
(32). The conclusion is also supported by our findings
reported here and elsewhere (33) that tumor size is a
determinant of metabolitc production but not of catechoi-
amine release. Thus, even when pheochromocytomas are
quiescent and are not releasing catechoiamines1 they ap-
pear to be actively metabolizing catechoiamines to meta-
nephrines.

Our_ results confirm the high sensitivity and speciiicity
of tests for plasma total mccanephn'nes for the diagnosis
of pheochromocytoma that has been shown previously
(34); however, only concentrations of total metanephrincs
were considered in that study. We found that measure-
ment of total (unconjugated and conjugated) metaneph-

rines had no advantage over measurement of free (tin_
conjugatcd) metanephrines. Rather, the presence ot' a
tumor causes relatively larger increases in free normeta-
nephrine concentrations titan in total normetanephrine
concentrations. It is the free, not the cenjugated, meta-

. nephi‘incs that are produced within chromad’m tissue (un-

published obscwations). Thus, although plasma concen-
trations of total mctanepht'ines are technically easier to
measure than plasma concentrations ol' free metaneph-
i'incs, the latter yield superior results.

Consistent with lindings in previous studies (2, ll),
measurement ot` urinary metanephrines yielded false-neg-
ative results in a iew patients. Wlty would a test for
urinary metanephrincs bc less sensitive than a test t`or
plasma concentrations of tltc same eompounds? Une ex~
planation is that a small percentage of patients in any-
large-scale study would be expected to provide art incom-
plete urine collection; this would yield false-negative re-
sults. llowever. the normal creatinine excretion in the
patients with false~negative results of tests l`or urinary
metaneplirines rules out this explanation Another possi~
ble explanation is that the assay technique used (23) is a
colorimetric method An assay for urinary metanephrines
that uses the high-perfonnanee liquid chromatography
technique might be superior to the colorimetric tech-
nique. 1-'-`inally1 individual dili`erenees in the renal conver-
sion of metanephrines to methoxyhydroxyphenylglycol and
vanillylmandelic acid might be responsible t'or some of the
false-negative results.

Plasma catecholatnines were assayed at two ccnters,
whereas plasma metanephrines were assayed at one cen-
ter. The involvement ot' different laboratories in our study
could have resulted in wider distributions and higher up-
per reference limits for plasma catechoiamines than might
have been obtained had measurements been done in one
laboratoryl This in turn could have resulted in more false-
negative results for plasma catechoiamines determined in
two laboratories than would have occurred in one. How-
ever, separate analysis of the data for the two centers
indicated a 14.6% rate of false-negative results for cat-
echoiamines assayed at St. Radboud Univcrsity Hospital
compared with 18.2% for those assayed at NIH. in addi-
tion, the reference limits of 3.0[] nmol/L for norepineph-
rine and 0.54 nmoUL for epinephrine obtained in our
study were substantially lower than those of other studies
(4, 45, 10). Because many of the patients with equivocal
catechoiamine test results had plasma concentrations of
catechoiamines well below the upper reference limits, a
substantial reduction in these limits would be required to
inFluence the results.

In eonclusion, normal plasma concentrations of meta-
nephrincs exclude a diagnosis of pheochromocytoma and
normal plasma catechoiamines or urinary rnetanephrines
do not. Tcsts for plasma metanephrincs are more sensi-
tive than tests for plasma catechoiamines or urinary meta-
nephrines for the diagnosis of pheochromocytoma

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EXHIBIT F

 

 

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EXHIBIT G

 

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Extractive Acylation end Maec Spectrmetric needy of 3-
Methoxytyramine, Ncrmetancphrine, and Metenephrine in Cere-
broeninal Fluid (lQBEl

In thin peer-reviewed article in the Journal of Analyticel
Bicchemietry, the authors etudied the use of the MS
detection cyctem when coupled with gee chrometography to
detect and measure normetanephrine end metanephrine in
cerebroepinel fluid.3 The authors concluded that GC-MS was
an accurate end reliable menna of detecting and measuring
normetanephrine and metanephrine levels and excluding other
eimiler compoundc in cerehroepinel fluid.

   

 

3Gae chromatogrephy in the came an liquid chromatography
_except that it converts the sample into ita gee form rather than
itc liquid form.

 

 

ANALv'rtt:aL atoct-tEMtsTttv 149, 492-500 (1985)

Extractlve Acylation and Moss Spectrometric Assay
of 3-Methoxytyramine, Normetenephrlne. and
Metanephrine in Cerehroepinal l:|ui<:l1

Ot.os Bect<2 At~tr) KYM F. FAut_L

Pngarow ,»lunlyrienl Neuroehcmit'al Fttciiity. Nanc_v Pritzltcr thorntery ofileheviornl Netrrot'ltemt`stry. D.rpartme,p n
of_!-’syehr'nrry nmi Bclmvioml .Seienees. Stan_,ford Univcrrity o'elrcol ofMeclit'ine, .S`tan_l"orn', Celi[nrrria 943()5 "

R.cceived March 13, 1985

‘l'he chemical analysis ol' J-methosy-tyramine, normetanephrine. and metanephrine in tissues.
blood, and eerebrospinal fluid is complicated llay the low levels in which they occur and the
amphoteric nature ol` the functional groups, which hampets their isolation l`ron't aqueous media,
ln the present report. we describe a practical and simple method lor the routine isolation and
derivatization ol` J-mctl'toxytyramine, normetanephrine. and metanephrine in high yield l`rom
aqueous samples like cerebrospinal lluid. The metaholitts are simultaneously derivatized with
pcntalluoropropionic anhydride and extracted into art organic solventl Al’tt:r further treatment
with pentafluoropropionie anhydride under arthride Cm‘\difi€m$. thc Stllel=$ are ready l‘Dl'
GC/MS analysis. The method is able to exploit the theoretical maxima| sensitivity available in
the electron capture negative-ion chemical ionization mode without any apparent losses during
extraction and derivatization, giving limits ol" detection in the low picogram range. Mean levels
ol` l`rct: l-methoaytyramine. normt:tstttt:l;»hrine1 and metanephrine in human cerchrospinal fluid
were 3,17, 5.20, and C|.¢tt`.l pmol/ml, Assay ol' pools ot' squirrel monkey, human, and maine ce-
rebrnr,pinal fluid with and without previous enzymatic hydrolysis demonstrated that the three
metabolites occur predominantly in a conjugated l`orm. o was aesdemte.t\rm ina

K_t-:v Wottos: gas ehromatography~mass spectrometry; catecholamine metabo|ites; neuro-
chemistry.

sul_)jectsl One commonly adopted approach to
this problem is to measure the concentrations

A recent goal of analytical neurochcmistry
has been to develop methods l`or assessing the

functional activity ol`l.hc biogcnic amine ncu-
rotrartsmitters in the central nervous system
(Cl'~l$)3 ol` experimental animals and human

' Work supported by grants to laelt D. Barchas. M.D.
from the Scottish R.itc Schi:ro_phrenio Restsarch Frogram.
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{AA 05972], and the National institute ol` Mem.al Health
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mentary Travel Grant to Olol' Beclt_

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aka lnstitute, 5-[04 Cll Stockholm. Swedert.

3 Abbreviat.ions used: CNS. central nervous system; CSF,
cctchrospirtal lluid: COMT. camehOl-O-m€¥hl'llm“$l'¢r*$¢;
BMT, B-methoit`ytyramine; NMN, normetanephrine MN,
metanephrine: MAO. monoaminc oxidasc; ECNCl, elec-
tron capture negative»ien chemical ionizatict\; PC|* PGS-
itive-ion chemical ionization: El. electron impaet; PFP,
pentafluoropropionyl; PFPA. pentalluropropionic anhy-
dride; JMT-IHr, J-mel.hotty[n.n,d,d-’H.,]ty-ramine-HCI.

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of the biogenie amine mctabolites in tissues
and body fluids like cerehrospinal fluid (CSF),
plasma, and urine, and to use these measure-
ments as indices of _CNS amine activity. The
justilication‘ for thisapproach stems i'ro`rn th¢
knowledge that thc metaholites are formed
i`rom neurotransmitter which is released from
nerve temtinals following electrical sanitation
ol`thc nerve l'lbcr.

One pathway ol` metal;)olic inactivation til
the catecholantine ncurotransmitters dopa-

__minc (I, Fig. 1), norepinephrine {IV), and cpl'

nephrine {VIII) involves U-methylation by
catechol-O-mcthyltransferasc (CC)MT). Th¢ -.
products, 3-methoxytyramine-(3MT, II), nor- `
metanephrine (NMN, V) and metanephrinf=
lMN, IX) rcspcctively, are further transformed g

 

 
      
      
 
      
 
      
 
    
 
   
 
     
  
  
  
 
  
 
 
 
 
 
 
  
  
  
  
 
 
  
 
 
  
 
 
 
   
    
 
     
  
   

 

    

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ity) were from Sigma Chcmical Company
(St. Louis. l'vlo.)', 3-mcthoxy[n,n,B,B-il-I.¢]tyra-
minc- l-lCl (3lvlT-*"I'I¢) was from MSD lsotopcs
(Montreal, Canada); pentailuoropropionic
anhydride (PFPA) from Regis Chemical
Company (Morton Grove, Ill.)_ Otlter chem-
icals used were of analytical purity.

Deuterium-labeled NMN and Ml\l was pre-
pared by a procedure involving platinum»cat~
alyzcd exchange labelingl Details of this pro-
cedure have been presented elsewhere (B).
Bt'iefly, NMN-HC] or MN-l-ICI (10 mg) was
inculpated for l month at room temperature
in szO [1 ml) and freshly prepared platinum
catalyst (prepared from reduction of 33 mg
PtClg with NaBI-ld) in an evacuated sealed-glass
container. Deuterium-labeled NMN and MN
were then isolated from the reaction mixtures
using reverse-phase liquid chromatography.
Solut.ions'of the deuterium labeled NMN and
MN were made in `IHZO and the concentration
was determined by comparing responses to the
nondeuterated analogs in selected ion-moni-
toring assays.

Cercbrosptnat'jlufd samples Human lum-
bar CSF samples were obtained using a stan-
dard protocol (9) in which fluid was obtained
from drug-free subjects Subjects fasted and
remained in bed overnight before each lumbar
puncture. The CSF was collected in 6-ml ali-
quots, and the second b-ml aliquot was used
in this worle. No CSF specimens were used
that contained blood. Immediately aftercol-
lection of the CSF, ascerbic acid was added as
art antioxidant ( 1.0 mM) and the samples were
frozen and stored at -70°€ until analyzcd.

Canine cisternal CSF was collected by anes-
thetizing the animals with sodium thiopental
(iv) {10). After intubating the trachca, a 22-
gauge spinal needle was inserted to a depth
sufficient to penetrate the cisterna_l membrane,
permitting CSF to flow into a tube without the
application of suction. Volumes of approxi-
mately l ml, containing nc visible trace of
blood, were centrifuged (15,000g, 15 min,
4"C} after ascorbio acid had been added to a
linal concentration of 1.0 mM. The superna-
tant was stored frozen at -70°C until assayed.

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Squirrel monkey cistemal CSF was collected y
in a similar manner except diethyl ether was
used as anesthetic and a 120-gauge needle was-
carefully inserted from the dorsal surface b¢-
tween vertebrae C`l and Cz. Vo|umes of ap.
proximately 200 nl were collected and im.
mediately centrifuged. The pooled samples ¢[
human, canine, and squirrel monkey CSF that .
were used had been thawed and frozen several
times prior to the experiments described
lterein_ -

.S'amplc preparation Aliquots of CSF (1.0
ml) were pipctted into lS-ml acid»washcd (dj-
chromate-sulfuric acid) glass test tubes con-'_T' `
mining 3MT-2H4, NMN-itts, ann MN-*H, .
(5.25, 6.60, and 1.55 pmol, respectively, in`50. \_ l
s1 of 2ttzo). sand blanco3 psc mg) asst
ml of CH;CI; were then added. After the mix--l
ture was cooled to 0""C on an ice bath1 100 pl
of PFPA was added and the samples were vig-_--:'= _
orously mixed for 10 min, during which time
they were allowed to warm up to ambient
temperaturel Additional solid NaHCO3 was=
added so that an excess of crystals remainod_._;.'-` '
on the bottom of the tubcs. The samples were '
allowed to stand for an additional 10 min to j
complete hydrolysis of excess PFPA. There»
after they were centrifuged at 10003r for 5 minll
the water layers were discarded and an addi- _' `
tional l ml of water was addcd. The samples
were again shaken and centrifuged and the or-\_.`i`\_
ganie layers were transferred to new tubes with "
care taken to exclude any solid NaHCOi. l`: `
whichwas left at the bottom. The samples Wel'¢’»
then evaporated to dryness under a stream ot'. l
nitrogen. The residues were treated with 100
nl of PFPA at 75°C for 30 min. The exccs$
reagent was evaporated under a stream of oi-
trogen and the residues finally redissolved ill
30 nl of ethyl acetate. Standard samples con'
taining BMT (0-9.03 pmol), NMN (0-9.74
pmol), and MN (0-0.80 pmol) were prepared _`
in l ml of “artificial“ CSF and prepared for _ 1
analysis as described above. The artificial CSF ._-
solntion contained concentrations (mM) of ‘.~
Nacl \(140). act t3.4), tracts (1.3), MaClz
{0.54), urea (0..22), Na.HyPG.¢ (0.25), NagHPo-t .;.
(0.25), glquee (3.33). and NHHCOJ (3.57)‘ l l

 

'-1‘..':. .:;-t'-“'!t.-

'.:.js“_fv< itr.-\ 511 ~| f"t' '.’l‘_¢i'_‘f"'f':i_`

   
 

 

   

 

  

 
 
   
 

 
 

.- marie hydrolysis Aliquots of0.5 ml of
re pipetted into glass test tubes con-
g star-lisa NMN-*H§ ann tviN-“H,,
,6,60, and 1.55 pmol, rcspectively, in 50
' and Cz. Vclnm¢¢ § `_ EHZO), 0.5 ml of a 0.2 M nitrate-buffer
l WCF¢ Collected a-,_, " . 1 6_0), and sulfatase (1.0 mg of lvophilized
cd. 'l`hc pooled ram "‘“ " er). The samples were incubated at 37°C
‘ Scluirrel mon key ` ' 5 h and prepared for analysis as described
thawed and frozen
'3` EXP€rirnents d `

cisternal CSF was . i"
r except diethyl et
.r nd a 2f1-gauge n -.
rorn the dorsal surf

     

  

     

     

  
 
  
  

     
  
 
 
 
 
 
  
 
 
  
 
  
 
 
 
  
 
 
  
   
 
 

      
    
 
  
   
 
    
 
    
 

  

  

er chromntogrnphyL-mass spectromeiry. A
' ed chiett-Pacltard 598513 gas chro-
graphrmass spectrometer was used for
recording of mass spectre and multiple ion
'on. The gas chromatographic separa-
were achieved with a solvent-free injector
pping-needle type, Rav Allcn Assoc.,
lder1 Colc.} connected to a DB-5 fused-
= eapillary column (30 m, 1126 mm i.d.,
thickness 0.25 nm, J and W Scientific,
cho C`ordova1 Calif.) using helium as a
'er gas. rl'he end of the column was inserted
'rectly into the ion source of the mass spec~
meter. A pressure of 1.5 psi of helium was
1 'ntained in the injector port, which resulted
_ - a flow rate of 'l-Z ml/min at ZO°C. The
in`ectcr port and transfer line were maintained
t 250 and 240°€, respectively. T he GC oven
was kept at lBO°C for l min following injec-
tion1 and then increased at 20“(3 per min to a
final temperature of 220°(.`3.

The mass spectromctcr was operated in the
-. negative~ion chemical ionization mode with
-, methane as the reagent gas. The reagent gas
was delivered to the source of the mass spec-
trometer coaxially with the capillar§¢r column
- in the transfer line, and a pressure of approit»
imatcly l Torr was maintained in the ioniza-
lion chamber. The ion source and analyzer
sections of the instrument were maintained at
_ 100 and 210°€, respectively1 and an emission
..`.-"` "Currcnt of 300 nat was used with an electron
~" energy of23() eV.
Quanritczr¢‘ori. Quantitative data were ob-

  

 
 

 

to lS-ml acid-wesh¢g
cid] glass test tu- ".,i-
NMN-IH§. and ` ‘“
* Dmol, respectively, `
aHCOs (150 may
lien added. Al"ter th
°C on an ice bath,
and the samples w “
0 min, during which"
to warm up to amb -
Clllal SDiid NHHCG}j
cess of crystals remai '
tubes The samples
an additional 10 mi
of excess FFPA. Th-
fuged at lOOOg for 5
e discarded and an .¢~
was added. The sarin -`:‘
d ccntrifuged and the i
sfet'red to new tubes
de any solid NaHCO .\..
»»ttom.'I`hesamplesv.~ern. »
ryness under a stream of l
-~' WCI'€ treated with 10134 §§
for 30 min. The excess m `
ed under a stream of ni- `“"“' ‘-
cs finally redissolved in s
. Standard samples con- ` 3
1'- pmol), NMN (l)_9.74 §l\
80 pmol) were prepared
' CSF and prepared for `
=bove. The artificial CSF' -
nncetitrations (mM} or 5a
4), caciz (i.s), MeClz'*"
zPO.; (0.25), NagHP'O¢ '
and NaHCO; (3.57]-

  

  

  
  
      
    
   
   
     
   
 
  
 
 

  

  

 
 

  

 
 
 

  

  
 
  
   
 
  

   

 
 

 
 
 
 
 
 
 
 
   
   
 
 

  

  
  

  
 

 
 
  

    
 
 
    
 
 
 

  

 
  

  
    
 
 
    
 
 
 

 
 

  

 
  

 
 
 
  
 
   
  

 

 

 
 
   
  
  
 
 

recording the relative intensitiee of the pairs
Of` ions at m/z 311/315, 621/625, and 635{

PFP derivatives of the unlabelod and deuter-

 

MASB SPEC'TROMETRIC ASSAY DF D-MF,THYLATED CATECHGLAMINES

tained in the multiple-ion-detection mode by .

640, corresponding to ions derived from the _

495

 
 
  

atcd BMT, NMN‘ and MN, respectively. Cal-
culation of the quantity of each compound in
each sample was made by interpolation from
calibration curves constructed from standard
samples. These curves were constructed by
plotting the ion current ratios (mfz 31 1/315,
62 11626, and 635/640) against the concentra-
tion of the unlabeled isomers'in each sample.

     
 

 

RESU l_TS

Mass spec!rn. The ECNCI mass spectra of
the PF'PA-treatcd JMT, NMN, and MN, and
their deuterium labeled analogs, revealed the
presencc of two FFP groups per molecule of
?»MT {111) and three PFP groups per molecule
erNivtN tvn) ana tvii-I (xi) (Fig. 2).

The mass spectra of BMT and BMT-zl-h
showed base peaks at m/z 311 and 315, rep-
resenting loss of a CF;CFZCOH group from
the molecular ions (Fig. ZA). Other peaks rep-
resenting the molecular ions (m,lz 459 and
463) and the (M-HF)“ fragment ions (m/'z 439
- and 443) were also observed The mass spectra
of NMN and NMN-zI-lg, (Fig. ZB) showed base
peaks corresponding to the molecular ions (m,"
z 621 and 626) with fragment ions corre-
sponding to loss of HF from the molecular
species. The mass spectra of MN (Fig. ZC)
showed peaks corresponding to the molecular
ion at mfa 635 and high-mass fragment ions
representing loss of one and two HF groups
from the molecular ion. The mass spectra of
labeled MN (Fig. ZC) revealed the presence of
three predominant species containing three1 §§
four, and five deuterium atoms per molecule .
and a small amount of 2I-l;;~l\-'ll‘~l, but no sig- " `

nificant amount of zl-i.]-lvll‘~l. The common § _ '.
fragment ions at m/z 123, 144, and t63 § §
seen in the spectra of all six compounds are
attributed the CQF..CO" CgF.¢COO', and
CZFSCC)O' fragments1 respectively, derived ' §
from the derivatizing groups 1 §
_ ` Meihodoiogy. The vield of the initial deriv- _-| `
atiaation/eittraction step was estimated by an- §
alyzing for underivatized BMT, lNMI*\I, and 'z .
MN remaining in the aqueous phase. The
analysis was accomplished using HPLC on a

 

 

 

----\ -v-¢--. .4-\.-»- ___ .».

 

 

    
  
  
  
  
 
 
   
  
 
  
     

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reversed-phase octadecylsilane column [Altex
3 ,um U|trasphcre, 7.5 cm >< 6 mm) with ac-
etate/citrate buffer (O.l M, pl-l B_S}containing
7% methanol at a llow rate of l mlfminute.
Detection of the O-methylated catechoiamines
in the eluate was accomplished amperometri»
cally (LC-B aniperometric detector, Bi`o-
Analytical Systems, Inc.) with a glassy carbon
detector electrode using an applied potential
of +().75 V (vs Ag/AgCl). The result indicated
that less than 5% of the parent compounds
remained in the aqueous phase following
treatment with PFPA and CH1C12 extraction
This result was in agreement with recovery es-
' timates of the complete worlt-up procedure
made using GC/MS by comparing peak areas
of standard samples that'werc treated directly
with PFPA with those of samples run through
the entire procedure The result suggested a
recovery of 90-100% for each compound
The products formed in the initial deriva-
tizationfextraction step were identified1 using
mass spectrometry. as being the dipentafluo-

/R‘i

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ropropiony| derivatives III, Vl, and X (Fig_ j
'I`he electron impact mass spectra ofthe NMN
and MN products contained abundant [M,-
18]* fragment ions, indicating that the B_hy;
droxyl groups on these rnctabolitcs were un_
changed and that the PFP groups must be lo.
cated on the amine and phenol mcietics ofthe 4
rnolecules. § --r_
The accuracy and precision of the method
was determined by analyzing eight samples
individually from a pool of “artificial” CSF
which had been spiked with BMT, NMN, and
MN in amounts similar to those occurring in
human CSF. The result is shown in Table -l?'j""'
and indicates that the added amounts are
measured accurately and with good precision.-"§j-
The calibration curves showed a linear rela-`_;
tionship between the peak height ratios (au-ij'
thentic/internal standard) and the concentra- ._.'
tions of JMT, NMN, and MN over a range:i_"
(see Expcrimental) covering their natural levelsr_j_`_
iri CSF.
Asscy ofCSF sumpter When the method-.\*-~_
was applied to human lumbar CSF and dog-af
and squirrel monkey cisternal CSF samples,‘ll ,
ion trace chromatograms were obtained (Fig. _;
3) in which the peaks at the retention times
of authentic 3MT, NMN, and MN dominated

  

  
    
 
    
 
 
 
 

  

  
 
    
 
 
    
      
 
   
 
 
 
 

 
 

  
 
    
 
     
  
 
 

  

 
  
    
 
     
 
 
  

  

  
 
 
 
 
 
 
 
 
 

   

 

 

 

O-Methyiated Chemica.l _ o
Catechoiamine membo|ite derivative Rl Rz R; ' R4 F~s ‘_
leeper-nine _ _ -_ ii n n ii H *1
n s-Meihsxyryamine -_ n cn, H n n ll
itt a Coczi=, cH, H Coc,F, H ‘ `
IV Norepinephri ne _ _ H H OH H H §
V Nonnetani:phrine - H C`H, Ol-l H H '
Vl A COCst t`_`l-l; OH COCZF, H .:
vii _ a cocai=, Ciil' coc,F5 coczF, H
\"lli Epinephrine - _ l-l H DH H CH:
[X lvletanephrine _ H CH, Ol{ H CHs
x a cocsi-', cn, on Coc,F, CH:
XI B COC:¢FJ CH§ ‘ CDC;F§ COC¢F, CHJ

s

 

A. Formcd during the extractive aeylation step.
B. Formed try-treatment with pentailuoropropionic anhyd

Fic. l. Structures of the catecholam
derivatives

ines. and their O-methylatod membolites and pentalluoropropionyl

 
 

ride under anhydrous conditionsl

 
 
  

 
 

 

 

 

     

 

MASS SPECTROMETRIC ASSAY OF U-METHYLATED CATECHOLAMINES

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1UB'

 
 

 
 

ratives III, Vl'. and Xf 1
= et mass spectra of th
ts contained abunda
s, indicating that th

A 311 -|

 

these metabolitcs

were'r ii
the PFP' groups must * .
- and phenol moietiesof .‘-

  
 

 

 

   

 
 
 
   
 

  

  
 
 

'N, and MN over a

 

y
|- 1001_
a eis
§ tea _ NMN
44 soc
§ H!§ll § 451 cei
I-» o i i . i i
j ' i sua §
the add d m 313 2 coe
_. ¢ among m NMN' i"l5
ly and with good cr .", E
herrera s‘°" - _ “
51 ratios»`( icc - 1 “ '
ndard) and the gomez n. 14 :N sea

 

O"'€l'l'ng their natural |-

 
  
  
 

mp!e.i'. When the meth i
an lumbar CSF and d ' "*i
y maternal CSF same -

 

 

 

-_» ms were obtained (f-i-
ks at the retention tim
MN. and MN domina

  
 
 

  

 
  
 
 
 
 
 
  
 
 
 
 
  
  
   
  
 
  
  
  
 
  
     

other but were separated by retention time and
s mass (Fig. 3). No interfering peaks were ob-

TABI_.E i

REFaoDucinlLtTY or INoiviouAL. DETF.nMiNATtoNs
oi= JMT. NMN, mo MN iN An'ririci.ti_ CSF

 

 

_NM

 

' Picomoles/rnilliliter.
°Cocfficient of variation calculated from the ratio cf
SDfmcan as a percentage

Addcd Measured
amount*’ arrii:iunt‘l SD CV° n
3MT 525 5.20 1132 6.2 3
NMN ssa sss aaa 3.7 a §
0_464 0.462 0.034 7.4 `3,`

M/"Z

Fio. 2. Elcctron capture negative-ion chemical ioniraiion mass spectre of the pentalluoroprcpionyl de-
rivatives of authentic and deuterium-labeled BMT (A). NMN (B), and Ml\_l (Ct

served when a series of CSF samples were an-
alyzed, demonstrating that the assay was re-
liable and suitable for routine measurement
of CSF samples. The result from the quanti-
tation of six individual human CSF samples
is given in 'I`able 2. The mean levels of free
BMT, NMN, and MN were 3.77, 5.20, and
0.40 pmol/mi.

Conjugnri`on. When samples of human CSF
were iiicubatcd with sulfatase containing ,B»
glucuronidase activity, a time-dependent in-
creasc in the amounts of BMT, NMN, and
MN was observed The results indicated that,
under the conditions uscd, the hydrolysis was
essentially completed after 4 h of incubaticn.
chever, an incubation time of 16 h was used
routinely to assure complete hydrolysis. The

 

  
 
 
 
   
    
  
   
  
  
 
 
 
 
  
  
  
 

 
 

 

 

 

sun FauLL

 

M/Z 521

M/Z 525

FEAK HE|GHT lH AHBETR.AR*I’ UHJTS

M/Z 635

 

M/Z 640

 

 
    

 

 

t

 

6 7

RETENT|ON TlME lN MINUTES

Fto. 3. ton traces obtained l'rem the m

analysis of free and total (aFter hydrolysis)

3MT, l`~lll/Il‘~l1 and MN in pooled human lum-
bar CSF and dog and squirrel monkey cisternal

TABLE 1

LEvsi.s oF Faes JMT, NMN, ANo MN iN lNoivipoAL
HoMAN CSF SAMPLss‘

Subjeet . l

 

`3MT NMN MN
A 2.3'(] 2.3-7 0.26
B 2. l 6 E_l4 0.58
C 134 ' 2_46 0.24
D 339 9_42 0.'73
E 139 7.23 0.42
F 2.0| l.SD 0. l 9

 

“ Fieomoles/milliliter. `

ass spectrometric assay ol" a human cerehrospi_nal fluid expect
showing the peaks attributed to 3M'l`. NMN, and MN and their respective deuterated analoe:.

B

 

 
  
 
 
 
 
 
 
 
 
 
   
     
 
 
  
 
  

  

CSF (Table 3) demonstrated that the com--_".-
pounds predominantly occur in a conjugated

form.

olsoussion

The goal oi` this study was to develop a con-

venient work-up procedure for IiMT1 NMN.
and MN i`rom biological samples which pro'
duces derivatives that maximally exploit the
potential sensitivity of the ECNCI mass sDE"-"
trometry technique We were attracted to
make use ol` the procedure of aeylation in

aqueous media which has been developed for

the work-up of these compounds from dilute
solutions and biological samples (1 l). HOW'

 

    
      
    
 
      

 
  
 

    
 
     
  

  

 

  

MASS SPEC`TROMETRlC ASSAY OF` O-METHYI,,ATED CATECHOL.\\MINES

TABLE 3

QN¢ENTRATMNS' oI-' FttEE two ToTAL (FttEt-; + CoNiquTED) JMT, NMN, ANr.i MN tN PooL£p CSF

 

JM`[`

 

NMN MN

 

 

 

| monkey

 

 

 

corneles/mil|ilitcr.

, the previously used reagents, acetic and
picnic anhydn`de, yield products that are
suitable for the ECNCI technique Efforts
onvert the products of BMT, NMN, and
obtained by acetic anhydride extraction
.tn suitable derivatives by transacylation or
_'erent hydrolysis procedures were unsuc-
..t\ ful. An effort to use I"FPA instead of acetic
hydridc demonstrated that the desirable de-
vative could be recovered, however, in low
'elds. By incorporating an organic solvent in
e mixture and by vigorously mixing the two
yers, _the yield of product was dramatically
proved. The best solvent was found to he
` ichloromcthane, probably because it formed
semistable gel which gave ultimate mixing
ofthc two layers. Accordingly, the procedure
. Ppears to be best described as an extractive
\acylation rather than acy|ation in aqueous
`media. The products formed during the ex-
uactive acylation step were identified as those
acy|ated on the amine and phenolic functions
\ llll, Vl, X). The alcoholic hydroxyl groups of
NMN and MN were acylated only during the
a ;" tecond treatment with PFPA under anhydrous
conditions This result is in accordance with
.`:`- the result reported for acetic anhydridc (l l).
" The step of washing the dichlorornethanc with
Water was necessary in order to remove traces
W¢ W¢F*-'~ attracted m i=" OFlllentafluoropropionic acid which otherwise
~ ure of ncy|ation in ‘ : interfered with the analysis
has b¢¢n developed fof _\_`_1 - " This work-up procedure and subsequent
-»mpo\ll\d$ from dilute ' ii_ allt!.lysis using capillary column gas chroma-
sampi\‘=$ (11). H*'J“'_' lOsraphy-ECNCI mass spectrontetry were

 
 

 
 

  

 

i*‘;:;l

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lebrospinal fluid extract
ted analogs.

nstrated that the co _,,E
:ly occur in a conjugated ""

 

` SS|ON

" It' Waa to develop a con- ."5 '

cedure for BMT, NMN.
Cal samples which pro-
ma:timally exploit the
the ECNCI mass spec-

v

   

   

successfully applied for the identilication and
quantitation of trace levels of BMT, N`MN,
and MN in human CSF. The analytical pro-
cedure proved to be reliable and suitable for
routine worlt. Endogenous levels of NMN in ,. y `,
human C`SF have previously been reported ;`. .'
and the levels reported here are in good agree-
ment with that report (7). To our knowledge,
levels of 3MT and MN have previously not
been reported in mammalian CSF, but the
lower levels of MN are consistent with the fact
that epinephrine is much less abundant in the
central nervous system than dopamine and
norepinephrine -

Preliminary work has demonstrated that
this method is applicable also to analysis of
brain homogenatcs. ln addition. it may be ;`_'\
noted that the worlt-up procedure might be l _
suitable also for GC-MS determination ofdo- ' "` "
paminc, norepinephrine epinephrine, and se-
rotonin.

In conclusion, a practical and convenient
method has been developed based on extrac-
tive acylation with PFPA and analysis by cap- l '
illary column GC-E.CNC| MS for the detcr- l
mination of 3lvl'l", NMN, and MN in CSF. in
addition to the possibility that these catechoi-
amine metabo|ites may be reliable indicators
of central neurotransrnittcr turnover, mea-
surement of NMN and MN provides a method

 
     
 

    

 
 

  

, of distinguishing between norepinephrine.and

epinephrine turnover, which is not possible
by measuring their common metabolite 3d `
methoxy~¢l*hydroxyphenylethylene glycol.

 

 
 
   
   
   
 

 

    
   

      
     
    
     
 

 

 

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FlEFEFlENCES

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l-lunt1 l`J\. F_, StaPr`ord, G. C., lr._ t'.`row. F.. and Ruqd_

l_ W, (197'6} Anal'. C'he'm, 43, 2093-2 |t]§_
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Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 73 of 91

Analysis of Biogenio Amines in Plasma of Hypertensive
Patients and a Control Grouo (1993)

In this-peer-reviewed article in the Journal of
Neuroohsmioal Ressaroh, the authors studied the use of the
MS detection system when coupled with gas ohromatography to
detect and measure normetanephrine, metanephrine and other
substances in human plasma for individuals with normal blood
pressure and individuals suffering from hypertension. The
authors eoneluded that GC-MS was an accurate and reliable
means of detecting-and measuring normetanephrine and
metanephrine levels in human plasma.

 

 

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Analysis of Biogenic Amincs in Plasma of _ Hypertensive

Patients and a Control Group

R- Arrdt~cw,’ S. A. Best,,1 l). G.-Watson,‘-" J. M. Midgley,,l .I. L. Ftoid,,2 and I. B- Sq_uir~e2

{Ad¢eprcd Febrr.trJr-y Z, 1993}

 

Procedures were developed for
raphy-negative ion chemical io

the determination ot' 17 circulating afnines using gas ehrornatog-
nisation mass spectronretry. The anrines were quantified against

their appropriate deuterated isotopomers. The mean concentrations and ranges of catechoiamines
and trace amines were high compared with previous studies. ln comparison with nonhypertensives,
plasma from hypertensives had higher concentrations of the foliowing amines: noraclrenaline (t =4.{)%);,
normetanephrine (t=ti.l_%) and metanephrine (t=l.Q%). 'Ihere were no significant differences
between 5H"l‘ levels in plasma from hypertensives and controls. The following trace amines could
he detected in variable amounts in plasma: p-tyramioe, m‘tyramine, p-octopa.mihe, m-octoparoinc,

p-synephrine, m-sy`nephrine,

and salsolino|r The trace amines melatonin, N-acetyl 5HT, tryptanr-

ine, d-hydroxymelatonin and S-methoxytryptamine could not be detected in plasma with limits ot'
detection lying in the range 20-100 pg ml". 1

 

KEY WORDS: Traee anr_irres; cateehc|amines; SH'l`; plasma; hypertensivc.s; GC-MS.

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The underlying biochemical causes of essential hy~
pertension are unknown. One possibility is that it is caused
by overaetivity of the sympathetic nerves leading to an
increase in vascular resistance Correlation between blood

_` pressure and concentrations of circulating amines has not

been conclusively established although there are reports
of links between hypertension and catechoiamine levels
(1,2). It has not been established if monophenolic trace
amines have a role in the pathology of essential hyper-
tension and rnany of these compounds have been only
determined in human plasma in a few instances, if at all
(3-5). Ptcvious methods for analysis of circulating arnines

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gore GII, U.K.

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macetrtical $denees, University of Strathelyde, Glascow Gl 1XW.
Te|: 041-552-4400 Ertt 2365 Fax: 041-552-&443.

have tended to rely ot' the less specific technique of
radio/chemical assay or on HPLC with electroehemical
detection which also lacks the specificity of GC*MS. We
report the analysis of 17 circulating anrines in human
plasma using GC.-NICIMS widr stable isotope dilution.

EXPER]`MENTAL PRDCEDURE

Chemr'cals. Chenricals were obtained from the.sources indicated
in hrackels: p-Tyramine, m- and p-octopamine, noradrenaline, la'dren-
aline, nunnetanephline. metanephrine. salsolr'nol. trypramirre. N-aee-
ty[ SH'I', $HT, melatonin and ascorbie acid {Aldn‘ch Chemical Co.,
Dotset, U.K) m andl p-synephrine, S-metlrortyrnelatonin, iii-hydroxy-
melntonin md fl*isodium EDTA (Sigma Chemical Co. Dorset, U.K..),
analytical grade methsrrol, aeelonltrile, ethylaeetrrte and water (Ratlr~
burn Utemical Co., Peebleshire, U.K.], 3,5 ditr'illuotomethylbenmyl
chloride (Fluotodrcm, Dcrbyshi:e, U.K,.). Mt'.] bittrimethyisilylacc-
tamide (BSA) (Hllltn Chemlc\ll Co.. Derbyslrite. U.K.). l

Synr.'resr'r:ed Stlandnrd.r and Deurern¢ed Strrn¢r!rrrdr. rn- irre
was synthesized from m-metho.)tylrenzaldehyde by rt standard proce-
dure via formation of the nltrostyrene, reduction and demetlrylatlon of
the prodnct. Deuterated isotopomers of m- and p-octoparnine. m and

mcrmrrrroo-tmror.oxn o rm rents wrong oapsnrm.

 

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F‘$¥“¢Phl'il\¢» P'Wl“dmine and dopamine were synthesized in our pre_-,_
Viotls work (6,7). Dcuterated rrr-ry'raminer salsolinol, lryptamine and
5 l-l‘l` were synthesised using methods previously described (8,9). Dcu-
t¢raled adrenaline, noradrenaline and normetanephrine were obtained
from MSD, Crcydon. U.l{. Deuterated metlronytryprarnine was ob-
tained front Sigma Chetnical Co. and some ot' this was convened into
deuterated melatonin by N-acylation.

Col'l'ecrr'an ofsnmplr-_r. For the purposes of this preliminary study
blood was obtained front seated hypertensive patients both untreated
and on a variety of medications and normotensive subjects by ante-
cubital venipuncture. ‘I`h blood was transferred irtto heparinised tubes
and eentri.iuged immediate y. 'l`he resultant plasma was stored at -20"€
until analysis which was carried out within two weeks of sampling

Proce'durcfor Htl`racrr`cm and L`ler'¢`unriz:nrr`¢)n_ [-`or analygig of ¢g(¢_
chulamines and phenylethano|arnines deuterated standards {4 ng, Table
ll Wer¢= added to 2 ml ul` plasma and also ascorbic acid (1 mg in 20
ul of trretlra.nol) was added. P'erchloric acid (2 ml, 0.3 M with 1 mg
ml“l of added ED'I'A) was added and the sample sonicated for 1 mirt.
The sample was then centrifuged (Btltl g, 15 mirr) to remove the pre-
cipitated protein and the supematant was buffered using potassium
phosphate buffer (1 ml, 1 M, pl{_?.$). Ditritluoromet|rylbenzoyl chlo-
ride (IJTFMBCI, 4 u.l) was added and the sample was shaken at room
temperature (10 min)_ Ex'trsction with ethylacetate (6 nrl) was carried
out and the ethyl acetate layer was then shaken with ammonium hy_
drorride (1 ml, IDM) at room temperature for 5 min thus hydrolysing
phenolic ester groups and leaving the DTFMB amide formed intact
The organic layer was dried by passage through anhydrous sodium-
sulphate and the ethyl acetate was removed under a shearn of nitrogen.

t 'I'lre residue was reacted with BSA {30 p.l, ED“C, 10 min). The BSA
was not removed and 50 p.l of ethyl acetate was added immediated
prior to injection of 4 p.l into the GC-MS_

The indole alkylamines were analysed using a method based on
an established procedure (10) analyses were carried out on 1 ml of
plasma_ We have recently described the application of our procedure
to the analysis of 5 HT in aqueous and vitreous humour {11).

INSTRUMENTATION
The GC-MS parameters and column conditions have
been described previously (7, 12).

'r'etrle I. Undeuterated and Deuterared Starrdards Used in
Quar_rtitation of llltnrinos in Plasma With the lone Usod for

 

 

Qtla.tltitaiit;t|t

Biogenic amine {nr;'z) Deuterated int. std. (rn!z).
m-lyramine 449 [2H;l M-l.'yratnine 452
p-ty'raminc 449 [Zl-Ill p-tyramine 451
m-octopamine 53? [zl~i,| m-octoprrmine 540
p-octopamine 537 [IH,] p-octopamine 540
dopamine 537 [i‘l-[,] dopamine 540
nr-synephrine 551 [11'1,| m-syncphrine 554
P-tyv=nhrin= t 551 l‘Hslp-tyn¢phfio= 554
normetanephrine 567 [’H,] oonttetnnephrioe 570
metanephrine -- 581 [*H,] nonnotatrephrlne 570
salso{inol 563 ["'l-{,] salsolinol 565
noradrenaline 625 [*H,| noradrenaline 623 `
adrena.linc 539 [“H,| adrenaline 642
s t-tr sss [*H‘| s H'r sss

 

Andrew, l]est, Watson, Midgley, Reid and Sqtrirr:

QUANTITA.T!ON

As described previously the catecholanrines (12) and
phenylethanolanrines gave mass spectra where most of
the ion current was carried by the molecular ion. The
individual amincs were quantified against the ions for
their deuterated isotopmers 2-4 a.m.u. higher in mass
except for metanephrine which was quantified against
['IHJ]ncnuetanephrine. Calibration curves were linear
(r>i].il‘£l) over the range examined and limits of detection
under optimal conditions were co 5-20 pg rnl".

lndolealkylamines gave the mass spectre described
previously (10) and were also quantified against corre-
sponding dcuterated isotopomers with limits of detection
lying irr the range 20-100 pg per ml"l.

Blanlrs containing deuterated isotopomers alone were
carried through the full analytin procedures to check
for contamination of glassware, reagents and solvents.

RES ULTS

Figure 1 shows SIM traces for endogenous nora-
drenaline mla 625 and [zHB] noradrenaline rng 623 ex-
tracted from plasma. A'sintilar trace is shown (Figute
2) t`orp-synephrine extracted from plasma against a SIM
trace ~for the deuterated standards for m- and p~sy'ne-
phriner Table 11 shows and the mean concentrations and
ranges for catechoiamines and monophenolic amines. ex-
tracted from plasma of normotensive and hypertensive
subjects. The sample numbers are not uniform since in
certain cases concentration values for certain amines were

discarded where the blank value for a particular analyte `

exceeded 33% of the sample value.

 

 

 

 

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M 625
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_“ _'-Jw-'-¢-H-v-"
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Fig. l. SlM trace showing noradrenaline DTFMB-'[MS (or/z 625) in
comparison with 4 ng of [‘H,]-noradrerraline UIFNBWS (rrrl'z 628)
internal standard spiked into 2 ml of pllsn'tr.

 

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Biugcnic Amincs in I’l:isma of Hypertensive and Normal Subjecls 1181

mm F t cautions to ensure physiological relaxation (14). Nora-
I.. F-:i`l'NEPHR|NE . _ . . .
mm ma 551 drenaline concentrations were significantly higher than
‘“"‘ those in the controls (t = 4.{)%). The concentration of the
noradrenaline inetabolite normetanephrine also varied
between liypeitensivcs and norrnoteiisives (t=o.l%} (the
range of literature mean values is 154-1725 pg iril'l
(15,1{3)). rI"he adrenaline concentrations determined are
r......~. B_ at higher end of those reported in the literature (the range
mm :;';:WEPHH'"E D$;-i;-:‘WEP"“'NE of literature mean values is 136-160 pg rnl" for tecum-
\ '" z 4 bent subjects and 51 - 210 pg rnl" for standing subjects
mm l (13)). The differences iii adrenaline concentrations be-
tween hypertensives and nonnotcnsives were riot signif-
_* _ 1 1 l___ icant although hyptensive samples had a wider range of
' “'" ' “'* mm:;"“ ‘i" “" adrenaline concentrations which may be a consequence
mg_ 2_ gm gm showingp_muphgn= m-FMB_TMS (m,z 551) in of treatments All but three determinations of dopamine
comparison with4 rig cf [3H,]p-synephrine DTFMH-‘[`MS + 4 rig of ll'l plasma fell Wil.l'litl the range 59-479 pg mi'l. The
liHslm-SY“'=P\“I"“¢ =Pik=d into 2 ml °f Plasma~ dopamine concentrations deteniiined in plasma were much
higher than those previously reported (the range of lit- `
erature mean values is 36-62 pg rnl‘1 for recumbcnt
subjects and 345-56 pg n:d'l for standing subjects (13)).
Acid hydrolysis of a few samples was carried out and
the values for total dopamine circulating in plasma were
also found to be higher than literature values. There were
no clear differences between unconjugated dopamine
concentrations in hypertensives and normotensives. lt is
possible that our procedure for measuring the unconju-

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DISCUSSION

The mean concentration-of noradrenaline was high
in comparison with previous measurements (the range
of literature mean values for recumbent subjects is 147- _
444 pg pg nil'-1 `(13)] perhaps reflecting the fact that
patients were not supine at the time of sampling (14).

The measurements correlate more closely with the cou-
centratioiis of noradrenaline in standing subjects (the range
of literature mean values for standing subjects is 2?0-
2210 pg ml'l (13)). Since it is difficult to obtain blood
samples from subjects under ideal conditions it might be
more appropriate to make a comparison, between control

gated amines may be producing some hydrolysis of do-
pamine conjugates. However, the high levels of dopamine
are not mirrored by high levels for uneonjugated p-ty-
ramirie which, in preliminary worle, we have found to
be present in plasma largely in conjug'ated form. Diet
may have a considerable influence on dopamine concen-

__._groups and hypertensives, without taking special pre- trations in plasma. We have found that consumption cf

Table [L Doncentriiticn of Unconjugated Aniince iii Plasn:ia From Hypertensive and
Normoteiisive Eubjects pg nil"* (Mea,n z SEM)

 

 

 

Hypertnrisive Nornmt.eiisive t

Mean t $EM. Ra.nge (ii) Mean t $EM. flange (n)

m-'tyi. 47 s ia No- 321 (34} tro - ring

nryr. ass s ss No- is-is iran ss s 17 Nc- iss (i:ii

m.oei. 29 s 4 Ni)- ins (36) 21 a 2 ivo- 36 (iz)

p-oei. 55 s in i~to- 233 (33) 53 t 24 r~to- 300 (ia}

oep. 921 : 255 so- 5464 (:ii) 402 s 123 ss. im iio)

m-Syn. 19 t 0.4 ND- 35 (37] 33 t 5 ND- 68 {14)

p-syn. 147 »_» 59 no- sons (37} ss s 11 rio eis rio

Nmet. 496 st 69 175- 2018 (34) 237 -.t: 49 - 99» Blll (15)

Mei. 263 s sr aa~ rsa (32) 132 z is ss- 225 (13)

sits. iss s rs rio 1199 (si) "rre 17 tro ran usi

--Noi". 1633 t 197 '2.'55- 4097 g$] 985 t 68 639- 1334 (12)
-` Adr. 233 2 55 ND- 1494 ll 193 t 25 4'!- 361 (13)

sic initio rust

r 5 H'I`. 436|] m 660 240- 1.4510 (35) 3660 t 610

ND ll=not detected; taken as 19 pg for all oompounds.

 

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bananas can increase tlte atnount of dopamine present in
urine and a number of foodstuffs have been shown to
contain dopamine.

fitd andp-ootoparttltte, m- and p»synephrinc nt- and
p-tyrantinc and salsolinol were all detected in plasma
usually in small amounts and not eonsistently, Very few
previous measurements of these amines in plasma have
been made; two-literature references to p-tyramine con-
centration in plasma give mean values of 67 and 680 pg
ntl'1 (5,17), mea' values in the literature for p-oc_to-
pamine in plasma are in the range 1`14*2093 pg ml'1
(5,15,18}. p-Svnepl'trine concentrations were high in a
few samples, presumably as a result of orange juice con-
sumption. In earlier work it was established that con-
centrations ofp-synephrine itt urine were greatly elevated
following consumption of orange juice (19).

5 HT was tlte only indolealkylamine which could
be detected in plasma with a limit of detection for these
compounds in the range 20‘50 pg mi". There were no
clear differences between hypcnensives and normoten-
sives in terms of plasma 5 I-lT concentrations but it seems
front some of our results that there may be seasonal
fluctuations of this amine with concentrations in plasma
being higher in winter. These fluctuations in combina-
tion with the possibility of small amounts of platelet
leakage may have obscured possible differences between
hypertensives and normotensives. It is of interest to notel
that we have found it very diEEcult to obtain clinical sam-
ples of plasma in which platelet leakage of 5 HT has been
avoided; we have not found this problem with plasma pre-
pared front blood samples taken in our own laboratories.

The results presented here are essentially prelimi-
nary and a much larger sample number will be required
to be completely confident that there are differences be-
tween the concentrations of plasma catechoiamines found
in hypertensives and norrnotensives. From our prelimi-
nary results ir would seem unlikelyl that any of the mon-
ophenolic amines contribute to the pathologyr of essential
hypertension although it is not possible to entirely dis-
count p-tyramine.

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Evaluation of Urinary Metanephrine and Ncrmetanephrine
Enzyme Immunassay (ELIBA) Kits by Comparison with Isotope
Dilution Mass Soectrometry (1997}

In this peer-reviewed article in the Journal of Clinical
Chemistry, the authors studied the use of immunoassays to
\detect and measure normetanephrine and metanephrine levels
in urine. To test the reliability and accuracy of the
immuncassays, the authors compared the results of
immunoassay testing to the results of testing performed by
GC-MS, which the authors recognized as measuring
normetanephrine and metanephrine levels in urine with good
precision and accuracy. The authors concluded that the
immuncassays, as verified by the GC-MS, reliability and
accurately measure normetanephrine and metanephrine levels
and excluded false positives from similarly structured
compounds.

 

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'r plasma dr.
ig JjO-meth'_t
_~agation and i
` tivily FOr ur

Eva|uation of urinary metanephrine and starein

irion, unlike

norme-tapephrine enzyme immu.noassay (EL|SA) recess

kits by comparison

- . , _ jeriil.
Wlth lsotope dilution Forthe rca

1111 specific

mass spectrometr*y n seas

aetna the ass
moir analysis

Benr G. W`oL'rz-rsus,‘~* loo iJ. l¢~'.J.=.Ms,Jl MAI<caL Vc;)r.lv.csrt,1 Rsn~rnAno Wesisi\¢n»u\n~r,z .ichniques l

Determ.ination of urinary S-O-methylated catechol-
airlines imetanephri.nesl is generally considered a
principal test for the clinical chemical diagnosis of
pheochromocytoma and is currently performed predom-
inantly with ehrrimatographic techniques such as gas-»
liquid chromatog;raphy and I-l]’l..C. Enzyrne immunoas-
says based on microtlter plate technology have recently
been developed for the quantitative determination of

urinary metanephrine tM) and normetanephrine (NM). l

We compared the results for urinary M and NM deter»
mined by these ELISA methods with those obtained by
a recently developed isotope dilution mass spectromet-
ric metho,d. I-`rom.l this comparative study we can con-
clude that the investigated EI.ISA methods are applica-
ble in the quantification of urinary M and thus can be
successfully used to establish the diagnosis of pheo-
chromocytoma These relatively simple methods can be
executed in any clinical laboratory and in time may

replace the present more complicated, chromatographic

techniques

inocxlwc TanMs: gas chromatography - mass spectrorno-

try - pheochromocytoma

Several laboratory tests have been proposed for the de-
tection and follow-up of patients with catechoiamine-
producing, mostly benign or occasionally malignant tu-
mors called pheochromocytomas determinations of the
catecholamines themselves or one or more nf their various
metabolites in either plasma or urine. Reoently l.enders et

‘ c\!m"'l L~‘b""h"'l' fm Cl|l`ll¢*l Cl'l\!l'r\l*ll'y. Unlvemity Hou\.\ltal. l'.i'_'t. l`imc

JiinceN WasTaarus;r~n~i..2 and Beannaso Marsz

hinds are .`

al, [ll reported that measurements in plasma of the
3-G-methylated metabolites normetanephrine (NM) and
metanephrine (M) are more sensitive for that purpose
than are thc ';_-';ally performed determinations of either
plasma catechoiamines or urinary total rnetanephrine:»'..3
ln their comparison, however, _they used l-]I~"LC with
electrochemicaldetection for the measurement of plasma
catechoiamines and metanephrine-s whereas an irtserisi-
iive colorimetric method [2] was used for urinary total
metanephrines. ln studies in which more specific and
sensitive methods were used for measurements of urinary
metenephrines, significantly higher scnsitivities were re-
ported {31. Thus, determination of plasma metanephrinei
probably does not produce better results in terms of
sensitivity and specificity in the diagnosis ot pheochro
mocytorna than urinary metanephrines. _
Pheochrompcybomas usually produce tree cat
echolamines, which very likely before entering the circu- .
lation are already converted into mctune`phrines. Elaen- mcmahon
hofer et al. 141 showed that after intravenous infusion uf develop:r
:‘l-I-labeled catechoiamine precinsors. steady-state plasma mo alte__r
concentrations oF atl-labeled tree metanephrines were for unn“d
s'.E% of steady-state concentrations ot the precursor [15'16]' ‘
amines. whereas in pheochromocytoma patients plasma `
concentrations of tree metanephrine.-a were --50% of their
precursor amines IH, Morcovcr, Eisenhofer et al. 151
demonstrated_that 2-‘~90% of circulating free M is formed m`C
by metabo|i-=r“_ of adrer`ialine within the adrcnnls and thus
'=.*10% is termed by metabolism ot adrenaline after its oauu\'
release into tho circulation. Also,. formation of metalie',‘\l\F
rines within pheochromocytoma tissue is supported by

 

 

 

Jtl_DD*l, 970|] RB firsnlogen, 'l'he Notherlanda` y HD~C
` Reprumcd Gmbl“l, F|ug|\a\"erustralle ‘.iL'\. D-ZZJJS Hambuq.;, C.'.¢_-nnany. ' Nonstandard -.\bl\reviarlona: NM, nurmciam.-phrlne; M, metanephrine
'Aul‘l\ur Fm' correspubdem‘u. Fas 31-50-.‘|»¢"|22‘¢1¢|. GL'. gas churnr.mq;rapliy; MS, mass ssp~_~i_'tmrmrry; and '\"N'|A, vani|l_vimamle|ll?
lien-iven March 'i, IW\':: revised july 15_ lwr.; accepted [u|_\- lh_ tWF,_ acid. . F_Ul¢
114

 

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Case 3:98-cr-30044-I\/|AP Document 262 Filed 03/27/00 Page 80 of 91

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|dJUD-t./ons
1151l

t',`iinlcnl {.`l'tcmistry 43, No. l, 1997

res '-'

 

findings of high concentrations of metanephrinm within
tumor tissue ld; 7l and a high concentration of free NM in
the plasma draining a tumor IS]'. Dear‘.l‘lvation of circulat-
ing B-O-methylated catechoiamines followed by sulfocon-
jugatinn and excretion suggests high specificity and sen-
sitivity for urinary total metanephrines, compared with
osirlatively dearninatcd catechoiamine metabolites. ln ad-
clitionr unlike urinary total catccholan'\ir'tesl urinary total
M concentrations are not significantly influenced by
diet [Ql.

For the reasons stated above one of the most sensitive
and specific method for the clinical chemical diagnosis
and follow-up of patients with pheochromocytoma rc-
mains the assay of urinary metanephrincs, provided that
their analysis is carried out by modern chromatographic
techniques 13, ]0, lll. As urinary M and NM are in
majority present as sulfoconjugates [121, a deconjugation
(hydrolysis) step to detennine each of them as the sum of
their free and conjugated fractions generally precedes

their analysis. The determination of urinary M.and l\ll\¢'l

totc_s a disadvantager not offering an attractive substitute
l"or existing chromatngraphic methods Reccntly, how-
evcr, enzyme immunoassay kits, based on microtiter plate
terhnology, for the quantitative determination of urinary
lVl and NM have become commercially availablel These
kits for the first time offer an opportunity to replace
chromatographic techniques for methods accessible to
common routine clinical laboratories The principles on
which these lrits are based will he described herc.

We have evaluated these lvl and NM l»:its by assaying
several urine samples obtained from healthy persons and
patients with and without pheochromocytoma by apply-
ing the EthiA methods as well as a GC-MS method
previously developed in our lsboratory, which was re-
cently published [l?].

Materials and Methods
cHEMtcALs -
Details on chemicals used in the GC-MS determinations of -
NM and M are mentioned in ref. 12. All chemicals used

5 of the BEPa'atell’ 1135 hem repm'led m be W'Eh]l to disth for the El..l.fiAs are provided by the manufacturer.
qM) and between tumors located in the ad.renal medulla (secreting '
Pm.P,_‘sE mainly adrenaline, to be converted into M) and tstoraat:lF ELISA K-Irs roll DETERMINATION or METANEPHRINE
of either renal tumors (secreling mainly noradrenaline, to be con- AND NtJRMET-ANT?PH-RIN'E -
:mees‘s vested into NM) {151. Moreover, measuring total meta- ThE‘-’v¢’-* HEW kits are availablE Bil]'tf-'I 35 RIA 01 ELISA
,LC with nephrines (suln of lvl and NM) is less sensitive than versions.' Although according to the supplier the perfor-
:.f Plasma measuring M and NM separately [141. manes of the ItlA and `ELISA kits are comparable, we
n il,`Een,=_,-l_ Although chromat:ographic techniqi.iesl such as HPLC, prefer the El.ISA version_. as no handling of radioactive
mary total gas r_h_tt)mal"ngraphy (GC), nnd‘GC-ma$ Epgctmmetry substances is required Thus Dn.ly thtt ELISA hills WEIE
:dhc and MS) allow lfhg mggmmt of urinary metan_gwdngg evaluated in this Bl:t.tf_‘ly_ Tl'tt! kits ill'E bailed Cll'l l'.l‘ti! fDllBWr
donnelly l with good precision and accuracy l'B_l, the necessary ing principle Since the metanephrines as such do not
5 were m_ know-how and the time-consuming analytical procedures possess sufficient immunogenic propertiesl -rnalsing it
nephrims land the restricted availability of some types of equip~ dillicultto raise specific antibodies against them, use is
terms of ment, c_g.r GC-MS) impede an intensive use of'thcse being made of their Ndacctylated derivatives By reaction
Pheochro_ methods resulting in relatively few laboratories actually with Bolton-l-lunter reagent [3-(p»hydro)typhenyl]propi-
, ' carrying out these ossays. ln recent years more laborato» clinic acid N-hydroxysuccinirnide ester], both metaneph-
h_Ee mg ries introduced M assays, since commercial HPLC equip- rtncs are readily converted to their N-acylhemisuccinates,
. the map ment along with reagents in kit form as "turn-ltey instru- with exoellent'imniunogenic properties (see Fig. l). Spe-
“E$‘ EEER, mentation"l`became available Neverlheless_. in past years. cit'lc antibodies against these derivatives can be produced
infusion of development of immunoassays for these analytes was in rabbits by coung the latter to bovine serum albumin
ne Plnsma also attempted 'l'hus_. papers describing RlA techniques as hapten, whereas as tracers (in the ELISA version) these
rine$ wm for urinar'y`_- M and NM were published some years ago hemisuccinatea coupled to biotin arc used. ln short the
precursor l15. 161 Again. the use of radioactive substances consti# procedure is as iollows. Urinary M (or NM) is first
ots plasma - l
twa or their s ad H_CH_` -
c H
31 :': f;:_'m;§g m--»<=z_cm%a:W-o-N:] + H,s-cat_t'|'. _ -oa LG--
rla and thus o o"C mt
l‘lt: after ll& liolton~llim|crrcagcm nomiolancphrirte
` motanepb'
,pported by
. o-cn, `
an _. _
ii munmphrm `®j€th~cm §-o+t + it,n-§-cn,-cu,_h' :l:-erl._§~<" S-on l

vmillylmam.li.'ll\`

Flg. :L. Reaotlun between the Bolton-Hun_ter reagent and

.U l - ll .
n 'I`phgnylpmpl°°'“ md normetanephrine.

N-cey| |\onnt:tattcphrim: (liemisuceimte}

 

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`l`l ti Wnlrlwrs et al.: Urinary metanephrine and normetanephrine F.L|RSA evaluation

converted to its N-ac_vl derivative by means of the liolton_
l"lnnter reagent and then the product transferred to rni-
Crntiter plates coated with giant ann-rabbit lgC. After
addition ol` a fixed amount ot` the appropriate tracor and
(rabhitl antibody, subsequent incubs.tion overnightf and
Washing, anti-biotin-alkaiirn_- phosphatase conjugate is
added Afl:er incubatiot\ for some time, plates are Wasllecl.
followed by addition of alkaline phosphatase substrate
(p-nitrophenylpl-*splmt¢:) and measurement ot the re-
leased p-nitrnphenul spectrupl“iotornetrically after a fitted
i_nr:nbation time. Ma.\:in'ial enzyme activity is observed
Wl'ten no acylated M. (or NM} is present in urine, because
in diet case all tracer molecules (eeylated M or NM
coupled to biot_in) are bound to the walls Of the microtiler
plate., Wl'tlcl't Col.'isists ol` a coating of M-snn'body (the. goat
and-rabbit [gG:M rabbit-'».=intil:ioi:i).r Compl.cx) after the first
incubatlon step. On the other hand acylated M (or NM)
moleculesj ii present in urinc, compete with tracer males
coles in binding to the antibody, resulting in less binding
of bison-containing tracor to the wall and consequently
less binding of antl-biotin-allca].ine phosphatase eonjugate
after the final incubati.ori, leading to reduced enzyme
activity. Thus, lowest activity is reached at highest urinary
lvl concentration

The test kits Were supplied by lmrnuno Biolog'ieal

l`_.abora.tories (lBL), I'larnburg, Gerrnany [cat. no. RE 591 .'f'l
(AMIC.'YL-Test" nonnetaneph.rine-ELISA) and cat no. RE
591 81 (AMICYL-Test:“ metanephrine-ELIEA]. They con-
._tajn all necessary materials and reagents (in total 16
components among which is one microtiter plate) to
carryr out 95 assays of either M or NM, including calibra-
tion samples. The contents of the kits can be divided in
such a way that three separate runs can be performed,
each comprising 32 determinations equivalent to 4 micro-
titt=_r strips of 8 Wells escl'i. Eotl'i kits are practically similar
in composition and differ only with respect to the tracor
(M-bioh'n or NM-hiol:in), antiseruni (speci£ic for M or
NM). and callhrat.or solutions {M or NM). lincluded in n_]l
kits is a detailed prescription of the analytical procedure
to be followed The kits should be stored in the clark at
Z-H “C. To carry out tests, only appropiate pipettes, a
vortex-type mixer, a heating block (sct at 90 °C), a tem-
peratt.l_re-cnntrolled water bath (37 ”C`j, a microtiter
washer,. and a microtiter plate reader, able to measure st
405 nm, are further requiredl

A.NALYT[CAL PRUCEDURE FOLLOWED PUR EL[SA K[TS

For a detailed description of the analytical procedure
[both for M and NM] we refer to the booklets (eclited in
both Engllsl'i and Gerrnan) supplied by the manufacturer

and included in each test kit. llero we present s shortened .

version describing the different analytical steps in less
detail.

Hydrolysit`s mid cici'i`r.rrrti'ritrliond $inoe urinary metanephrines
are predominantly present as enlisted cnnjug:ites, a hy-
drolysis step is necessary, unless one wants to determine

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free (unconiug;\tedl metanephrines. ln reagent tubes, 200
ii_I. of ll.`l moi/L llCl solution Was added to 5|'] p.l. of
patient i_irim-_»s, 7 ealibrators [present in the kits), anr| 2
control .~tarr‘i\[“)lerar and all mixtures Were heated for l h at
90 °C`_ AFter cooling the ocylation reaction (Witl‘l Bolton-
l-lunter reagent) was carried Out fDT 30 min al 37 °C.

intimation rif reported samples with trach and mfft'budy_
'l`wenty microliters of the acylated samples was pipet|:ed
in duplicate into the appropiate wells, followed by addi-
tion of 50. ,i.l. of i'vl (or NM}-biotin tracor solution and 50
nl_. of antiserum solution (specif'.`tc lot M or NM), and
allowed to stand at 2-8 “C overnight (at least for 14 h),

institution with enzyme corijugdte. Af'cer three thsl"iing
cycles, 150 nl_. of enzyme Confugate ‘wlunon (alkaline
phosphatase-a.nti-biotin conjugate) Wils pipeited into the j"-
wells and the plate was shaken for 2 h at room temper-adt
wire ' :r`_.
Enzym`e reaction After three washing cycles 200 |.Ll.. of
substrate solution (p-riittophenylphosphate} was pipetted§
into each well, followed by incubation for 20 min at rooml=
temperature while shaking. The reaction 'Was stopped byl;::
addition of 50 nI- of a 1 mol}l. NaOl-l + 0.2'5 mislle
EDTA solution Within 60 min extinction ooefficients ‘t‘».rer:e'L
measured in the wells by means of a microtiter plate "lt_i
reader at a waveler\gth of 405 nra. :.
_ . :"il'
Caiculaiion cf results Calculations were perforated with l
the computer program “Easy Fit" distributed by ST_T)";"E
Tecan`. Lahinstnlments, Gr¢‘:idig, Ausl:t'la, which cont'erl§ -'
the absorbanee readings acquired by the microl.'itEr Pl¢‘=ll't‘~';`
reader .into concentrations (p.mol[l.) of M or NM by‘.p '
taking into account absorbance values of seven ealibrators;
(rsngi.ng froml] to 117 ,u.rriolfl_. forM and tromU to 4.U.9'M
ama1/L aa- NM). seth far the restraints and fbi ite-';
pat ::'.t samples the mean of the obtained duplicate absor“'i
hence readings was taken and absorbanoe as percentage w
of the absorbance value of the zero calibrath was calco-_:'
lated. 'I'o obtain a calibration curve, the absorbancc FEI‘T'
ccntages (y-valnes) of the calibrators were plotted sgaii\Sl '
the logarith.rns of the concentrations of the callbl'ttlUIi-:
(x-exis, see Fig. 2]. Frorn these calibration citrves, concert
trations, and the calculated absorbartee percentages of the '_
patient sarnples,l M or NM concentrations in these sall‘l‘
plea were derived- .'
The microtiter equipment [washer and reader} used il\‘
the present investigation was from Dynatecli Lal:s. Chan‘
dlly, VA The reader (type MR 4001 was linked to -1“
IBM- ty_pe AT compatible computer. ill

l.
CRDS$-RRACI'IVTTY MEASU'REMENTS [N ELIS.F\ K[Ts z
For these measurements calibrator solutions in Wi'tter Uf‘_,f
M or NM (depcnding on the investigated EI.lSA kit) wert'_l
used to which a known amount of calibrstor, containing il
the potentially cross- -reactive substance to he investigated '-

 

   

 

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Normctanophrinc

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0.01 0.1 1 10

G_onoentratlon tn p.mo|f|

50

th. 2. Typical estimation curves observed for M (rap) and NM (sanaml.

' The caselaw represents lN]M¢:oncsntrat.lonl of thc sallbra‘tors. the ordinato the

NFDEMEEE D\' mBBB-Lll'cd observance (OD} of the cailbrator's. in comparison with
ma observance of tha zero caiibrator, `

Was added_ The folloth procedure was used. `A 10 000-
fold concentration excess ot this substance in comparison
With Calibration M or NM concentrations needed for a
50% reduction in absorbance, was added in the applicav
lion of the test procedure instead of urine to sec whether
- or not it could achieve a ‘,=~50% reduction in absorbance. If
` Bo, a 3000-fold concentration excess was added and again
checked, to detemtine if a >50% absorbancc reduction
could be observed. Lilcewise, it necessary, a 1000-, 300-, or
100-fold consolidation was Lric:cl. In this way cross-reac-
'tivity could be esdrhated: An observed 50% absorbance
reduction occurring-at an added 100-told conccmration
excess is equivalent to a cross-rcactivity\of 1%. No drugs
meanonly used in treating hypertensive or other patients
inspected of having a pheochromocytoma ware investi-
EHTE€L because of the observed low crossrreactivlty pen
mntages of the tried endogenous compounds with high
lli't\ltt*turtal resemblance to metanephrinos. Therefore sig-

nificant cross-reactivity of such substances is highly im-
Probable.

GC-Ms MEAsoasMEN'l‘s
Ft`-‘r the assessment ot urinary metanepluincs with isotope
dilution MS our previously described procedure 1171 was

_ uscd. Esscntialiy the procedure was as foilows: To a

300-ii urine sau'\p»lr_-t deutcrated analogs of B»mcthoxy~
tl"'ilmlm'¢, M, and NM Wltrc added as internal standards
Mtt:r evaporation to dryncss in a stream of nitrogen, 300
lI-L of a decivatlzatiun mixture consisting of acctonitiile,
dimethylformarnide, and pcrttnt'luoropmpionic anhy-
dl'idc was added.

Clim`cnl Chcmistr'_u 43, No. i, 1097

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nu nu-:l)i<:,\l. nimmer

ll'?

Mixtu.res were derivatiz.ed at B(l "C fDl' 15 min. Aftcr
cooliu;.',. samples were extracted and washed with a
mixture of heptane and water. l‘leptaiie layers were
evaporated to dryncss and rcdissolvecl in 50 ,u.L of ethyl
acctatc:poniafhmropmpjoni¢_' anhydride (250:1, by vol).
Volumcs of lm.'-`i ul. were injected into a gas Chrumato-
graph-mass spectrornetcr combination Samples were
monitored in the animonia-Chemical ionization mode.
Quantification Was dorn- lay use of calibration curves,

sAMI'La coLr.uchN men PnF,s\=.nvATmN

Urino samples '."'.T" collected from 47 apparently healthy
persons (agcs 3-27 years, median S.H) and 10 patients
previously disposed as having pheochromocytoma [on
the basis ol' high urinary vanilly]rnandalir acid (VMA)
excrctiori]. Somc patient urine samples were collected
oiler surgical treatment Sa_mples Wcre collected in 2-l_
brown Pnlypropylcnc bottles (Sarstcd, Nuernbrecht, Ger-
many) doi'il.&inirlg '- 250 mg each of l`\lazSzC.'J5 and EDTA as
prcoervativca Samples were aeidi.i"iod to pH 4 with acetic
acid before treesihg al -?.O °C. Urinary creatinine concen-
trations used to quantify excret'ion in terms of creatini.he
Were measured by a picric acid method on a SMi"t-B
analyzcr (Bayer,, Tarrytown, N'Y). For clinical purposes
concentration values (oiiginaliy obtained in nrnol/L or
pmolfl.) Were E_ithc.r expressed in nmol (or p.mol) ex-
crctsd in 24 h (when 211-h urine portions were collectcd) or
in pmoli'mol creatinine (when no 24»h portions were
collected)__

5 5TA'I'15T[CS

Results of comparisons between measurements by EI_.ISA
and GC~MS were obtained by method comparison statis‘
ties according to Passing and Bablolc [18] [correlat‘ion
CDEffiCiEI\tS calculated on the basis of usual least-squares
(Psarson) linear regression analysis].

Results
I'ERFORMANCE or 'rHa Two ausa Tss'r Krrs
Ptssisian. Intraassay and utterassay variation of the two
test kits was investigated by assaying a number ot urine

. samples from controls 10 times within a series of mea-

surements and in 10 different runs. For M the CVs within
a series of measurements (for samples with mean values
of 0,424 and 0.303_ u.moI/L) varied from,ti.'tl% to 9.47%
and the CVS regarding interassay precision (for samples
with mean values of 0.366 and 1.541 pmol/L) from 10.1%
to 14.3%. For NM these values wore 6.76% to 9.22% (mean

values 1_.479 and 4-.955 unmiij and 9.19% to 12_5% (mcali
values 1037 and 4.728 amoi/Li respectively

Unenri!y. 'Ihrce different pathological urine samples were
ssaayed undilu_l:ed and after twotold.F fourlold. eightfold,
16-fuld, and iii-fold dilution. 'l`he results, both for M and
NM in umni!_t., arc shown in Table l. indicating a
satisfactory linea`\‘ity of both assays.

 

timms/otis

 

 

 

 

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Case 3:98-cr-3 _
7 sss tg:?:;d'd' MAP

         
 

    
    

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Woltl\ers ct el.: Urinary metanephrine and normetanephrine EL|SA evaluation

007/009

 

 

Tahle 1. Llnearlty of ELlSAs for M and NM.

 

Cll:ltulr\ed values in ,.i.mol/L l,mu|llplled with the dilution factory

 

 

Dllutlorr _-‘

ill :l_/2 1/4 us 1116 1/32 1;¢.; ‘_

M .
urine 1 e_se s.41 to,s 11.0 to.s

urine 2 11.s 12.1 13.3 12.5 11.s 12,0 110 j _

urine s § 1215 11.a 12.s 11.4 12.1 ' 13.3

NM ' rs

wine 1 lo‘) s.os s.1s 1o.e 1o.a 11.0 -i~'-`

urine 2 11.2 11.s 111 111 12.3 §

urine s 11.:1 1_2.o tort 11_4 11.9 10.3 §

‘,_,._'.

s

Recooery measurements Four different urine samples in the
case of NM'.and three in the case oE M (sll samples from
control persons) were determined as such and after sup-
plementing with various amounts of NM and M respec~
rively. Fron’t the obtained concentrations recovery per-

` centages were calculated_. For N'M, recovery ranged from

91_% to 'l'l?% and for M from 74% to 120%_

Cross-rssctioity. Several compounds with chemical struc-
tures related to M and NM were investigated as lo their
possible interference in the two test lcits. As seen in Table
?_, both best hits showed minimal cross»reactivity With
other substances.

conramsoar or smsa wrrr.-t oc-Ms

To check the accuracy of the El_.lSA test hits by compari- -

son with GC»MS, two series of urine samples. one com»
prislng samples of a group of 47 apparently healthy
control children or young adults and another comprising
samples of a group of 10 adult patients from whom urine

 

Table 2. Croes-reactlvtty experienced la the llll and NM
EUSA_ kits for substances with related structures
¢'°""“"`"*W- lt

 

Com'pour\d ' I\l'l. NM
Metaoephrlne ` 100 0.6
Normetanephrine ' 0.3 100
Adrena|ine -=:0.5 -‘-10.02
Noradrenal[ne <10.01 '='CO.UQ
3-Nlethoxytyramlne €O.Cll 0.4
Dopamlrle sZCl.{Jl c20.02
oDOPA uo_o;t <0_02
"l~hydrory»E\-metl'mt¢yol'tenylglycol 0.01 0.1§
wm ' -=:o.o1 so.oz
Hemovanlllle acid -¢CO.U:l '=0.05
Mydmxp-B-methoxyphenyloyrirvie sold ` <0.01 ` s:o.oo
»t-lwdrcxy~s-methoxylactic acid so.ol. uo,oz
B-n'lethoxy‘tyreslne iso.ol --:.0.02
L~Tyroslne ¢:0.01. €0,02
Tryptophah -»:0.01 cD.Oz
Carfelc acid sD.Cl:L -¢‘.Ott)?.
Ferul|c acid »:_o.o1 ~:o_o;t

 

' between both methods exists Passing-l:lablolt regression

was collected because of previously established pheochro‘_"
mocytorna, were investigated Results obtained by appiy-_

  
   
  
 
 
  
  
  
  
  
 
 
 
 
 
   
   

ing the ELISA and GC-MS procedure were compared .an¢_";_ '

graphically displayed in Pig. 3, in which the two uppar.
panels comprise only the results for the controls and
two lower panels the combined results of controls
patients.` The obtained parameters from the statistical
analyses are given in Table 3. in the control group (n \==- '
the lvl concentrations obtained from the ELISA u'tetho_'d
showed a tendency to be slightly higher than tho' "i
obtained from GC-MS, whereas the reverse held .for
NM results; correlation coetlicients were 0.911 and 0.915,'
respectively. The combined results of patients and -.
trols (rt = 561 showed correlation coerticients ot' 0.993
M and?ot 0.988 for NM; the slopes of the linear regressio
curves were Q.QB4 and O.SIBB, respectively Frorn Fig. 3 an
stle 3 one can conclude that an acceptable correlatl "

analysis, applied to the results obtained from the con ~_§'
group and also the combined oorttrol! patient groupl .--
further revealed that in the regression lines no significanti
deviation from zero for intercept and from 1.{]0 for slopt-_
could _be observed.. both for M and NM (data not shown .`

. olsende
ln surveying the data obtained for the two describ
ELISA ltits for urinary M and NM, the following conclu'_
stone-can be drawn. Cross-resctivity by potentially intert-
ier'mg compounds in urine, such as unmetabolized cal' y
scholamincs (adrenaline, rtoradrer'¢ttlinel and dopamim*-)
and acid catechoiamine metabolites such as horncw'sr\illil`»,iJ
acid and V'MA, very likely is minimal to absent takiIIS'i~;
into account the data shown _in Table 1. Also, no signil"l”.;‘fl
'cant interference between each of the two metanephrind"

 

 

{small cross-reactivity ot' NM in the M test kit and \l'l""$t

versa) has been observed Reproducibility data, linesril¥!
dee-,'_"rab\a t), and recovery data taken together indian-i-
lltat' the precision of an obtained test result for bo _'"l:'_
urinary metanephrines is in the order of 10-'20%. whi
although less than experienced For chromslographic tech `5
niques, is in principle sufficient to discriminate betw = `-
normal and pathological states El .ISA data demonstrate

.a\ r[|r\-

 

032/romo

   
 
   

Tabie 4. Reported reference values (upner llmitF-) fn umnl.¢'
24 h for M and NM.

Suurr:e M - IllM
Grahern et el. {1|'3} [HPLC) 2.0 5.1
Gerlo and Sevens {14] 1.B rl.¢i
[HF'LC) males
females 1 2 .':l.'.'i
Rosano et al. [3} {Go) 71.31 LBE
lHl-‘ Cl 1.51 1_94
some sr al. r:t?}rsfin 1.3 3»4
F'resenl El..ise. methods 114 1.?5

urinary samples (See Fig. 3, lower panels), We are justified
in sterling that the E`LISA lest kits can be successfully
applied in the detection of pheochromocytoma patients
The analytical procedures are relatively simple and re-
quire only lovir»r_'ost instrumentation (mict'oi‘iter Plttte
washer and reader] generally available in the clinical
laboratory Theretore the present ELI$A methods for
determining urinary metanephrines can be considered
acceptable alternatives for chromatog'rapl“lic meli'lods, al-
lowing any clinical laboratory to extend with ease their
arsenal of_ laboratory tests with a procedure for detection
of pheochromocytoma

For those laboratories that would like to determine
plasma metanephrines or urinary free (unconjugated)
metanephrines, the described test kits do not possess the
requiredl sensitivity since concentrations il nr`noll'l..

` must be measured With sufficient accuracy, Whici'l is

below the detection limits of these kits As argued abeve.'
there is rio valid reason to prefer such determinations over
those of urinary total metanephrine-s encl, therefor‘e, Cli.i‘l-
ically there is no need for the availability of such sensitive
M or NM test kittl.

Clne may speculate that in the near tuture, apart from
catechoiamines other diagnostically important bioge:nlc
amines.e.g., serotonin. histamine, and their metabolitea in
body tli`.iicls. will be deterride likewise by simple im-
munnassay, becoming the ll!t'll!tl'to\l;l. of Cho‘ioo for the BIlBl-
ysis of these molecules. However, one should realize that
although easier to pertion with immunoassays each
analyte- (e.g._ `M and NM) must be determined with
separate kits, which might lead to higher costs and in
some leases might consume more analytical time in com-
parison with chromatographic methods,. in which several
analytes can be quantified together within one assay run

(e.g., M end NM).

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mass BJQFStCreSD,QAA- |\/|AP Q,q),crlme@r@%lml: llied 03/27/00 Page 84 of 91

z_ Pl-.-.ano ll A simple analysis lnr normetanephrine and metaneph_
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by HPLC with electroci'lemica| detection .l Lsh Ciln Med 1954_:§-
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13_ Rnl:llnson FlR Turnours that secrets catechoiamines‘ weir dBTH=' §§

tion and clinical ehemistry. Cl'lieho$ter: Jl!l'll'l Wllay 81 50“¢_|¢
` 1950‘35~45.

 
 
 
  
  

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_‘ analysis of urinary B-D-rnettryiated esteshuismi\'le maternalle-

' d Fieo|ci sample clean up by derivsdsstlorl and extraction of lyal'-‘hl'

§ llaec| samples. l Chmmstor£r B Blclrned Mp| 1993; 671' 1521."'9"r

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unnsry catechoiamine maintains in phasehmniaqmsma: dlu¢-`°;

 

Cier|e E.AM. Sevens C. Urinary and plasma catechoiamines md'$ili -

 

 

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EXHIBIT H

 

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EXHIBIT l

 

 
 

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Case 3:98-cr-30044-I\/|AP Doc_ument 262 Filed 03/27/00 Page 88 of 91

`l`his paper amc compounds
.[\littlnnu, |tiltlc|tt-;, ln...\,. ..,6..\____. `_
identified in littman blood and vist;r'.ra sample-si Sarnple prr_-.p;rrtttion1
manual l`ibrc assembly tnanipulntion and iastrunn.-nt conditions are given
below.

Sample preparation and fibre holder manipulation: Blood (2-5 g).
lung. brain or fat tissue samples (5-10g, finely chopped} were placed into
a 50mL glass hottle. to which 25 mL of distilled water was added, giving
a headspace volume of between ij and 23 ml_.s. 'l`lte glass bottle was
then crimped, sealed and placed into an oven at 80°‘(`_` for |.5 hours.

The bottle was then removed from the nvcn. Adsorption of volatiles
(vulalile organic compounds) onto thc i`ibre (r"$upclct'.»:'i1 manual holder
and iibrc with polydimethylsilosanc coating, |00tnm tilm thickness)
occurred by placing the fibre into thc headspacc t`or 30 rninules_ After

3 l'ECll\'CI`Etl ill'|(l

removal from the sample the fibre was inserted into thc injection port of

the GC and volatiles desotbed for t minute at 220°(`1. Prior to each
saruple analysis the fibre was hlanlted by exposure in the injection port
of the Gg fot' 5 minutes (purge on). .

lnstrutnent gunditions: A chlett-l-‘acl<6trrt[ 5890 series ll, G(.`
coupled to a l'll-‘ 5972 mass selective detector (MSD) contrr')lled by l~ll-’
(_`_`hemslation and Wintiows 95 sol`lwarc, was used for analysis of all
samples A 30-m rt 025-min l_'Jlll?Ol U and W l§cicntific) fused silica
capillary column with a film thickness of0.2_‘i ann was used for capillary
t`_i(`.` separation of analytcs. l'lelium carrier gas was used al a head
pressure of lt.lpsi and a flow of l m_l_,/minute. The GC oven temperature
was held at 35°(`1 for l minute, then ratnped at li"g per minute to a final
temperature of 270”€ (hold time. 1 minute)‘ The injection port and
transfer line temperatures were set at 220"€ and 270“€ respectively
Volatilcs were desorbcd from the fibre under splitless GC inlet condi-
tions (purge on 0,41 minutes). Thc MS was scanned front 28-400 amu.
The electron multiplier and threshold were set to 2400 volts and 500 amn
respectively

Results: Duting the past three years the headspaee/SPME tech-
nique has been used successfully in assisting the gorener investigate 34
sudden deaths (27 deaths in the past seventeen months) where solvent
abuse was suspected

Ertarnples of typical easework arc given: gasc_l_ A male (aged 17
years) died after allegedly inhaling butane from a pressure pack can,
’I't‘rsicological analysis revealed no common drugs or poisons. A subse-
quent headspaeer'SPME screen revealed butane in post mortem blood,
lung and brain samples.

gasc__.’l. A female (aged 13 years) rlied due to hanging lt was
believed that the deceased had been shifting solvents immediately prior
to death. Tosicological analysis for common drugs and poisons showed
the presence of alcohol only, A subsequent headspace/SPME screen
revealed toluene in post mortem blood, lungl brain and [at samples.

gast;§. A male (aged 22 years) died during a high-speed chase by
police after the vehicle he was driving collided with a power pole_ lt was
believed that the deceased had been sniffing petrol prior to the erash.

Tcsicologica| analysis for common drugs and poisons showed the
presence of alcohol only. A subsequent headspacelSPME screen
revealed petrol residues in four post mortenr blood samples (no lung or
brain samples were submitted for analysis).

_Q,\a;_¢#_ A male (agcd 17 years). known drug user died suddenly
under suspicious circumstances. Tcxicological analysis l`or common
drugs and poisons showed the presence of' ltctarnine1 diarcpam and
'l`|‘l(?. F'ossible chemical burns to the deceased's mouth allowed for con-
sideration of solvent abuse. A subsequent hcadspace,'SPME screen
revealed halothane in post mortem blood, lung and brain samples.
Halothanc levels were determined using a methanol extract of blood
with isoflurane l 2-chloro-2~(dit`ltiorontet.horty)-1. l , 1 -u'ifluoroethane ] as
an internal standard ( 290 ngful, ). Halothane was quantified at 5| lng/L
and 23 mg/L for mortuary admission and femoral blood respective|y.
'l‘hese levels are within reported fatal case ranges of ti-ti."iU mg/L [5-6|6

The headspace/SPME technique has proved most valuable for the

recovery and analysis ol` vo|nltlc organic compounds |`rirm |i|tnrtl' lung1
lh'nill ttt' l'ttl tissue til" deceased ]`it.‘.r'stnts. lRt‘.vt‘.l'¢'tl ndv.'tn|ttgt_‘.pt ti|` thi_- [r;_g|p.
nitpn: over ll'tc more traditional ltuntlsp.'tcr_‘. technique tgns syringr;]
includes {l) simplicity ot` sample preparation and ni.»inipn|ininn nf' rha
SF'MF. injection needle and fibre; (2) sensitivity (e.g., a detection limit
for toluene of ring in 2_5 g of blood. using SIM model and selectivity for
a wide range of volatilcs because of the pre-concentration and selectivity
effects of the fibre coating', (3) thc Sl’ME approach provides for rapid
screening o|' samples for non-routine volatilcs6 i_e.t lralntl'tane. This is
essential l`or some toxicological investigations; (4) the avoidance o[
mass spectral interferences l'rotn air dire to the absorption selectivity ol'
the polydiu'rethylsilosane coating

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I-Ieadspace Analysis, Volatile Organic tjompounds, So|id l’hase
Mieroerttraetion

 

K13 Epinephrine Poisoning, Part ]I:
Stability of Metanephrine and
Normetanephrine in Exhumed Tissue

Artthrmy J. Mnchcnme', J'r.. MA*, f”mdrtc Ried’er.r, PhD, and t',`rrrolyn
.S'eien.r)'ci, The Fredrt`r: Rt'ed.srs Fnrm`ty Rertat`ssnm:rr Fonndntr`nrz, 2300
Strn{{imr' Aventte, Witi.'ow Grove. P)'r

By attending this presentation the patticipant will gain insight into
the degradation of metanephrine and normetanephrine in various tissues
harvested from exhumed human bodics. Kttowledge of what has come '
to be known as the “bum-rate" of these compounds may aid the forensic
toxicologist in identifying a cause oi' death where the possibility of stir-
reptitious catecholaminc administration is considered.

Persons acting out of pseudr;)-altruistic intent or blatantly com-
mitting murder may insidioust administer epinephrine as a means to
cause sudden death via ventricular fibrillation in their intended victint.
lnvestigation of some such suspicious deaths has occurred as long as ten
years after interment. Therefore, knowledge of catccholamine stability 61
in buried persons may prove invaluable in forensic inquiries where and
epinephrine overdose is considered as a possible cause of death. i

Epinephrine is derived directly from norepinephrine by the action i
of phenylethanolamine-N-niethyltransferase. Systemic secretion of epi-
nephrine into the blood stream is paramount to stimulating the sympad
thetic nervous system as part of the tight-or-tliglrl reaction. Epinephrine
and norepinephrine are mctaboliaed by catecholamine-U-methyltrans-
fcrase to form metanephrine and normetanephrine. respectively ln vivo.
this ensymatic metabolism occurs quite rapidly and the hall`-lifc of epi~
nephrira: and norepinephrine has been reported as approximately two
minutes [l]. Due to the ephemeral nature of epinephrine and norepi-

lnephrine. we focused on their primary biological metabolites,

metanephrine and normetanephrine as markets of suspected clandestine
epinephrine administrationl 'l'he present study was designed to evaluate
the stability of metanephrine and normetanephrine as a function of con-
eent.ration. temperature and tissue in an effort to elicit possible trends
that can be used to extrapolate catecholarnine concentrations in actual
forensic cases back to the time of death.

 

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t`ic‘y wctt‘ t|i.\:.‘t:clcil |t'otti iiii tion t_~ittli;iliin‘.t|
spccin‘tcu whose remains were buried for approsinintely l‘l years in n dirt
grave without the benefit ol` n c.'isltct_ Siu'pr'isingly` the remains were
remarkably well pi‘eservet|_ 'l`liis iiitt_v be due to the liol and dry climate
iii which the person was intci'rei|. l¢’iriothcr brain dissection was obtained
from tissue fixed in t`ormalin. One plus three lioniogenates were pre-
pared with 3% aqueous formic acid for tlii: former and with de-ionized
water for the lattcr. Calibrators were spilted daily into commercial blank
serum in a concentration range of liigfiul_.. to 50ngfinl_. of both
metanephrine and noriuetancpht'iiie. gontrols were also prepared iu this
iiuinnci' at concentrations of _‘ing/inl. and 2."')ngr'inL fi'oiri a stock solution
separate from that used for the calibrators_ tistraction of thc
lioinogeuates. calibrators and controls was effected in a two-step process
described elsewhere {2l. Briet`ly. it consists of an initial prc-'extrac|.ion
with ch|oi'ol`orm to retrieve iipids, ncutrats and decomposition com1
pounds and secondly by robotic solid phase extraction to isolate the
compounds of interestl The extracts, calilirators and controls were ana-
lyzed by liquid ehroinatography with electroclieiiiical dctectioii, The
mobile phase consisted of l0:90 methanol/water containing sodium
phosphate monoliasic. citt'ic acid, |-i‘ictimesulfonati-. sodium and dis-
odiurn EDTA. 'l`he analytical method aurl conditions arc also described
iri the above referenced abstract [2] _

Each specimen was analyzed neat, as well as by standard addition
and by standard dilution and compared to the known (spilced] chro-
matograms to rule out the presence of calecholamines. After screening,
the specimens were divided and spiked with metanephrine and
normetanephrine at concentrations of lUOrig/mL, 40ng/ml_. and
20ngi'tn_l_h The liomogenates were further divided for storage at approx-
imately 22°[`_`, S“C. and -l§°g. All specimens were stored in opaque
plastic bottles. The samples were analyzed ou the day ot' prcparation,
and this value was assumed to represent l00% metanephrine and
norriietanephririe iri the sample. 'l`hey were stored as described and aria-
ly?.et'l regularly over the course of one wcelr.

For the brain homogenatc prepared iri deionized wat.er, an overall
rapid decrease iri the residual percentage of metanephrine and
normetanephrine was noted over the tirst two days. After two days, the
residual eatecliolamine concentrations stabilize around an average con-
centration of approximately 15 % for all the samples. 'l`here appears to bc
an inflcetion in all curves after two days. 'l`liis may illustrate a transition
in the order of the degradation reaction lf this is the case1 a trend such
as this may be the foundation upon which to build a model that can be
used to extrapolate catecholainiiie concentrations found in exhumed
bodies bach to what may represent the concentration at the t.irne of death.

Although there appears to be an overall significant reduction in cat-
echoiamine concentration for all the tissues prepared iii aqueous forrnic
acid, the tissue honiogenates prepared in the aqueous formic acid do not
show the inflection observed iii the fenner case. `l_tnfortunately1 due to
pump problems in the HF'LC, we were not able to obtain data for days l
through 3 for the aqueous acidic honiogenates_ We may not have
observed the inflecti_on due to the loss of these data pointsl Furthermore.
the data is obtained over the limited time frame of six days and is being
continued until there is “nonc-detected“ or a llattcning oiil (to first-order
degradatiou) of the curve occurs_

There is a sharp contrast between the homogenates prepared in
Water. close to “normal statc." to that of the |iomogenates prepared in
aqueous acid, close to embalmed state_ l’resently. the samples stored at
all temperatures show greater than 50% reduction in concentration over
the course of orie weelt, after that the rate of decline lessens and is likely
to become very small when it falls below thc lr’ of the degradation
reaction_

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listi:tcliiin o| n»li-t;rtlcplit‘irii! and Ntii'ini;t;inc_p|trigg |'mm

(_`.ateclioiaiiilues. LlS`ta|ii|ity. 'l`issue lluriiogeu:ite

Kl4 ()piate Tissue Distribiition in
Two Pediatrit: Fat:alities

Nruic_v Ii'. Wu C`!rcu, Hr!)*‘. Edrruurd R. l)r)nog!nrr', MD, L`Jrirr'nkn
Mr`tnn.rnir‘, Mi'). Adrr`cnue S'<"gin‘i`u. Mi'), .t'cnni_`}"r:r Jnkui.rlri', BS,
Mruu'rtvi Mr:.r.rr`uri, Lt.'i'. Mnrk flioruii. Mti`, and lou Hnnunersirn`rh, B.S`,
(}j]ice of die Msii'r't‘n.' fi`.rnuiinrr: (.`ook (_`.`oiinrit 2121 Wesr Hnrri.rnn
.i`rrr.'cr, C'hi`cr.igrr, IL

Learning Objcctives: to illustrate thc importance ot`obtaining mul-
tiple tissue samples t`oil analysis iii pediatric fatalitics involving drugs of
abuse. (_`oi‘.ipcration between ttie pathology staff and the toxicology lab-
oratory is essential to this process. Opiate tissue distribution of two
pediatric fatalitics is presented

Moipliine is a narcotic analgesic and also a metaho|ite of heroin and
codeine. t"fase histories and toxicological findings from two pediatric
|`atalitics due to opiate intoxication are presented ln the first case, a onc»
month old black male expired iu the hospital approximately one day
after he was brought to the emergency rooni. In the second case, a one-
ycar old black female was found unresponsive iri bed.

t.'inate was detected in the post inortem specimens by radioirn-
munoassay (Rli't) screen l‘ost mortein specimens were pretreated with
an equal amount ot` pI-l ?.4 but_`t`er before the RIA procedure Morphine
and codeine were confirmed and quantitated by gas
chi'omatographylinass spectrr'iphototnetry (GC/MS) as follows: Two
inil|iliters cf specimen was extracted with ethyl acetate at pH 8.7, using
a mixture of niorphine-N-methyl-D;, and codeine-N-metliyl-D_», as dual
internal standards Aftcr back extraction with l N sulfuric acid and re-
exti'action with clilr,iroform: isopropanol (4; l) at pll S.'?. the residue was
derivatized with penrafluoropropionic anhydride (PFP'A). The PFt'
derivatives were reconstituted with ethyl acetate and injected onto a
GC/MS in selective ion monitoring (SIM) and electron impact (E|)
mode. A ll ni X 0.2 mm l-lF-l column was used with temperature pro-
gramming in the chroinatographic analysis. 'l‘wo ions, mfa 414 and mta
571 were monitored for niorphinc-t’FP; two ions, tn/e 282 and iri!e 445,
were monitored for codeine-PFf-‘; two ions. mfa 4i7 and iri/z 235. were
monitored for the dual internal siandards, inorphine~N-rriethyl~D=-PD'P
and codeine-N~methy|-D;-l’r'l’, respectively lons. mfa 414 and mi'r. 412
were used for thc morphine quantitation. while ions. tni'z 232 and mfa
235 were used for the codeine quantitation.

'Ihe tissue distribution of morphine for the first case was as
follows: blood, 11_9 iiigfL; pleural titlid. 6.06 nig/L; liver, 0,410 ntg/ltg;
spleen, ().0|55 mg/kg; kidney. 0.133 mg/ltg. Codcine was negative in
Iiver. spleen and kidney. Qiiantities of blood and pleural fluid were not
sufficient for codeine analysis. The cause ot` death in this case was
opiate intoxication. with sepsis as a contributing factor. llorriicidc was
listed as the manner of death.

Fl`he tissue distribution of morphine for the second case was as
follows: b|ood, 0.330 irig/l_,'l livei‘. l.SO ing/kg; spleen, l.4l:l mg/lcg',
kidney_ 243 irig/ltg; br'airi, 0\116 mgfltg; and gastric content., 148 nig.
godcinc was negative in livcrl spleen, lo`dncy and hrain. 'l`lie quantity ot'
blood was not sufficient for codeine analysis. The cause of death for the
second case was opiate intoxication Homicide was, as the first case.
listed as the manner of death. g

In these pediatric fatalities. multiple tissue specimens were sub-
mitted to the toxicology laboratory when the pathologist requested
testing for drugs of abuse, In the event that a positive finding occurred1
in one specimen front the case. the toxicology staff was then able to
analyze multiple tissue specimens iii order to provide a tissue distrib-

 

* Presenting Aiitlior

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Epinephrine P'oisoning Part I:
Extraction and Analysis of Metanephrine and Normetanephrine from Exhumed Tissue

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Learning Objectives: This presentation will outline a method of extraction and analysis for metanephrine and
nonnetanepbriue in various exhumed human tissues. The procedures demonstrate an efficient preparative (bullc)
extraction followed by automated analytical extraction resulting in a clean extract for analysis by I-[PLC-EC.

Preparation and extraction of post-modern tissuell especially in embalmed or non-embalmed, exhumed
eases, presents special challenges and interferences to effective analytical separations and analytical tinishes. The
presence of undesired materials in an extract can wreak havoc with an HPLC system by deposition of unwanted
material in injection ports, mining columns, ctc. An analyst may experience one or a combination of the above
during any analytical run where soiid, etc_, tissues are extracted When sub-ppb sensitivity is required1 as it is in the
analysis of metanephrine and normetanephrine, "dirty“ extracts can completely negate an entire rnn. To overcome
these difficulties1 we developed a two-step extraction procedure for tissue homogenates that utilizes a liquid - liquid
pre-extraction followed by robotic solid phase extractionl

Tissne hcmogenates are prepared in 1 + 3 dilutions with 3% aqueous formic acid, To one part tissue
homogenate (at least lmL) is added one part pre-screened commercially prepared blank serum, one part 9% aqueous
f'ormic acid and one part chlorol`omt Tbc mixture is rotated for 30 minutes and centrifuged for 5 minutes at 5000
rpm. To 2ml. of the top layer (aqneons) is added BmL of l.OM phosphate buffer (pI-l = 6.0). The samples are mixed
for one minute on a vortex and transferred to a Zymark® Rapid TraceTM SPE Workstation using a Varian Bond Elut
Certify column for the solid phase extraction. The collected extracts are dried for 15 minutes at SD°C in a Zymark
Turbovap® LV under Nl and reconstituted with ZOOuL of mobile phase. Rapid Trace conditions are given in Table

l.

 

 

 

 

 

 

Tablc l_

Step Source Vo|ume (ml_) mL/soc
Gnndition ME'DH B.DD 0.'1
Condition Dl 3.00 O.'l
Conditl'on PB 1.00 C|'.'l

Load Semp|e 5.80 0.075

Purge D| 6.00 0.4

Rinse PB 2.00 O.‘l

Rinse D| 2.00 0.'|

Rinse HAe 1.00 O.'|

Rinse Vent 5.00 0_5

Rinse N|_eOH 2.00 O.‘|

Rinse Vent 5.00 0.5

Rinse MeOH 200 0.1

Dl'y Tit‘ne= 5 min

Rinse 98!2 0_70 0.05

Col|ect 98!2 1.25 0.05
Fteagent Nerne Abbrev
D| water Dl
Aeetic Acid Hac
Methano| MeOH
Phosphata E.uff (pH=E») PB
MeOH!NH,,OH 98!2

 

 

 

 

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Calibrators are spiked daily into the same lot number of conunencial blank serum as that used for the tissue
homogenates in a concentration range of lng/mL to 50ng/mL of both metanephrine and normetanephrine. Controls
are also prepared in this manner at concentrations of ing/ntL and 4Gng/mL from a stock solution separate from that
used for the calibrators_ The calibrators and controls are also treated to the pre-extraction procedure described above
and final extraction is achieved by Rapid TraeeTM_

The analytical finish used is high performance liquid chromatography with electrocbemical detection
(HPLC-EC), The liquid chromatograph system uses a TbcrmoSeparations Autosampler AS 300, a Knauer l~l'PLC
Pump with an external pulse dampener, Altech Adsorbosphcre ClB HS, 3u particle size column, and an ESA
coulochem II 2.01 electroehernical detector equipped with an ESA Model 5011 electrochemical cell containing two
tandem analytical flow cells. Electrodes I and lI were set at +ZODmV and +SSDmV, respectively The mobile phase
is prepared by dissolving lZ.Og sodium phosphate monobasic, 4.20g citric acid,l 0.27g l~octanesulfonate sodium and
0_05 g disodium EDTA in approximately l$OOmL deionized water. The mixture is then diluted to ZDDOmL with
deionized water and mixed well. To QOOmL of the bn ff`er is added lOOmL HPLC grade methanol and the solution is
mixed weIl. The final pH of the mobile phase is approximately 2.8. The flow rate is set at 0.3 tul/min. Retentiou
times f`or metanephrine and normetanephrine under these conditions are 9.4 minutes and 6.9 minutes. respectively
when the signal from electrode [[ (+SSOmV) is monitored.' -

Using the extraction methods and analytical finish described abovell we have observed extraction
efficiencies that vary between §_Q% and gifts and a detection limit of .'Q.;§__n_glmL. Although this sensitivity is not low
enough to monitor basal levels of metanephrine and normetanephrine (approximately 50 to 100 pg/m.l_.), they are
sufficient to detect epinephrine poisonings where many cases have greater than SGng/mL metanephrine and
normetanephrine concentrations and several cases have exceeded ZOOng/mL. The liquid - liquid pre-extraction
efficiently removes noids, pbcnolics, lipids, ncutrals and decomposition products form the homogenato prior to
analytical extraction by automated solid phase extractionl The trade off between lower extraction efficiency and
higher detection limits is acceptable when considering the significant reduction of interfering components in the
final extract This approach to extracting solid materials, i.e., by an initial bulk clean up, can be applied to other
exn‘actions where interference due to acids, phenolics, lipids, neutrals or decomposition compounds has been noted.
(The identity and concentration of normetanephrine and metanephrine in our samples has been confirmed by liquid
chromatograpby - electrospray - tandem MS!`MS the discussion of which is being reported elsewhere_)

Key Words: Metanephrine, Normetanepbrine, Solid phase extraction, Liquid extraction

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